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  11

  12                        UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO
  13
       BETHANY LANGE, JENNIFER OH, BROOKE )                  Case:
  14   HOFFMAN, MICAH BAILEY, LINDA SOLTIS, )
       DERRICK SMITH, SHILOH IRVIN, MATTHEW)
  15   BRUDNICKI, JAMES ROCHE, JENNIFER              )       CLASS ACTION CIVIL
       JOHNSTON, MICHAEL SPANO, TORIANNA ))                  RIGHTS COMPLAINT
  16   BONDS, DAKOTA JONES, DUSTY DERIGO, )                  FOR CONSTITUTIONAL
       DAN MCCULLOUGH, ANGEL GONZALES, )                     CIVIL RIGHTS AND
  17   CHRISTINA BOHNSTEDT, on behalf of                     INJUNCTIVE RELIEF
                                                     )
       themselves and all others similarly situated; )
  18                                                     )
                             Plaintiffs,                     DEMAND FOR JURY
                                                         )   TRIAL
  19                                                     )
       vs.
                                                         )
  20                                                     )
       ALCOHOL MONITORING SYSTEMS, INC., a               )
  21   Delaware Corporation; LOS ANGELES                 )
       ALCOHOL MONITORING Inc., a California             )
  22   Entity; SCRAM OF CALIFORNIA, Inc., a              )
       California Corporation; ETOH MONITORING,          )
  23   L.L.C., a Louisiana Corporation; RECOVERY         )
       SOLUTIONS CONSULTING & TRAINING                   )
  24   CORP, a New York Corporation; RECOVERY            )
       HEALTHCARE CORPORATION, a unknown                 )
  25   entity; SENTINEL OFFENDER SERVICES,               )
       LLC., a Delaware Corporation; SCRAM               )
       SYSTEMS OF ILLINOIS, Inc., an Illinois Entity;    )
  26                                                     )
       HOUSE ARREST SERVICES, Inc., Unknown              )
  27   Entity; ROCKY MOUNTAIN OFFENDER                   )
       MANAGEMENT SYSTEMS, LLC., a Colorado              )
  28   Corporation;       [continued of page 2]          )
                                                -1-
                 PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT FOR DAMAGES
                                     PURSUANT TO 42 U.S.C. § 1983
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   1   PRONTOTRAK, Inc., a Georgia Corporation;             )
       TOTAL COURT SERVICES OF INDIANA,                     )
   2   L.L.C., an Indiana Corporation; COURT                )
       PROGRAMS, Inc., a Mississippi Corporation;           )
                                                            )
   3   MIDWEST MONITORING AND                               )
       SURVEILLANCE, INC., a Minnesota                      )
   4   Corporation; and DOES 1-10, inclusive.               )
                                                            )
   5                         Defendants.                    )
                                                            )
   6

   7
       I.    INTRODUCTION AND GENERAL ALLEGATIONS
   8
             Plaintiffs, Bethany Lange Jennifer Oh, Brooke Hoffman, Micah Bailey,
   9
       Linda Soltis, Derrick Smith, Shiloh Irvin, Matthew Brudnicki, James Roche, Jr.,
  10
       Jennifer Johnston, Mike Spano, Torianna Bonds, Dakota Jones, Dan McCullough,
  11
       Dusty Derigo, Angel Gonzales, and Christina Bohnstedt (hereinafter collectively
  12
       “Class Plaintiffs”) does bring this class action complaint against the Defendants,
  13
       and each of them, for the intentional, reckless, and complete disregard of the Class
  14
       Plaintiffs’, and the Classes’ well established rights that are guaranteed by the
  15
       federal Constitution of the United States of America.
  16
             On behalf of themselves, others similarly situated and the proposed classes
  17
       of the Defendants’ customers, Plaintiffs seek damages, restitution and injunctive
  18
       relief against Defendants for the false advertising of their transdermal monitoring
  19
       service. For their class action complaint, Plaintiffs allege as follows upon personal
  20
       knowledge as to themselves and their own acts and experiences, and as to all other
  21
       matters, upon information and belief, including investigations conducted by their
  22
       attorneys.
  23
             Plaintiffs, and the classes they seek to represent, bring this action against the
  24
       Defendants to protest a grave injustice to stop corporate intrusion upon the United
  25
       States Constitution, to ensure that the rights of the People shall not be abridged.
  26
       Plaintiffs, and the Class, challenge and seek to enforce and enjoin the Defendants,
  27
       and each of them, to adhere to the standards for which the Constitution is clearly
  28
                                                 -2-
                    PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT FOR DAMAGES
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   1   defined for, and as, that applies to all citizens of the territory thereof.
   2          The SCRAM Device has become an increasingly utilized alcohol testing
   3   device in the criminal justice and addiction treatment industries throughout the
   4   United States. Defendants marketed and sold, and continue to market and sell, their
   5   SCRAM Devices to various drug and alcohol monitoring companies in these
   6   industries. The alcohol monitoring companies provide monitoring services to any
   7   person, charged with a DUI criminal offense, oftentimes renting out the SCRAM
   8   Devices and acting as third-party supervisors of the users’ test results.
   9          In marketing and selling their SCRAM Devices to other alcohol monitoring
  10   companies and consumers, Defendants portrayed, and continue to portray, their
  11   SCRAM Devices as being admissible and certified by the courts.
  12          In spite of these representations, the SCRAM Device frequently return error
  13   messages, false positives, false tampers, and even false removals from the
  14   customers’ leg, and the Defendants actively conceal these malfunctions from the
  15   courts and the public, at large.
  16          Once a person is suspected of a consumption of alcohol, a report is then
  17   generated, and sent to the corporate offices of the alcohol monitoring companies
  18   who are the Defendants herein, who then in turn, (as Defendant AMS does), have a
  19   minimum wage school student, with inadequate training and no formal education
  20   in this field, read the alleged report and is then given instructions from the AMS
  21   corporate figures to render an opinion that the wearer consumed alcohol, tampered
  22   with the SCRAM Device, or did both. Defendant AMS does not send any of their
  23   employees for any training or certification for a primary reason. Because there
  24   does not exist any form of training, certification, or courses that teaches a person to
  25   read a graph to makes a determination if the wearer consumed alcohol, came into
  26   contact with products on the market that contain alcohol, or used hair spray.
  27   Defendant AMS then transmits their report to the co-Defendant SCRAM who then
  28   in turn reads the report. And once reviewed in the Defendants corporate office in
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                  PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT FOR DAMAGES
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   1   Los Angeles, the report is then sent to the third-party alcohol monitoring provider,
   2   who receives the SCRAM report and then sends that same report to the Court, the
   3   Prosecutor, and finally, to the Defense Attorney. This process of transmitting and
   4   sending the report from party to party, creates delays in turning over exculpatory
   5   evidence, and the general overall turnaround time is often a month or two, making
   6   it impossible for the DUI Defendant to then take an independent DUI test, that is
   7   admissible in Court and which refutes the SCRAM report.
   8         As a result of Defendants’ conduct, the SCRAM wearer is not notified in
   9   real time that the wearer allegedly violated the terms of their DUI criminal case,
  10   their probation and bond conditions. Once the SCRAM client is notified about the
  11   alleged violations, weeks, if not months have gone by depriving the SCRAM client
  12   the right to have a blood test done which by all accounts produces results that
  13   cannot be manipulated. After so many hours, alcohol leaves a person’s blood
  14   stream and cannot be determined whether or not the person, like the SCRAM
  15   clients have consumed alcohol, on the day in question. Plaintiffs, on behalf of
  16   themselves and on behalf of a Class of similarly situated individuals, bring this
  17   lawsuit seeking injunctive relief, actual damages, and restitution, together with
  18   costs and reasonable attorneys’ fees.
  19   II.   JURISDICTION AND VENUE
  20         1.      Plaintiffs present federal claims for relief under 42 U.S.C. §1983.
  21   Accordingly, federal jurisdiction is conferred upon this Court by 28 U.S.C. §§1331
  22   and 1343.
  23         2.      This Court also has federal question subject matter jurisdiction
  24   under 28 U.S.C. §§ 1331, 1343, as the action arises under 42 U.S.C. § 1983, 1985,
  25   and 1988(c). Plaintiff seeks declaratory and injunctive relief under 28 U.S.C. §§
  26   1343, 2201, and 2202;
  27

  28
                                                 -4-
                   PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT FOR DAMAGES
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   1            3.     Plaintiffs’ claims arise out of acts and omissions of the Defendants,
   2   and each of them, in this District. Accordingly, venue is proper within the District
   3   of Colorado because the Defendants are subject to personal jurisdiction in this
   4   District, as Defendants Scram of California, Inc., (“SCRAM”) and Alcohol
   5   Monitoring Systems, Inc., (“AMS”) have their headquarters located in this District,
   6   and, each of the Defendants transact business in this District. All AMS reports,
   7   emanates from this District, then transmitted to third party providers around the
   8   country. The said Defendants’ alleged misconduct arises from this District, and a
   9   substantial part of the events in this action occurred in this District. Defendant
  10   AMS also transmits the delayed reports from their central offices located in the
  11   District of Colorado. Further, Defendant AMS advertises of their website for each
  12   of the Defendants that was created in Littleton, Colorado. And all money paid by
  13   each of the Defendants is sent to AMS that is headquartered within this District.
  14   III.     PERSONAL AND SUBJECT MATTER JURISDICTIONS
  15            4.     This Court also can assert personal jurisdiction over each of the
  16   Defendants pursuant to the relevant states’ long-arm statutes under one or more of
  17   the theories below:
  18            a.     Each Defendant has purposefully availed itself of the privilege of
  19   conducting business activities within the relevant states and has the requisite
  20   minimum contacts with each of those states because each Defendant participated in
  21   a conspiracy which injured SCRAM clients in the relevant states and overt acts in
  22   furtherance of the conspiracy were committed within the relevant states; and/or
  23            b.     Each Defendant has purposefully availed itself of the privilege of
  24   conducting business activities within the relevant states and has the requisite
  25   minimum contacts with those states because each Defendant committed intentional
  26   acts that were intended to cause and did cause injury within the relevant states;
  27   and/or
  28
                                                   -5-
                     PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT FOR DAMAGES
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   1            c.     Each Defendant has purposefully availed itself of the privilege of
   2   conducting business activities within the relevant states and has the requisite
   3   minimum contacts with those states because each defendant committed intentional
   4   acts that defendants knew were likely to cause injury within the relevant states;
   5   and/or
   6            d.     Each Defendant has purposefully availed itself of the privilege of
   7   conducting business activities within the relevant states and has the requisite
   8   minimum contacts with those states because each Defendant is a party to an
   9   anticompetitive agreement with a resident of the relevant state, which agreement is
  10   performed in whole or in part within the relevant state; and/or
  11            e.     Each Defendant has purposefully availed itself of the privilege of
  12   conducting business activities within the relevant states and has the requisite
  13   minimum contacts with those states because each defendant has committed a civil
  14   rights violation within the relevant state, which has caused injury within the state;
  15   and/or
  16            f.     Each Defendant has purposefully availed itself of the privilege of
  17   conducting business activities within the relevant states and has the requisite
  18   minimum contacts with those states because each Defendant either has clients
  19   within the relevant state or transacts business within the relevant state; and/or
  20            g.     Each Defendant has purposefully availed itself of the privilege of
  21   conducting business activities within the relevant states and has the requisite
  22   minimum contacts with those states because each Defendant either has clients
  23   within the relevant state or transacts business within the relevant state; and/or
  24            h.     Each Defendant has purposefully availed itself of the privilege of
  25   conducting business activities within the relevant states and has the requisite
  26   minimum contacts with those states because each Defendant has entered into a
  27   private written contract with Defendant Alcohol Monitoring Systems, Inc., and in
  28   the contract, each Defendant agreed to litigation to be litigated in this District.
                                                   -6-
                     PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT FOR DAMAGES
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   1         i.     Each Defendant has purposefully availed itself of the privilege of
   2   conducting business activities within the relevant states and has the requisite
   3   minimum contacts with those states because each Defendant has entered into a
   4   private written contract with Defendant Alcohol Monitoring Systems, Inc., and in
   5   the contract, each Defendant agreed to transmit funds as a part of the contract
   6   amongst each of the Defendants.
   7         j.     Each Defendant has purposefully, and amongst themselves, created,
   8   augmented, and agreed to enter into a conspiracy to violate the constitutional and
   9   civil rights of each of the Plaintiffs, and members of the class in this District.
  10   IV.   PARTIES
  11   5.    Plaintiff Bethany Lange is a citizen of the State of New York.
  12   6.    Plaintiff Jennifer Oh a citizen of the State of California.
  13   7.    Plaintiff Brooke Hoffman is citizen of the State of South Dakota.
  14   8.    Plaintiff Micah Bailey is a citizen of the State of Louisiana.
  15   9.    Plaintiff Linda Soltis is a citizen of the State of Ohio.
  16   10.   Plaintiff Derrick Smith is a citizen of the State of Texas.
  17   11.   Plaintiff Shiloh Irvin is a citizen of the State of Georgia.
  18   12.   Plaintiff Matthew Brudnicki is a citizen of the State of Illinois.
  19   13.   Plaintiff James Roche is a citizen of the State of Florida.
  20   14.   Plaintiff Jennifer Johnston is a citizen of the State of Missouri.
  21   15.   Plaintiff Michael Spano is a citizen of the State of New York.
  22   16.   Plaintiff Toriahna Bonds is a citizen of the State of Michigan.
  23   17.   Plaintiff Dakota Jones is a citizen of the State of California.
  24   18.   Plaintiff Dan McCullough is a citizen of the State of Georgia.
  25   19.   Plaintiff Dusty Derigo is a citizen of the State of Indiana.
  26   20.   Plaintiff Angel Gonzales is a citizen of the State of California.
  27   21.   Plaintiff Christina Bohnstedt is a citizen State of Minnesota.
  28
                                                  -7-
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   1         22.     Class Plaintiffs, Plaintiffs, Plaintiffs, Bethany Lange Jennifer Oh,
   2   Brooke Hoffman, Micah Bailey, Linda Soltis, Derrick Smith, Shiloh Irvin,
   3   Matthew Brudnicki, James Roche, Jr., Jennifer Johnston, Mike Spano, Torianna
   4   Bonds, Dakota Jones, Dan McCullough, Dusty Derigo, Angel Gonzales, and
   5   Christina Bohnstedt by and through their undersigned counsels, hereby file this
   6   Class Action Complaint, individually, and on behalf of all others who are similarly
   7   situated—and make these allegations based on information and belief and/or which
   8   are likely to have evidentiary support after a reasonable opportunity for further
   9   investigation and discovery—against the Defendants, and each of them.
  10         23.     Defendant, Alcohol Monitoring Systems, Inc., (“AMS”) is a Delaware
  11   corporation with its national headquarters located in Littleton Colorado. Defendant
  12   AMS is a nationwide provider of alcohol monitoring devices and services to state
  13   and federal law enforcement agencies. Defendant AMS is registered in California
  14   and provides alcohol monitoring services in California, including in this District,
  15   and elsewhere throughout the United States. Additionally, AMS is a corporation
  16   existing under the laws of the State of Delaware. AMS has a principal place of
  17   business located at 1241 W. Mineral Avenue, # 200, Littleton, Colorado, 80120.
  18         24.     Defendant, Scram of California, Inc. is a California corporation with
  19   its national headquarters located in Los Angeles, California. Defendant is a local
  20   distributer and provider of AMS’s devices and services in this District, and
  21   elsewhere throughout California. Defendant SCRAM maintains its principal place
  22   of business in California. In addition, SCRAM does transact business in California,
  23   maintains a website in California, has numerous contracts with State agencies and
  24   their principal place of business is located at 402 West Broadway, # 1250, San
  25   Diego, California 92101.
  26         25.     Defendant Recovery Solutions Consulting & Training Corp., (“RSC”)
  27   is an unknown entity doing business in the State of New York, a provider of
  28   alcohol monitoring to individuals throughout the New York area, and their
                                                 -8-
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   1   corporate office is located at 4885 Cliffside Drive West, Clarence, New York,
   2   14031.
   3         26.     Defendant, Los Angeles Alcohol Monitoring, Inc., (“LAAM”) is a
   4   California Corporation doing business in the State of California and provides
   5   alcohol monitoring to individuals throughout the Los Angeles and their corporate
   6   office is located at 11500 W. Olympic Blvd, Suite # 400, Los Angeles, CA, 90064.
   7         27.     Defendant, Etoh Monitoring, LLC., (“ETOH”) is a limited liability
   8   Corporation doing business in the State of Louisiana and provides alcohol
   9   monitoring to individuals throughout the New Orleans area, and their corporate
  10   offices are located at 424 Gravier Street, 4th Floor, New Orleans, Louisiana,
  11   70130.
  12         28.     Defendant Recovery Healthcare Corporation., (“RHC”) is a Texas
  13   Corporation doing business in the State of Texas, a provider of alcohol monitoring
  14   to individuals throughout the Dallas, Texas area, and their corporate office is
  15   located at 9090 N. Stemmons Frwy, Suite # A, Dallas, Texas 75247.
  16         29.     Defendant Sentinel Offenders Services, LLC., (“SENTINEL”) is
  17   limited liability Corporation doing business in the State of Delaware, with offices
  18   in Georgia, and within this District is headquartered in Irvine, California and also
  19   provides alcohol monitoring to individuals nationwide. Their agent for service is
  20   located at 40 Technology Parkway, Suite # 300, Ben Hill, NORCROSS, Georgia
  21   30092.
  22         30.     Defendant Scram Systems of Illinois, Inc., (“SSI”) is a Corporation
  23   doing business in the State of Illinois, with offices in Chicago, and within this
  24   District, provides alcohol monitoring to individuals nationwide. Their corporate
  25   office is located at 208 S. LaSalle Street, Suite # 814, Chicago, Illinois, 60604.
  26         31.     Defendant Court Programs, Inc., (“CPI”) is an unknown Mississippi
  27   Corporation, and provides alcohol SCRAM monitoring to individuals in various
  28
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   1   states. Their corporate office is located at 13091 Oxford Street, Biloxi, Mississippi,
   2   39532.
   3         32.     Defendant Rocky Mountain Offender Management Systems, L.L.C.,
   4   (“RMOMS”) is a limited liability Corporation doing business in the State of New
   5   York. Their corporate office is located at 8787 Turnpike Drive, # 20, Westminster,
   6   Colorado, 80031.
   7         33.     Defendant House Arrest Services, Inc., (“HAS”) is a Corporation
   8   doing business in the State of Michigan, provides alcohol monitoring to individuals
   9   in the States of Michigan, New York, Georgia, and Florida area. Their corporate
  10   office is located at 16039 East Nine Mile Road, Eastpointe, Michigan 48021.
  11         34.     Defendant ProntoTrak, Inc., (“PRONTO”) is a Georgia Corporation
  12   doing business in the State of Georgia, and provides alcohol monitoring to
  13   individuals in various states. Their corporate office is located at 106 Colony Park,
  14   Suite # 800, Cumming, Georgia, 30040.
  15         35.     Defendant Total Court Services of Indiana, LLC., (“TCSI”) is an
  16   Indiana Corporation doing business in the State of Indiana, and provides alcohol
  17   monitoring to individuals in various states. Their corporate office is located at 326
  18   S. 9th Street, Suite # 323A, Noblesville, Indiana, 46060.
  19         36.     Defendant Midwest Monitoring and Surveillance, Inc., (“MMS”) is an
  20   Minneasota Corporation, and provides alcohol SCRAM monitoring to individuals
  21   throughout the state. Their corporate office is located at 2500 W. Co Road, # 5,
  22   Burnsville, Minnesota, 55337.
  23         37.     Plaintiffs are currently ignorant of the true name(s) and the capacities,
  24   whether individual, corporate, associate, or otherwise, of the Defendants sued
  25   herein under the fictious names, DOES 1 through 10, inclusive, and therefore, sues
  26   such civil Defendants by such fictitious names. Plaintiffs will seek leave to amend
  27   this Complaint to allege the true names and capacities of said fictitiously named
  28
                                                 -10-
                   PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT FOR DAMAGES
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   1   Doe Defendants, who are legally responsible in some manner for the events and
   2   are also sued.
   3          38.     Plaintiffs are informed and believe and thereon allege that the
   4   Defendants, including the fictitious Doe Defendants, were at all times acting as
   5   actual agents, conspirators, ostensible agents, partners, joint ventures and/or the
   6   employees of all other Defendants, and that all acts alleged herein occurred within
   7   the course and scope of said agency, employment, partnership, joint venture,
   8   conspiracy, or enterprise, and with the express and/or implied permission, with all
   9   such knowledge, consent, authorization and ratification of their own co-
  10   Defendants. However, each of these allegations are deemed “alternative” theories
  11   whenever not doing so would result in a contraction with the other allegations.
  12          39.     Whenever the Complaint refers to any act of the Defendants, the
  13   allegations shall be deemed to mean the act of those Defendants named in the
  14   particular cause of action, and each of them, acting individually, jointly and
  15   severally.
  16   V.     COMMON ALLEGATIONS OF FACT
  17          40.     Defendants are providers of alcohol monitoring services and devices
  18   to state and federal law enforcement agencies, courts, as well as various private
  19   entities.
  20          41.     The alcohol monitoring device used by Defendants is called the
  21   SCRAM Continuous Alcohol Monitoring system (the “SCRAM Device”).
  22          42.     The SCRAM Device is approximately the size of a deck of cards and
  23   is placed on the wearer’s ankle using a strap. The Scram Device is a transdermal
  24   monitoring device that was designed to detect and record any instances when the
  25   wearer had consumed alcohol by detecting alcohol vapors caused by ingested
  26   alcohol diffusing through the skin.
  27          43.     Although most of Defendants’ business consists of providing alcohol
  28   monitoring services to individuals as part of court mandated rehabilitation
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   1   programs, as a condition of probation or bond, or other purposes related to the
   2   criminal justice system, they are also private vendors of their services.
   3         44.     While Defendants are selected by state and federal agencies and
   4   courts to provide monitoring services for defendants charged with a crime and
   5   other individuals who become involved in the criminal justice system, it is such
   6   individuals who are ultimately Defendants’ customers and choose to purchase
   7   Defendants’ alcohol monitoring service as an alternative form of monitoring
   8   offered by the state or federal agency or court.
   9         45.     Defendants, acting under the color of authority, enter into private
  10   contracts with each such individual to provide them their alcohol monitoring
  11   services, and directly charge them a monthly fee for this service.
  12         46.     Defendants advertise their SCRAM Device as a cost-effective and
  13   accurate alternative for law enforcement agencies and courts to track the alcohol
  14   usage of at-risk individuals such as those charged with driving under the influence
  15   or other crimes relating to consumption of alcohol.
  16         47.     Specifically, the SCRAM Device is meant to be worn 24/7. The
  17   wearer is instructed to once-a-day connect the SCRAM Device to a special
  18   docking station connected to the internet to upload the monitoring data collected
  19   by the device throughout the day. Once the device is connected, the data is sent to
  20   a central data center in Colorado operated by AMS. There, the data is reviewed to
  21   determine if any monitoring “event” occurred that indicates that the wearer
  22   ingested alcohol.
  23         48.     Unlike blood alcohol monitoring that directly detects the level of
  24   alcohol present in the blood stream, Defendants’ SCRAM Device relies on
  25   transdermal alcohol monitoring, which operates by detecting the amount of alcohol
  26   that evaporates through the skin. Because the rate at which alcohol evaporates
  27   through the skin is significantly different than the rate at which alcohol is
  28   metabolized and detected in the blood stream, transdermal alcohol monitoring
                                                 -12-
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   1   requires the use of an algorithm to approximate the blood alcohol content of the
   2   wearer based on the amount of alcohol vapor detected at the skin surface.
   3         49.     Because transdermal alcohol monitoring measures the amount of
   4   alcohol evaporating through the wearers’ skin, the SCRAM Device is by its design
   5   susceptible to detecting “false-positive” alcohol readings as a result of what
   6   Defendants term to be “environmental alcohol.” That is, alcohol vapors that
   7   wearer’s encounter on an everyday basis that may come in contact with the
   8   SCRAM Device.
   9         50.     Environmental alcohol takes many forms, and many everyday
  10   products contain alcohol that evaporates upon exposure to air and can trigger a
  11   SCRAM Device to detect alcohol vapors. For example, body spray, cologne,
  12   aftershave, hand sanitizer; household cleaners such as Windex, gasoline, and many
  13   other products that most individuals come across on a day-to-day basis contain
  14   alcohol that evaporates into the atmosphere.
  15         51.     Given the placement of the SCRAM Device against the wearer’s skin,
  16   on their ankle, and the fact that the SCRAM Device is designed to detect the
  17   presence of alcohol in the air surrounding the wearer, any environmental alcohol
  18   present near or around the device will lead to the device detecting the presence of
  19   alcohol vapors even if the wearer had not ingested any alcohol themselves.
  20         52.     Defendants advertise to the public and the governmental agencies
  21   with whom they seek to work with, that the SCRAM Device is capable of
  22   determining the difference between alcohol vapors that are detected as a result of
  23   “ingested alcohol” and alcohol vapors that are detected as a result of
  24   “environmental alcohol.”
  25         53.     Further, the individuals who ultimately purchase Defendants’ alcohol
  26   monitoring services, are not in any way informed that the SCRAM Device could
  27   even register any false-positive test results due to environmental alcohol before
  28   making the decision to purchase Defendants’ alcohol monitoring service and
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   1   submit to monitoring via the SCRAM Device.
   2

   3         54.      However, Defendants misrepresent the risk of false-positive test
   4   results as a result of environmental alcohol. In fact, numerous sources have
   5   documented instances of false-positive test results recorded by the SCRAM Device
   6   when the wearer was proven to have not consumed any alcohol.
   7         55.      For example, in one instance a criminal defendant in Oakland County
   8   Michigan was fitted with the SCRAM Device as a condition of being released on
   9   bond following a car accident. Subsequently, the court was notified of three
  10   drinking episodes that were potential violations of the conditions of the bond, and a
  11   bond revocation hearing was held. However, at the hearing, the Honorable Dennis
  12   Powers of the Novi District Court determined that the SCRAM Device was in fact
  13   unreliable and that the events detected were false-positives. Specifically, according
  14   to the data recorded by the SCRAM Device, during the first drinking episode the
  15   wearer consumed alcohol for 63 consecutive hours and maintained an identical
  16   blood-alcohol level at all times—a biological impossibility. The second drinking
  17   episode was detected by the SCRAM Device at the exact same time as when the
  18   wearer was taking a breath-alcohol test that showed no presence of alcohol
  19   whatsoever. The third drinking episode was detected when the wearer was in the
  20   hospital, and even though the wearer had not consumed any alcohol whatsoever,
  21   the data recorded was identical to data corresponding to some who had internally
  22   ingested alcohol. The court rejected the evidence presented by AMS and in
  23   particular noted that “the SCRAM tether did not meet the requisite standards of
  24   ‘reliability’ or ‘general acceptance’ in the relevant scientific community” and that
  25   “[t]he body of evidence supplied by the defendant made it clear that the readings
  26   by the SCRAM tether were not necessarily the result of prolonged drinking
  27   episodes.”
  28
                                                 -14-
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   1

   2         56.     As another example, another DUI defendant was ordered by the Court
   3   in Ramsey County Minnesota to wear the SCRAM ankle bracelet as a result of a
   4   DUI related offense. The SCRAM device is worn as an ankle bracelet which
   5   monitors the migration of alcohol through the offender’s skin. The measurements
   6   are then obtained are converted to a blood-alcohol content which is designated as
   7   the TAC, which means Transdermal Alcohol Content.
   8         57.     In this case, on November 9, 2006, the defendant’s SCRAM device
   9   showed a positive reading for alcohol with a confirmed peak reading .035 TAC.
  10   On November 10, 2006, at approximately 6:00 a.m., the defendants SCRAM
  11   device showed a positive reading for alcohol with an alleged confirmed peak
  12   reading in at .05 TAC. The defendant was notified a week later that he tested
  13   positive for alcohol consumption and that a probation violation report would be
  14   filed against him. The defendant was notified by their attorney and the defendant
  15   got an alcohol test done through a certified medical lab and the results were
  16   negative.
  17         58.     In the very case, just as the same facts as each of the Plaintiffs, the
  18   Honorable Edward S. Wilson found SCRAM highly unreliable and based on the
  19   hearing that was held, the trial Court found that SCRAM was not widely accepted
  20   in the scientific community. Further, Judge Edward Wilson also determined that
  21   the SCRAM device that the defendant was wearing was not in proper working
  22   order on the dates in question. As such, the violation was dismissed.
  23         59.     In a study of the accuracy of transdermal alcohol monitoring utilizing
  24   the SCRAM Device, it was similarly noted that the “methodology used by AMS
  25   cannot separate ethanol from other contaminating alcohols and therefore is not a
  26   reliable method.” This is of particular significance because ingested alcohol is
  27   specifically comprised of ethanol. Thus, any device intended to measure an
  28   individual’s blood alcohol content that is not specific to ethanol will detect all
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   1   types of alcohols, including those that are not ingested by an individual. The
   2   SCRAM Device utilizes “fuel cell” technology that creates an electric current
   3   when an electrolyte contained within the device comes in contact with chemicals
   4   that has a “hydroxyl” group. The chemicals include isopropyl alcohol (rubbing
   5   alcohol), antifreeze, and many other “alcohols” such as those previously described
   6   above. Because the SCRAM device is not specific to detecting ethanol, any
   7   number of other alcohols that are not ingested by the wearer can result in the
   8   Device registering an “alcohol” reading if they come in contact with the device.
   9         60.     Because the SCRAM Device does not directly measure the wearers’
  10   blood alcohol content, and is not specific to detecting ethanol, a reading by the
  11   SCRAM Device detecting the presence of alcohol vapor is not by itself in any way
  12   indicative that the wearer had actually consumed alcohol.
  13         61.     As discussed above, Defendants have to apply an algorithm to
  14   determine whether any readings collected by the SCRAM Device actually
  15   correspond to what Defendants term a “confirmed alcohol consumption event.”
  16         62.     Specifically, Defendants measure the rate at which the alcohol vapor
  17   readings detected by the SCRAM Device increase and decrease in order in order to
  18   determine whether they match the predicted rate at which alcohol vapors are
  19   released as a result of alcohol being metabolized by the human body. In applying
  20   their algorithm to determine whether an “alcohol consumption event” occurred,
  21   Defendants rely on a general assumption that the rate at which alcohol vapor is
  22   released through the skin following the consumption of alcohol falls within a
  23   certain range for all individuals, regardless of any distinguishing physiological
  24   characteristics (i.e. weight, height, thickness of skin).
  25         63.     Applying this algorithm, Defendants claim to be able to distinguish
  26   between alcohol vapor readings caused by “alcohol consumption events” and
  27   readings caused by “environmental alcohols,” because alcohol vapor readings that
  28   are caused by environmental alcohols are supposed to have a significantly different
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   1   rate at which they increase/decrease in comparison to readings that are caused by
   2   ingestion of alcohol.
   3         64.     Because the raw data produced by the SCRAM Device is by itself of
   4   limited use in determining whether the wearer actually consumed alcohol, the data
   5   has to be sent to AMS’ central monitoring facility in Colorado to be analyzed and
   6   for AMS’ personnel to apply the algorithm and attempt to determine whether an
   7   “alcohol consumption event” had occurred.
   8         65.     When a customer of Defendants’ alcohol monitoring service connects
   9   their SCRAM Bracelet into the internet connected docking station each day, the
  10   data collected for that day is sent to AMS for such analysis.
  11         66.     If upon analyzing the data AMS determines that the alcohol vapor
  12   readings were caused by an “alcohol consumption event,” Defendants inform the
  13   law enforcement agency or court exercising jurisdiction over the wearer that based
  14   on their analysis of the collected data the individual had consumed alcohol.
  15         67.     However, the individual who was actually wearing the SCRAM
  16   Device, is not in any way informed by Defendants or by the device itself that an
  17   “alcohol consumption event” had occurred, neither at the time when the SCRAM
  18   Device is actually recording the alcohol vapor readings, nor when AMS concludes
  19   its analysis of the data and informs the law enforcement agency or the court.
  20         68.     In fact, the SCRAM Device is not designed to, and does not actively
  21   inform the wearer in real-time when it is detecting alcohol vapors. Even if the
  22   SCRAM Device records alcohol vapor readings continuously for 24 hours, when
  23   the wearer connects the SCRAM Device to the docking station to upload the data,
  24   the SCRAM Device will simply flash a green light to inform the wearer that the
  25   upload was successful.
  26         69.     Because the vast majority of Defendants’ customers purchase the
  27   transdermal alcohol monitoring service as part of a condition of their bond or
  28   probation, a report to a law enforcement agency or judiciary that an individual has
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   1   been determined to have consumed alcohol will often be considered a violation of
   2   the conditions of any such bond or probation and trigger a hearing revoking the
   3   bond/probation.
   4         70.     Moreover, because Defendants’ customers are not timely notified
   5   when the SCRAM Device detects the presence of alcohol vapors, when the data is
   6   uploaded daily to AMS, or even when AMS sends a report stating that an “alcohol
   7   consumption event” has occurred, the customers often do not discover that they
   8   had supposedly violated the conditions of their bond or probation until several days
   9   after the “alcohol consumption event” had occurred.
  10         71.     Once the SCRAM Device sends notice to AMS at their central
  11   facility, it is there, that a minimum wage employee with inadequate training and
  12   education in these area, reads the report that is oftentimes accompanied with
  13   graphs and indicates various TAC readings, dates, and times of any and all alleged
  14   drink or tamper events. Once the report is received by AMS, those reports are then
  15   held by AMS for three to four days before it is then turned over the SCRAM for
  16   review. Once SCRAM allegedly reviews the reports, it is then SCRAM and AMS
  17   quickly turn those violation reports over to the Court and the Prosecutors handling
  18   the criminal case of the said Scram customer who is charged with the DUI offense.
  19         72.     It is the pattern and practice of the Defendants, and each of them, to
  20   intentionally delay sending the alleged violation reports to the Scram customers,
  21   and their criminal Defense Attorneys by days, weeks, and even months. The
  22   general purpose of the scam is so that the SCRAM wearer does not have an
  23   opportunity to seek out options of having traditional blood tests done to show by
  24   the preponderance of the evidence that the wearer is innocent.
  25         73.     Thus, Defendants’ customers who wish to dispute any finding that
  26   they violated the terms of their bond/probation are unable to obtain evidence that
  27   could allow them to challenge the revocation of their bond/probation because by
  28   the time they are made aware of the potential violation, due to the rate of alcohol
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   1   metabolism in the human body, Defendants’ customers cannot obtain a timely
   2   blood or breath alcohol test that could definitively show that they did not consume
   3   alcohol at the time indicated by the SCRAM Device.
   4         74.     In addition, the Defendants, and each of them have unconstitutional
   5   practices that are often deployed by them. For example, the Defendants will turn
   6   over violation reports the day of the alleged SCRAM violation hearing.
   7         75.     As a classic example, Plaintiff Linda Soltis was charged with an
   8   alleged SCRAM violation. Once received, the probation department then sent a
   9   copy of the report to the prosecutor handing Ms. Soltis’ DUI case. This report was
  10   turned over to the probation department and prosecutor several weeks later after
  11   the said report was generated.
  12         76.     On the day of the alleged violation hearing, Ms. Soltis and all the
  13   other parties were present and the prosecutor handed Ms. Soltis’ attorney a copy of
  14   the alleged violation report, 15 minutes before the hearing. Additionally, the
  15   prosecutor informed Ms. Soltis’ attorney that AMS had sent an employee to the
  16   hearing, to testify as to the report. At no time was Ms. Soltis’ attorney able to
  17   properly cross-examine the AMS witness because he was just notified of the report
  18   and the existence of the witness, 15 minutes prior to the Court calling its calendar.
  19         77.     The Plaintiffs in this case, like many other Americans in this Country,
  20   enjoy the privileges and immunities of the United States Constitution to petition
  21   the Courts, call witnesses on their behalf, the right to cross-examine, and to have a
  22   fair hearing, all of which is guaranteed by the United States Constitution.
  23         78.     As a long-standing custom and practice with the Defendants, and each
  24   of them, they are given enormous power and deference by various City, County,
  25   State, and some Federal agencies and Courts. In some instances, the Defendants
  26   are even given the power by the local Sheriff to setup an office right inside the
  27   local County Jail. In another instance, the Defendants are required to appear at a
  28   local county jail to fit the Scram client with the ankle monitor. Prior to placing the
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   1   SCRAM Device on a potential client, the Defendants, and each of them, then
   2   charge an exorbitant fee up front, ranging from $150.00 to as much as $400.00.
   3   And should the client not have the funds for the set-up fee, the Defendants, and/or
   4   each of them, will not send their employee and/or agent to the jail to attach the
   5   SCRAM Device until the set-up fee is paid to the Defendant(s). In one instance, a
   6   man in Santa Barbara who was arrested for a DUI offense, posted a bail bond to
   7   secure his release, but could not leave the jail until a Scram of California, Inc.,
   8   employee appeared at the jail to have the SCRAM Device attached to him. That
   9   man stayed in jail for four (4) days until the Scram employee arrived, thereby
  10   denying the man, his right to be free from unlawful seizure guaranteed by the
  11   Fourth Amendment to the United States Constitution.
  12         79.     Among the many other Constitutional violations committed by each
  13   of the Defendants, is their violation of their customers’ due process rights. When a
  14   Plaintiff, such as each of the Plaintiffs in this case, are placed on alcohol
  15   monitoring with the Defendants, they will then use the opportunity to collect
  16   money from the Plaintiffs, and the members of the Class by detaining the Scram
  17   customer in their office to then tell the customer they are under arrest for violating
  18   the Scram conditions, then the Defendants, and each of them, threaten to send
  19   letters to the Trial Court judges informing the Judge presiding over their DUI
  20   matter, that the Scram customer is in violation of their conditions of bond,
  21   probation, or parole. Then the Defendants will then send letters to their Scram
  22   customer that the Defendants, and each of them, are also reporting them to a debt
  23   collector and that services will be terminated.
  24         80.     There are at times when a Scram wearer is unable to afford the high-
  25   end set-up fee, or the exorbitant monthly fee, and the wearer cannot make the
  26   payment that month. What the Defendants, and each of them fail to inform the
  27   wearer, is that the Scram customer may seek a financial reduction sheet from the
  28
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   1   Defendants that will entitle the Scram customer to pay less based on their income,
   2   mortgage, economic expenses, child support, etc.
   3         81.     However, when the Plaintiffs, and the Class have asked for financial
   4   reduction sheets, the Defendants, and each of them, tell their clients’ no such form
   5   exist, or that the employee has never heard of the form. In fact, the form does exist,
   6   and in some written government contracts across the United States that a majority
   7   Defendants have with government agencies such as the Courts, probation, or even
   8   parole, it states in clauses of that agreement that the client is entitled to a financial
   9   reduction if the customer cannot afford the high-end fees. Defendants, and each of
  10   them, have violated the rights of the Plaintiffs, and others similarly situated across
  11   the United States. By doing this, Defendants, and each of them, have violated the
  12   Due Process rights of the Plaintiffs, and all others similarly situated across the
  13   United States, under the 14th Amendment to the United States Constitution.
  14         82.     Defendants, and each of them, have perpetuated these Constitutional
  15   violations under the color of authority. These Defendants have entered into
  16   government contracts with City, State, County, and Federal government agencies.
  17   In turn, these agencies provide Defendants with government identification cards,
  18   they appear in Court on behalf of the government, transmit reports directly to the
  19   Court staff, and they also make special appearances by flying their employees
  20   around the globe to testify at the request of these government agencies. Further,
  21   Defendants receive large pay outs each year for their alcohol monitoring service.
  22         83.     Plaintiffs on behalf of themselves, and a class of similarly situated
  23   seek to challenge the Defendants ongoing pattern and practice sending delayed
  24   alleged consumption and tamper reports to their attorneys in a timely fashion. The
  25   Plaintiffs believe and thereon alleged that this policy and practice is established,
  26   created, and manifested in a way to intentionally cause harm and federal civil
  27   rights violations towards the Plaintiffs and the putative class. Additionally, the
  28   Plaintiffs believe and thereon allege that this policy and procedure was created
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   1   amongst the Defendants to further their conspiracy to violate the Plaintiffs federal
   2   civil rights. With the scram client being notified weeks, or even months later that
   3   the client allegedly consumed alcohol, or tampered with the device, the Defendants
   4   try to better themselves to bolster sales and government contracts by reflecting that
   5   the wearer cannot refute the Defendants allegations of violations because as most
   6   human beings, nobody remembers where they were a month or two ago. Further,
   7   the wearer is unable to obtain a blood draw in a timely fashion.
   8         84.     Defendants will continue their aforementioned policies and practices
   9   unless enjoined and restrained by the Court. Without injunctive relief applicable to
  10   the class as a whole, the class members will suffer irreparable harm for which there
  11   is no adequate remedy at law in that their constitutional and statutory rights will be
  12   systematically violated. Without the intervention of this Court, Defendants will
  13   continue these unconstitutional practices.
  14         85.     Defendants have the resources and money to properly change their
  15   illegal business practices, but they do not utilize those resources to curb the
  16   problems that the Defendants are aware of. Instead, some Defendants use those
  17   funds and resources to pay for extravagant parties, and boats. Defendants, by and
  18   through their illegal business practices will continue to receive government and
  19   local contracts and will continue to conduct business in a dehumanizing and
  20   discriminatory manner towards Plaintiffs and the class.
  21         86.     On information and belief, the Defendants and each of them have
  22   retaliated against the Plaintiffs by creating and circumventing false tamper and
  23   consumption reports when the Plaintiffs and members of the class continue to
  24   complain to case managers about the high end exuberant fees that are imposed for
  25   the “setup fee” and the “bi-weekly fee,” all of which the majority of the Plaintiffs
  26   here have complained about. On information and belief, Plaintiffs allege that the
  27   Defendants use false reports to remove clients from their case load when clients
  28   don’t have funds to pay for the Defendants exuberant fees, all of which these false
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   1   reports are sent directly to a Judge of the Superior Court.
   2         87.     As a result of the discriminatory conduct alleged herein, the Plaintiffs
   3   and the class have suffered damages, including emotional distress damages and
   4   pain and suffering, in amounts to be determined at trial.
   5         88.     In engaging in the conduct alleged in this Complaint, Defendants, and
   6   each of them, acted maliciously, fraudulently and oppressively, and otherwise in a
   7   manner entitling Plaintiffs to an award of punitive damages.
   8   VI.   CLAIMS OF CLASS REPRESENTATIVES
   9         89.     Different and overlapping Plaintiffs are acting as representatives for
  10   their classes. All Plaintiffs sue Defendant Alcohol Monitoring Systems, Inc.,
  11   (“AMS”), as well as their alcohol provider in their respective states. The class and
  12   class representatives identified in this graph below. In this graph, Alcohol
  13   Monitoring Systems, Inc., will be referred to as AMS.
  14               NAME                STATE                          DEFENDANT(S)
  15           Bethany Lange           New York            Recovery Solutions Consulting & Training Corp
                                                                 Alcohol Monitoring Systems, Inc.
  16
                Jennifer Oh            California              Los Angeles Alcohol Monitoring, Inc.
  17                                                            Alcohol Monitoring Systems, Inc.
              Brooke Hoffman         South Dakota               Alcohol Monitoring Systems, Inc.
  18
                Micah Bailey           Louisiana                     ETOH Monitoring, LLC.
  19                                                             Alcohol Monitoring Systems, Inc.
                Linda Soltis             Ohio                    Alcohol Monitoring Systems, Inc.
  20
               Derrick Smith             Texas                   Recovery Healthcare Corporation
  21
                                                                 Alcohol Monitoring Systems, Inc.
  22            Shiloh Irvin            Georgia                  Sentinel Offenders Services, LLC.
                                                                 Alcohol Monitoring Systems, Inc
  23         Matthew Brudnicki          Illinois                  Scram Systems of Illinois, Inc.
                                                                 Alcohol Monitoring Systems, Inc.
  24            James Roche             Florida                        Court Programs, Inc.
                                                                 Alcohol Monitoring Systems, Inc
  25          Jennifer Johnston        Missouri                  Alcohol Monitoring Systems, Inc.

  26           Michael Spano           New York            Rocky Mountain Offender Mgmt Systems, LLC
                                                                 Alcohol Monitoring Systems, Inc.
  27           Toriahna Bonds          Michigan                     House Arrest Services, Inc.
                                                                 Alcohol Monitoring Systems, Inc.
  28
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   1              Dakota Jones           California                    Scram of California, Inc.
                                                                  Alcohol Monitoring Systems, Inc.
   2             Dan McCullough           Georgia                          ProntoTrak, Inc.
                                                                  Alcohol Monitoring Systems, Inc.
   3              Dusty Derigo            Indiana               Total Court Services of Indiana, LLC
                                                                  Alcohol Monitoring Systems, Inc.
   4             Angel Gonzales          California                    Scram of California, Inc.
                                                                  Alcohol Monitoring Systems, Inc.
   5
             Christina Bohnstedt        Minnesota       Midwest Monitoring and Surveillance, Inc., Minnesota
   6                                                    Monitoring, Inc., Alcohol Monitoring Systems, Inc.

   7
       VII. FALSE THREATS OF JAIL FOR NONPAYMENT TO
   8
             DEFENDANTS
   9
             90.      Plaintiffs further bring this litigation to challenge a second, illegal
  10
       business practice by each of the Defendants—its practice of intentionally coercing
  11
       people to pay the Defendants with false threats that nonpayment will result in
  12
       immediate incarceration at the sole discretion of the case manager, or alcohol
  13
       provider. Plaintiffs, and each of them, was subject to this practice, as described
  14
       herein.
  15
             91.      The Plaintiffs’ alcohol providers, excluding law enforcement, has a
  16
       practice of coercing payments from probationers by falsely representing that
  17
       failure to pay fines and fees will result in immediate incarceration in their sole
  18
       discretion (“the False Threats of Jail for Nonpayment Policy”).
  19
             92.      Through this policy, Defendants have intentionally caused Plaintiffs,
  20
       and others stress, anxiety, humiliation, and fear of incarceration. Defendants uses
  21
       threats of incarceration to ensure that SCRAM clients will prioritize payments to
  22
       each of the Defendants over other financial obligations, such as rent, child care,
  23
       food or medical expenses.
  24
             93.      The threats made by Plaintiffs’ SCRAM providers are inconsistent
  25
       with the legal authority limiting the ankle monitor company’s power to revoke
  26
       their SCRAM conditions practice in this regard constitutes fraud and all other
  27
       forms of misrepresentation under State and Federal law.
  28
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   1           94.     Plaintiffs seek damages and declaratory and injunctive relief as set
   2   forth herein.
   3   VIII.           CLAIMS OF CLASS REPRESENTAIVES
   4           1.      Bethany Lange v. Recovery Solutions Consulting & Training Corp
   5   and Alcohol Monitoring Systems, Inc.
   6           95.     Plaintiff Bethany Lange, (“Ms. Lange or Plaintiffs”) was driving her
   7   car in the City of Depew, the State of New York. As Ms. Lange was driving on the
   8   highway when she was pulled over by an Erie County Sheriff’s Deputy. After
   9   being pulled over, the deputy suspected that Ms. Lange was driving under while
  10   under the influence of alcohol. Although there are conflicting issues as to the
  11   alleged allegations that Ms. Lange was intoxicated, Ms. Lange was subsequently
  12   placed under arrest for suspicion of DWI in the State of New York.
  13           96.     Shortly after Ms. Lange was placed under arrest, Ms. Lange was taken
  14   to a local jail where she was required to post a bail bond. Ms. Lange posted a bail
  15   bond in the amount of $ 25,000.
  16           97.     Ms. Lange retained private counsel and later appeared in the trial
  17   Court in the State of New York. Ms. Lange was later subsequently found guilty of
  18   DWI.
  19           98.     On January 26, 2017, after sentencing, Ms. Lange was required to
  20   enroll in the SCRAM program with the DWI Court unit. After enrolling, Ms.
  21   Lange appeared at the DWI unit and was fitted for the SCRAM Device. Ms. Lange
  22   was provided with a piece of paper that contained a list of environmental products
  23   that a person wearing the SCRAM Device is prohibited from using.
  24           99.     In addition to the list of prohibited products, Ms. Lange was also
  25   required to send a bi-weekly payment to Defendant Recovery Solutions Consulting
  26   & Training Corp., (“RSC”). In turn, RSC then transmits the payment to Alcohol
  27   Monitoring Systems, Inc., (“AMS”) in Colorado.
  28
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   1         100. On several occasions, Ms. Lange fell back on her payments. When she
   2   did, Ms. Lange would receive a telephone call from either the DWI Court unit, or
   3   RSC. On various occasions, RSC employees will call Ms. Lange all hours late at
   4   night. At one point, RSC called Ms. Lange at 11:00 p.m., at night while she was in
   5   bed asleep. The RSC employee informed Ms. Lange that if she did not make her
   6   payment “like right now,” that Ms. Lange would be charged with a violation of her
   7   SCRAM order.
   8         101. Like many other Americans facing a financial problem, Ms. Lange
   9   was unable to pay the high end exuberant fees imposed by RSC and AMS. Ms.
  10   Lange continued to fall back on her payments. Coincidentally, Ms. Lange was
  11   charged with several SCRAM violations. Defendant RSC, acting under the color of
  12   state law, sent various reports to the Court concerning Ms. Lange.
  13         102. Like her co-Plaintiffs, Ms. Lange was charged on various occasions
  14   with alleged SCRAM violations.
  15         103. In early 2002, Defendants RSC and AMS entered into a written and/or
  16   oral contract with the Erie County Superior Court, as well as the County to have
  17   RSC and AMS provide the County of Erie with SCRAM monitoring. As a part of
  18   this contract, Ms. Lange believes and thereon alleges that RSC and AMS are paid
  19   approximately $ 400,000 a year from SCRAM monitoring.
  20         104. On several occasions, RSC and AMS reported to the DWI Court staff
  21   and Court that Ms. Lange was in violation of her SCRAM conditions. Acting under
  22   the color of authority, Defendant RSC and AMS reported to the Court that on four
  23   separate occasions, Ms. Lange consumed alcohol. In fact, each of those times, at
  24   no time did RSC, nor AMS ever provide Ms. Lange with copies of any alleged
  25   consumption reports. Although Ms. Lange, through her attorney, demanded to be
  26   provided with copies of the alleged consumption reports, RSC and AMS never did
  27   provide Ms. Lange, or her counsel with the reports. At all times relevant, Ms.
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   1   Lange had an absolute right to know the charges that were filed against her, and to
   2   have the right to bring witnesses to testify on her behalf.
   3         105. Again, on May 30, 2017, Ms. Lange received a phone call from the
   4   Defendant RSC. Again, Ms. Lange was informed that she was in violation of her
   5   SCRAM conditions. Only this time, RSC, through a report generated by AMS,
   6   then transmitted to RSC, the report this time now said that Ms. Lange tampered
   7   with the SCRAM Device. And at the same exact moment and time, alcohol was
   8   also detected. But again, this is an impossibility due to the fact that the SCRAM
   9   Device cannot detect alcohol, if the SCRAM Device is being tampered with.
  10         106. Acting under color of authority, RSC then sent a confidential report to
  11   the Court that stated these above-mentioned allegations. In fact, the RSC employee
  12   contacted the Court, and the RSC employee informed the DWI Court staff that not
  13   only did Ms. Lange allegedly tamper with the SCRAM Device, but also that Ms.
  14   Lange continued to fall back on payments. As such, RSC, acting under the color of
  15   authority, provided a perjured statement to the DWI staff that directly caused a
  16   Court date to be set so that Ms. Lange would have to appear before a judge. For no
  17   well-founded reason, RSC and AMS manifested false allegations, refused to
  18   provide Ms. Lange with the reports, all for not making a payment to RSC and
  19   AMS, on time.
  20         107. Ms. Lange then appeared at the Court date, and was given a verbal
  21   reprimand by the trial Court about the alleged consumption and tamper. At no time
  22   did RSC and AMS ever prove that Ms. Lange allegedly violated the terms of her
  23   SCRAM sentencing. During the course of Ms. Lange’s alleged violations, Ms.
  24   Lange was ordered to provide hair and urine samples to the DWI Court probation
  25   officers, and all of those tests were negative.
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   1         108. Unless and until the Defendants RSC and AMS are restrained by an
   2   order of this Court, Defendants, acting through their officers, servants, agents and
   3   employees, will continue to enforce these violations and continue to delay reports
   4   that ultimately put a person’s life and freedom in the hands of two notoriously
   5   corrupt corporations, RSC and AMS.
   6         109. Unless and until this Court declares the policies and procedures of
   7   RSC and AMS are unconstitutional, the Defendants, acting through its officers,
   8   servants, agents and employees, will enforce the said civil rights violations. All of
   9   the acts of the Defendants, its officers, agents, as alleged herein, were done or are
  10   threatened to be done under color of state law.
  11         110. The Defendants policies and procedures, on its face and as applied, or
  12   threatened to be applied, violates the Right to Petition and the Equal Protection
  13   Clause of the Fourteenth Amendment to the United States Constitution and similar
  14   guarantees in the Constitution by denying Plaintiff free speech rights allowed to
  15   others in similar situations and other protections of state and federal law. The said
  16   Defendants to this claim at all times relevant hereto were acting pursuant to a
  17   custom, policy, decision, ordinance, regulation, widespread habit, usage, or
  18   practice in their actions pertaining to Plaintiff Bethany Lange.
  19         111. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
  20   suffered actual physical and emotional injuries, and other damages and losses as
  21   described herein entitling her to compensatory and special damages, in amounts to
  22   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  23   Plaintiff Bethany Lange has incurred special damages and other special damages
  24   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  25   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  26   costs as allowable by federal law.
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   1         112. In addition to compensatory, economic, consequential and special
   2   damages, Plaintiff Bethany Lange, and members of the is entitled to punitive
   3   damages against each of the individually named Defendants under 42 U.S.C. §
   4   1983, in that the actions of each of these Defendants have been taken maliciously,
   5   willfully or with a reckless or wanton disregard of the constitutional rights of the
   6   Plaintiff Bethany Lange.
   7         2.     Jennifer Oh v. Scram of California, Inc., Alcohol Monitoring
   8   Systems, Inc. and Los Angeles Alcohol Monitoring, Inc.
   9         113. Plaintiff Jennifer Oh was arrested for driving under the influence on
  10   December 16, 2014. Ms. Oh was subsequently involved in a car accident with
  11   another car. A short time later, police arrived on scene and had opened a crash
  12   investigation. During that time, the police suspected that Ms. Oh was under the
  13   influence of alcohol. The investigating officer conducted field sobriety tests on Ms.
  14   Oh and alleged that Ms. Oh was in fact under the influence.
  15         114. Ms. Oh was read her Miranda rights and placed under arrest and then
  16   transported to the local police station where Ms. Oh posted bond. The police then
  17   provided Ms. Oh with a Court date to appear in Court.
  18         115. Several months later, Plaintiff retained private counsel and appeared
  19   at the trial Court to be arraigned on DUI related charges. At that time, Ms. Oh, by
  20   and through her attorney entered a not guilty plea. At the arraignment, her attorney
  21   made an offer of good faith to the Court to have Ms. Oh voluntarily enroll in the
  22   SCRAM ankle monitoring program. That same week, Ms. Oh enrolled in the
  23   SCRAM monitoring program with Defendant Los Angeles Alcohol Monitoring,
  24   Inc., (“LAAM”).
  25         116. The criminal case was then postponed to give Plaintiff time to enroll
  26   in the SCRAM program. Several weeks later, Ms. Oh’s attorney appeared before
  27   the trial Court and informed the Court that Ms. Oh enrolled in the SCRAM ankle
  28   program.
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   1         117. While Ms. Oh was enrolled in the SCRAM program, Ms. Oh was then
   2   ordered to pay SCRAM $ 225.00 a week for SCRAM monitoring. In addition, the
   3   Plaintiff, Ms. Oh also paid LAAM a $ 325.00 enrollment fee.
   4         118. Once Ms. Oh was finally enrolled in the SCRAM program, Ms. Oh
   5   was then mandated to attend a seminar which was given by a LAAM employee.
   6   The seminar consisted of the do’s and don’ts while on SCRAM. The LAAM
   7   employee instructed the Ms. Oh not to consume alcohol. The employee also gave
   8   an instruction that Ms. Oh not use any form of alcohol related environmental
   9   products. Ms. Oh agreed to both. At no time did LAAM provide Ms. Oh with any
  10   notice of this writing.
  11         119. During the time that Ms. Oh was placed on SCRAM monitoring, Ms.
  12   Oh continued to complain about the monthly SCRAM fee. Ms. Oh also asked the
  13   LAAM Defendant if the Plaintiff could apply to have her monthly costs reduced
  14   based on the facts that Ms. Oh could barely afford the monthly fee. However, the
  15   employee acting on behalf of LAAM informed Ms. Oh that she could not seek a
  16   reduced rate and that if Ms. Oh, did not pay the monthly fees, that LAAM would
  17   report Ms. Oh to the trial Court indicating that Ms. Oh was in violation of her
  18   SCRAM conditions.
  19         120. Facing the threats of arrest and detention and the possibility of losing
  20   her job, home and family, Ms. Oh choose to pay the huge fees to SCRAM and
  21   AMS. On June 8, 2015, weeks after Ms. Oh complained to her case manager about
  22   the outrageous fees assessed by LAAM and AMS, Ms. Oh’s attorney was sent a
  23   violation report that Ms. Oh was in violation of her SCRAM monitoring
  24   conditions. The alleged times of consumption was June 5, 2015 to June 7, 2015.
  25         121. Ms. Oh’s attorney did not receive the report for almost a month later.
  26   In that undated report, LAAM and AMS alleged that Ms. Oh consumed alcohol.
  27   On several occasions, both Ms. Oh and her attorney requested copies of the
  28   reports, but LAAM and AMS refused.
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   1         122. Defendants AMS and SCRAM indicate that Alcohol detections have
   2   confirmed as consumption identify the Blood Alcohol Curve and include both the
   3   presence of absorption to the peak with an absorption rate less than 0.10% per hour
   4   and the presence of elimination with an elimination rate less than 0.025% per hour
   5   if the peak was less than 0.150% or less than 0.035% per hour if the peak is
   6   0.150% or above. [Emphasis in original].
   7         123. Also attached to the report generated by AMS to SCRAM, is a graph
   8   sheet dated from the dates of June 5, 2015 at 6:00pm to June 7, 2015. The graph
   9   shows the trans-dermal concentration, (“TAC”) levels just like in the graph of her
  10   co-Plaintiff. The TAC readings are the black line and are also represented on the
  11   scale sheet to the left of the graph sheet. It also reflects the Infrared, (“IR”)
  12   readings identified on the blue line and the temperature readings are displayed on
  13   the red line and represented by the scale on the right of the graph.
  14         124. The graph is subsequently listed from June 5, 2015 at 6:00pm to June
  15   7, 2015. During these two days, coincidentally, that TAC level stays the same as
  16   like her co-Plaintiff Jennifer Oh. Which by all accounts indicated that Ms. Oh
  17   drank for two days straight, a biological impossibility. During this time, AMS
  18   alleges that the TAC level stayed the same.
  19         125. Defendant AMS produced the report and was reviewed by LAAM,
  20   who in turn provided the alleged consumption report to the Court. Acting under the
  21   color of authority, LAAM contacted the trial Court Judge, and sought a bench
  22   warrant for the arrest of Ms. Oh. The report was then sent to the trial Court. At no
  23   time did LAAM, nor AMS have the legal authority to engage in an ex parte matter
  24   with the Court to ask questions, submit reports, and seek an arrest warrant.
  25         126. Like all Plaintiffs in this case, each time Ms. Oh uploads her daily
  26   SCRAM Device readings, the readings are then transmitted from the SCRAM
  27   Device, to a AMS’ central facility in Littleton, Colorado where a minimum wage
  28   employee with no training experience, no college certification, purportedly reads
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   1   the alleged consumption report and issues a determination whether or not the
   2   SCRAM wearer consumed alcohol. Based on confidential information obtained by
   3   a reliable source, a former AMS employee, informed the Plaintiffs that AMS gives
   4   the power and authority to this non-certified, minimum wage employee is allowed
   5   to “pick and choose” which or what type of violation to issue. In some instances,
   6   the AMS employee picks both that the SCRAM wearer tampered with the SCRAM
   7   Device by blocking the infrared system inside the Device, and consumed alcohol.
   8   But realistically speaking, the SCRAM Device cannot do both. If the SCRAM
   9   wearer is tampering with the SCRAM Device, then the SCRAM Device is unable
  10   to reach out and obtain sweat levels to send back to AMS’ facility in Colorado.
  11         127. Once the LAAM and AMS reports were finalized, Ms. Oh by and
  12   through her attorney appeared in the trial Court and defended against the false
  13   report allegations. Her attorney complained about not receiving the report in a
  14   timely fashion, all of which the Court noted.
  15         128. Had AMS properly and timely informed Ms. Oh of the alleged
  16   consumption report, then Ms. Oh could have located witnesses, or even provide
  17   dates and times as where she was at the time when the alleged tampers took place.
  18         129. Ms. Oh believes, and thereon alleges that LAAM and AMS have an
  19   ongoing established pattern and practice of delaying in turning over all violations
  20   reports weeks, or months later so that AMS can paint a picture of themselves in the
  21   eyes of law enforcement that the equipment of AMS actually works, and that the
  22   SCRAM wearer tampered with the SCRAM Device, and that the SCRAM
  23   customer is guilty of anything and everything that AMS alleges. With this policy in
  24   hand, corporations like AMS try’s to show to government agencies that their ankle
  25   monitor really works, even though it does not.
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   1         130. The policies and procedures manifested by AMS, on its face and as
   2   applied, or threatened to be applied, violates the Right to Petition and the Equal
   3   Protection Clause of the Fourteenth Amendment to the United States Constitution
   4   and similar guarantees in the Constitution by denying Plaintiff free speech rights,
   5   and the right to petition the Court, and to others in similar situations and other
   6   protections of state and federal law. The Defendants LAAM and AMS to this claim
   7   at all times relevant hereto were acting pursuant to a custom, policy, decision,
   8   ordinance, regulation, widespread habit, usage, or practice in their actions
   9   pertaining to Plaintiff Jennifer Oh.
  10         131. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
  11   suffered actual physical and emotional injuries, and other damages and losses as
  12   described herein entitling her to compensatory and special damages, in amounts to
  13   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  14   Plaintiff Jennifer Oh has incurred special damages and other special damages
  15   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  16   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  17   costs as allowable by federal law.
  18         132. In addition to compensatory, economic, consequential and special
  19   damages, Plaintiff Jennifer Oh, and members of the is entitled to punitive damages
  20   against each of the individually named Defendants under 42 U.S.C. § 1983, in that
  21   the actions of each of these Defendants have been taken maliciously, willfully or
  22   with a reckless or wanton disregard of the constitutional rights of the Plaintiff.
  23         3.     Brooke Hoffman v. Alcohol Monitoring Systems, Inc.
  24         133. Plaintiff Brooke Hoffman, (“Ms. Hoffman or Plaintiffs”), on the night
  25   of August 25th, 2016 was at her home and involved in an argument with her
  26   husband. To avoid a domestic dispute with her husband, Ms. Hoffman decided in
  27   her best interest that she would leave her home for a few hours. Shortly after
  28   leaving her home, Ms. Hoffman did in fact have a few drinks. Soon thereafter, as
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   1   Ms. Hoffman was driving, a person called police to notify them of a potential
   2   drunk driver. Minutes later, Ms. Hoffman was pulled over by a police officer.
   3         134. The officer then conducted a Nystagmus check on Ms. Hoffman’s
   4   eyes using his finger. The officer then decided to conduct what is called Standard
   5   Field Sobriety Tests, (“SFST’s”) on Ms. Hoffman. Based on the officers’ training
   6   and experience, the officer placed Ms. Hoffman under arrest for suspicion of DUI
   7   after Ms. Hoffman failed the (SFST’s”).
   8         135. On August 26, 2016, that day, Ms. Hoffman was released from jail
   9   and as a condition of her release, Ms. Hoffman was required to report to the
  10   Sheriff’s office and have a member of law enforcement install the SCRAM Device
  11   on her leg. Ms. Hoffman was never provided with any literature, a brochure or a
  12   list of things Ms. Hoffman should do and not do while on the SCRAM Device.
  13         136. Additionally, Ms. Hoffman was then required to report twice a week
  14   to the Gregory County Sheriff’s office to download her readings into a AMS
  15   database that is then sent to AMS after the readings are uploaded.
  16         137. It was then that a deputy sheriff informed her that sometimes the
  17   readings “don’t upload correctly,” and that “the AMS equipment often fails us.”
  18   Further, the deputy also stated the AMS uploads download and transmit until a
  19   week later and could ultimately reflect as the AMS customer never reported that
  20   day to upload the readings and could generate a report reflecting that Ms. Hoffman
  21   is in violation of her release conditions.
  22         138. Ms. Hoffman then retained private counsel and appeared in the trial
  23   Court and entered a not guilty plea in the South Dakota Superior Court. During the
  24   course of the DUI proceedings, the Judge instructed Ms. Hoffman to abstain from
  25   using alcohol.
  26         139. Starting on April 5, 2017, at 8: 30 a.m., to April 6, 2017 till 2:06 p.m.,
  27   it was alleged by SCRAM and AMS that Ms. Hoffman tampered with the SCRAM
  28   Device during this time period. It their report, AMS stated also that alcohol was
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   1   also detected from during this time period. This is an impossibility due to the facts
   2   that AMS advertises that when a customer attempts to defeat the technology by
   3   placing an object over or between the sensor (IR) system of the SCRAM Device,
   4   then the SCRAM Device is unable to reach out an absorb the sweat sample
   5   necessary to determine if the customer consumed alcohol. Based on the statements
   6   and omissions by the Defendants, it is clear that there is no way possible that the
   7   SCRAM Device can do both.
   8         140. Again, on April 7, 2017, at 2:05 p.m., to April 8, 2017 till 9:56 a.m., it
   9   was alleged again by AMS that Ms. Hoffman tampered with the SCRAM Device
  10   during this time period. This time period was alleged to have also exceeded almost
  11   19 hours that AMS alleges Ms. Hoffman tampered with the SCRAM Device.
  12         141. However, this is an impossibility due to the facts that AMS advertises
  13   that when a customer attempts to defeat the technology by placing an object over
  14   or between the sensor (IR) system of the SCRAM Device for a long period of time,
  15   a report is generated and sent to the supervising agency that the SCRAM customer
  16   has or is attempting to defeat the technology of the SCRAM Device. And the
  17   agency conducting the supervision will then ask the SCRAM wearer to report
  18   immediately to that agency.
  19         142. Like all Plaintiffs in this case, each time Ms. Hoffman uploads all of
  20   her daily SCRAM Device readings which are then transmitted from the SCRAM
  21   Device, to a AMS’ central facility in Littleton, Colorado where a minimum wage
  22   employee with no training experience, no college certification, purportedly reads
  23   the alleged consumption report and issues a determination whether or not the
  24   SCRAM wearer consumed alcohol. Based on confidential information obtained by
  25   a reliable source, a former AMS employee, informed the Plaintiffs that AMS gives
  26   the power and authority to this non-certified, minimum wage employee is allowed
  27   to “pick and choose” which or what type of violation to issue. In some instances,
  28   the AMS employee picks both that the SCRAM wearer tampered with the SCRAM
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   1   Device by blocking the infrared system inside the Device, and consumed alcohol.
   2   But realistically speaking, the SCRAM Device cannot do both. If the SCRAM
   3   wearer is tampering with the SCRAM Device, then the SCRAM Device is unable
   4   to reach out and obtain sweat levels to send back to AMS’ facility in Colorado.
   5          143. Due to the known defects within the SCRAM Device, it wasn’t until
   6   several days, or even weeks before the upload readings reached AMS in Colorado
   7   before AMS notified the Sheriff’s Department.
   8          144. In October of 2011, the Gregory County Sheriff’s Department, GCSD,
   9   entered into a written contract with AMS to provide ankle monitoring. In return,
  10   the County of Gregory, South Dakota, paid AMS over $ 5,000,000.00 for a five (5)
  11   year contract. In the written contract executed between the parties, AMS agrees to
  12   provide witness support, real time technology, and reports that would reflect if a
  13   AMS client tampered with the device, or consumed alcohol. This contract was then
  14   signed and executed by the County Attorney and Don White the Chief Operations
  15   Officer of AMS.
  16          145. Had AMS properly and timely informed Ms. Hoffman of the alleged
  17   tamper, Ms. Hoffman could have located witnesses, or even provide dates and
  18   times as where she was at the time when the alleged tampers took place.
  19          146. Ms. Hoffman believes, and thereon alleges that AMS have an ongoing
  20   established pattern and practice of delaying in turning over any and all violations
  21   reports weeks, or months later so that AMS can paint a picture of themselves in the
  22   eyes of the Sheriff’s Department that the equipment of AMS actually works, and
  23   that the SCRAM wearer tampered with the SCRAM Device, and that the SCRAM
  24   customer is guilty of anything and everything that AMS alleges. Without more, it
  25   would cost AMS a multimillion dollar contract. Therefore, AMS must protect their
  26   assets in a contract like this.
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   1          147. The policies and procedures manifested by AMS, on its face and as
   2   applied, or threatened to be applied, violates the Right to Petition and the Equal
   3   Protection Clause of the Fourteenth Amendment to the United States Constitution
   4   and similar guarantees in the Constitution by denying Plaintiff free speech rights,
   5   and the right to petition the Court, and to others in similar situations and other
   6   protections of state and federal law. The Defendant AMS to this claim at all times
   7   relevant hereto were acting pursuant to a custom, policy, decision, ordinance,
   8   regulation, widespread habit, usage, or practice in their actions pertaining to
   9   Plaintiff Brooke Hoffman.
  10          148. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
  11   suffered actual physical and emotional injuries, and other damages and losses as
  12   described herein entitling her to compensatory and special damages, in amounts to
  13   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  14   Plaintiff Brooke Hoffman has incurred special damages and other special damages
  15   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  16   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  17   costs as allowable by federal law.
  18          149. In addition to compensatory, economic, consequential and special
  19   damages, Plaintiff Brooke Hoffman, and members of the is entitled to punitive
  20   damages against each of the individually named Defendants under 42 U.S.C. §
  21   1983, in that the actions of each of these Defendants have been taken maliciously,
  22   willfully or with a reckless or wanton disregard of the constitutional rights of the
  23   Plaintiff.
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   1         4.     Micah Bailey v. ETOH Monitoring, LLC. And Alcohol Monitoring
   2   Systems, Inc.
   3         150. On December 30, 2016, Defendants ETOH and AMS generated a said
   4   false report that Mr. Bailey was in violation of the conditions of his bail bond.
   5         151. Defendants allege that on December 30, 2016 beginning at 9:04 p.m.,
   6   continuing through December 31, 2016 that Mr. Bailey consumed alcohol.
   7         152. Specifically, the report by manifested by ETOH and AMS reflected
   8   that at 9:04 p.m., Mr. Bailey consumed an alcohol beverage and had a TAC
   9   reading of 0.012 which is equal to almost two and a half drinks. During the next
  10   four hours, the TAC level got higher and higher.
  11         153. At all times relevant, the Defendants ETOH and AMS knew that Mr.
  12   Bailey was also required to have an interlock device installed in his vehicle that
  13   would require Mr. Bailey to breathe into a tube and the interlock device would
  14   quickly determine if Mr. Bailey had consumed alcohol.
  15         154. In the report generated by the Defendants, the reports states that at
  16   12:35 a.m., on December 31, 2016 that Mr. Bailey’s TAC level was at 0.049 which
  17   is equal to four drinks and maintained a TAC level for the next 30 minutes.
  18         155. The report generated by the interlock device reflects something
  19   entirely different. Mr. Bailey who was leaving his job, got into his vehicle and
  20   blew a breath sample into the interlock at 1:49:42 a.m., and because Mr. Bailey
  21   had not consumed any alcohol, his vehicle promptly started at 1:49:49 a.m., which
  22   was about 7 seconds later giving the interlock device time to evaluate the breath
  23   sample. As such, Mr. Bailey’s vehicle started and Mr. Bailey was able drive his
  24   vehicle to his home. At 2:02:10 a.m., Mr. Bailey arrived at his home and the
  25   interlock records show that his vehicle was stopped. The report from when Mr.
  26   Bailey started his vehicle at 1:49:49 a.m., shows no alcohol was consumed by him.
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   1         156. Despite the fact that ETOH and AMS knew that Mr. Bailey did not
   2   consume any alcohol, the Defendants, and each of them decided that it would be in
   3   Mr. Baileys best interest that he would be charged with a consumption violation
   4   anyways.
   5         157. Upon information and belief, in early 2010, Defendants AMS and
   6   ETOH entered into a written contract between AMS, ETOH, and the Louisiana
   7   Probation and Parole Department. Upon information and belief, Mr. Bailey alleges
   8   that between AMS, ETOH, and AMS, that the State of Louisiana pays AMS and
   9   ETOH for SCRAM monitoring of persons on probation, parole, and persons
  10   charged in the trial Court with a DUI related matter.
  11         158. Although Mr. Bailey was formally accused of consuming alcohol, it
  12   was not known to Mr. Bailey almost two weeks later. Defendants AMS and
  13   ETOH, acting under the color of authority, contacted the Louisiana Probation and
  14   Parole Department, and spoke to Officer Tiffany Eagles. During that contact, AMS
  15   and ETOH informed Officer Eagles that Mr. Bailey consumed alcohol and that the
  16   employee at ETOH, Christian Helmke would help and assist the probation and
  17   parole department with a warrant for Mr. Baileys arrest.
  18         159. On January 3, 2017, employees of ETOH, acting under the color of
  19   authority, contacted probation officer Tiffany Eagles, and ETOH filed an affidavit
  20   in support of an arrest warrant for the probation department that Mr. Bailey was
  21   allegedly in violation of his SCRAM monitoring conditions. The ETOH employee
  22   then provided a written report authored by AMS, that purportedly shows that on
  23   several days in the month of December of 2016, Mr. Bailey consumed alcohol on
  24   four separate occasions. Coincidentally, ETOH provided this alleged consumption
  25   report just two days after Mr. Bailey complained to the ETOH staff about the high
  26   end exuberant prices that ETOH charges for SCRAM monitoring. Mr. Bailey also
  27   expressed to the ETOH staff that Mr. Bailey had to pay for both the SCRAM ankle
  28   monitor, and an interlock device in his car. When Mr. Bailey informed ETOH that
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   1   Mr. Bailey could no longer afford the ETOH ankle monitoring, ETOH employee
   2   Christian Helmke stated; “you want to go back to jail, right f_______ now man.”
   3         160. Fearing for his life and liberty through the threats from the ETOH
   4   staff, Mr. Bailey was forced to continue making a payment to ETOH every two
   5   weeks in the amount of $ 200.00.
   6         161. Almost two months later, after ETOH and AMS turned over the false
   7   consumption report to the Louisiana Probation and Parole Department, Mr. Bailey
   8   attorneys is contacted concerning an alleged violation report manifested by ETOH
   9   and AMS.
  10         162. On February 3, 2017, for the very first time with almost two months
  11   passing by, Mr. Bailey’s private attorney was notified that the Court in Louisiana
  12   received a violation report that Mr. Bailey consumed alcohol. After his attorney
  13   received the alleged consumption report, Mr. Bailey tried to prove his innocence
  14   on several occasions. By doing so, Mr. Bailey furnished the print out reports from
  15   his interlock device that shows that Mr. Bailey was able to start his vehicle on the
  16   same date and time and ETOH and AMS alleged in their report to the probation
  17   officer. To no avail, the probation department refused to listen to Mr. Bailey. Both
  18   ETOH and AMS pressed local probation officers into filing charges against Mr.
  19   Bailey simply because he could no longer afford the SCRAM ankle monitoring.
  20         163. On March 23, 2017, Mr. Bailey was ordered to appear in State Court.
  21   During the hearing, Defendants introduced their traditional false report. What was
  22   most shocking to all, including the trial Court was how off the AMS and ETOH
  23   report was in various ways. Most notably, in the alleged consumption report, AMS
  24   reflects that Mr. Baileys date of birth is “1-5-2016.”
  25         164. What’s most disturbing about the consumption reports generated by
  26   AMS, distributed by ETOH, is that both corporations have unique ways to altered
  27   and manipulate the alleged consumption reports to reflect anything that AMS and
  28   ETOH want their reports to reflect.
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   1         165. Like all Plaintiffs in this case, each time Mr. Bailey uploads all of his
   2   daily SCRAM Device readings which are then transmitted from the SCRAM
   3   Device, to a AMS’ central facility in Littleton, Colorado where a minimum wage
   4   employee with no training experience, no college certification, purportedly reads
   5   the alleged consumption report and issues a determination whether or not the
   6   SCRAM wearer consumed alcohol. Based on confidential information obtained by
   7   a reliable source, a former AMS employee, informed the Plaintiffs that AMS gives
   8   the power and authority to this non-certified, minimum wage employee is allowed
   9   to “pick and choose” which or what type of violation to issue. In some instances,
  10   the AMS employee picks both that the SCRAM wearer tampered with the SCRAM
  11   Device by blocking the infrared system inside the Device, and consumed alcohol.
  12   But realistically speaking, the SCRAM Device cannot do both. If the SCRAM
  13   wearer is tampering with the SCRAM Device, then the SCRAM Device is unable
  14   to reach out and obtain sweat levels to send back to AMS’ facility in Colorado.
  15         166. Acting under the color of authority, AMS and ETOH contracts with
  16   the local probation department to provide the government entities in the State of
  17   Louisiana with ankle monitoring services. In return, the State of Louisiana pays
  18   millions of dollars to AMS and ETOH. In exchange, AMS and ETOH work hand
  19   in hand with local prosecutors and probation/parole offices to put innocent people
  20   behind bars. Additionally, upon information and belief, in the written contract that
  21   AMS and ETOH have with the government agencies in Louisiana, that Mr. Bailey
  22   believes that in the written contract, that AMS and ETOH have with government
  23   agencies, that AMS and ETOH are required to send an employee of AMS and/or
  24   ETOH to testify against the SCRAM client in the event that a violation occurs.
  25         167. Had AMS and ETOH properly and timely informed Mr. Bailey of the
  26   alleged consumption within a timely manner, then Mr. Bailey could have located
  27   witnesses, and exercised his right to call those witnesses to trial, however because
  28   months went by before Mr. Bailey was first notified of the alleged violation, Mr.
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   1   Bailey was unable to contact, much less locate witnesses from his job to testify on
   2   his behalf.
   3         168. Mr. Bailey believes, and thereon alleges that AMS and ETOH have an
   4   ongoing established pattern and practice of delaying in turning over any and all
   5   violations reports weeks, or months later so that AMS, ETOH, and other third
   6   party alcohol providers can paint a picture of the SCRAM client that he or she is
   7   guilty in the eyes of the government agencies, and that the equipment of AMS
   8   actually works, and that the SCRAM wearer consumed alcohol while on the said
   9   SCRAM Device, and that the SCRAM customer is guilty of anything and
  10   everything that AMS and ETOH alleges. Without more, it would cost AMS a
  11   multimillion dollar contract. Therefore, AMS and ETOH must protect their assets
  12   in a contract like this one that brings in $ 500,000 a year.
  13         169. The policies and procedures manifested by AMS and ETOH, flat on
  14   its face and as applied, or threatened to be applied, violates the Right to Petition
  15   and the Equal Protection Clause of the Fourteenth Amendment to the United States
  16   Constitution and similar guarantees in the Constitution by denying Plaintiff free
  17   speech rights, and the right to petition the Court, and to others in similar situations
  18   and other protections of state and federal law. The Defendants AMS and ETOH to
  19   this claim at all times relevant hereto were acting pursuant to a custom, policy,
  20   decision, ordinance, regulation, widespread habit, usage, or practice in their actions
  21   pertaining to Plaintiff Micah Bailey.
  22         170. Mr. Bailey had a constitutional right guaranteed to him by the United
  23   States Constitution, to know what the charges are against him, to be provided with
  24   exculpatory evidence that would help exonerate him. Defendants AMS and ETOH,
  25   acting under the color of authority denied Mr. Bailey of his well-established rights
  26   guaranteed to him. At all times relevant, both AMS and ETOH are a person within
  27   the meaning of 42 U.S.C. § 1983.
  28
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   1         171. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
   2   suffered actual physical and emotional injuries, and other damages and losses as
   3   described herein entitling him to compensatory and special damages, in amounts to
   4   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
   5   Plaintiff Micah Bailey has incurred special damages and other special damages
   6   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
   7   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
   8   costs as allowable by federal law.
   9         172. In addition to compensatory, economic, consequential and special
  10   damages, Plaintiff Micah Bailey is entitled to punitive damages against each of the
  11   individually named Defendants under 42 U.S.C. § 1983, in that the actions of each
  12   of these Defendants have been taken maliciously, willfully or with a reckless or
  13   wanton disregard of the constitutional rights of the Plaintiff.
  14         5.     Linda Soltis v. Alcohol Monitoring Systems, Inc.
  15         173. Plaintiff Linda Soltis, (“Ms. Soltis or Plaintiffs”) was arrested for
  16   driving under the influence on April 2, 2017. Ms. Soltis was released that same
  17   night with a written promise to appear on her own behalf at a later date in Court.
  18   Ms. Soltis was cited for DUI as well as failure maintain lanes.
  19         174. On April 7, 2017, Ms. Soltis moved to retain private counsel and
  20   appeared in the trial Court and entered a formal not guilty plea by and through her
  21   retained counsel. In the State Court of Ohio, Ms. Soltis was required to abstain
  22   from using alcohol and as a condition of bond, Ms. Soltis was required to enroll
  23   and wear the SCRAM Device.
  24         175. On April 7, 2017, Ms. Soltis was required to report to the probation
  25   department where a probation officer attached the SCRAM Device. In addition,
  26   Ms. Soltis was provided approximately 10 pages of conditions of her bond and
  27   additional material related to wearing the SCRAM Device. Ms. Soltis was then
  28   required to initial each of the 10 pages and Ms. Soltis requested but was not
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   1   provided copies of each of the forms. Among the forms was also documentation
   2   indicating, among other things, a list of environmental products not to use.
   3         176. On April 17, 2017, Ms. Soltis was at her place of employment and
   4   saw that she had two missed calls from the Ohio State Courts. Those phone calls
   5   where in fact from the probation department and a probation officer informed Ms.
   6   Soltis to come to the probation office and provide a urine sample. When Ms. Soltis
   7   arrived at the probation office, Ms. Soltis was informed that probation received a
   8   violation report stating that on April 13, 2017 and April 14, 2017 that Ms. Soltis
   9   consumed alcohol for a period of 12 hours. Further Ms. Soltis was also informed
  10   that not only was the report for consumption, but indicated that there was a tamper
  11   reading, an impossibility.
  12         177. However, at no time did the probation department ever provide Ms.
  13   Soltis with copies of any alleged violation reports. Further, Ms. Soltis’s attorney
  14   requested the reports directly from the alcohol provider that the County and State
  15   contracts with for ankle monitoring service. At various dates and times unknown to
  16   Ms. Soltis, various counties, and the State of Ohio entered into a written contract
  17   with AMS sometime around 2006. Acting under the color of authority, Defendant
  18   AMS sends its employees to the State of Ohio where the AMS employee meets
  19   with various probation officers, and judges across the State of Ohio. In turn, AMS
  20   entered a clause in their written contract that states that AMS fly out an employee
  21   from Colorado to testify at all alleged violation hearings.
  22         178. Just like this case here, an AMS employee was flown out to the State
  23   of Ohio, and Ms. Soltis, nor her attorney was ever informed that the AMS worker
  24   was coming to Ohio to testify. Acting in concert with government officials, and
  25   local prosecutors, the AMS employees are instructed by the prosecution and the
  26   local governments not to have conversations with defense attorneys, nor any of the
  27   SCRAM clients.
  28
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   1         179. Ms. Soltis appeared in front of a Magistrate on April 17, 2017 and it
   2   was there the District Magistrate Judge called into question the reliability of the
   3   device and ordered the probation officer to remove and change the SCRAM
   4   Device. The Magistrate Judge refused to rule on the alleged SCRAM violation and
   5   referred the case to a District Judge.
   6         180. On May 22, 2017, with no notice, Ms. Soltis’s attorney was just
   7   provided with the alleged AMS report just 40 minutes prior to the hearing. This
   8   was also confirmed by an Ohio probation officer during the hearing concerning
   9   Ms. Soltis. The judge then asked Ms. Soltis’s attorney if he wanted an extension of
  10   time due to the reports being turned over at the last minute, and her attorney
  11   accepted the extension. The Judge then set a June 8, 2017 as the next hearing date.
  12         181. Further, Ms. Soltis was never informed that a AMS employee was
  13   flown out to Ohio to testify. Acting under the color of authority, when the AMS
  14   employee finally arrived, the AMS employee did exactly what the local prosecutor
  15   told him to do and that was to provide the alleged report 40 minutes before the
  16   hearing.
  17         182. Like all Plaintiffs in this case, each time Ms. Soltis uploads all of her
  18   daily SCRAM Device readings which are then transmitted from the SCRAM
  19   Device, to a AMS’ central facility in Littleton, Colorado where a minimum wage
  20   employee with no training experience, no college certification, purportedly reads
  21   the alleged consumption report and issues a determination whether or not the
  22   SCRAM wearer consumed alcohol. Based on confidential information obtained by
  23   a reliable source, a former AMS employee, informed the Plaintiffs that AMS gives
  24   the power and authority to this non-certified, minimum wage employee is allowed
  25   to “pick and choose” which or what type of violation to issue. In some instances,
  26   the AMS employee picks both that the SCRAM wearer tampered with the SCRAM
  27   Device by blocking the infrared system inside the Device, and consumed alcohol.
  28   But realistically speaking, the SCRAM Device cannot do both. If the SCRAM
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   1   wearer is tampering with the SCRAM Device, then the SCRAM Device is unable
   2   to reach out and obtain sweat levels to send back to AMS’ facility in Colorado.
   3         183. Defendant AMS, acting under the color of authority, had a duty to
   4   provide Ms. Soltis with copies of any and all alleged copies of reports that were
   5   filed against her. As a direct and proximate result of the acts and omissions of
   6   AMS, Ms. Soltis’s federal civil rights were violated that prevented Ms. Soltis from
   7   knowing what he was charged with, and the opportunity to call witnesses. As a
   8   result of the violations caused by the Defendants, Ms. Soltis only seeks redress for
   9   the business policies and procedures that Defendant AMS conspired to carry out
  10   such a denying Ms. Soltis and all others similarly situated their rights to have
  11   copies of all reports turned over to them in a timely manner.
  12         184. Ms. Soltis believes, and thereon alleges that AMS have an ongoing
  13   established pattern and practice of delaying in turning over any and all violations
  14   reports weeks, or months later so that AMS, and other third party alcohol providers
  15   can paint a picture of the SCRAM client that he or she is guilty in the eyes of the
  16   government agencies, and that the equipment of AMS actually works, and that the
  17   SCRAM wearer consumed alcohol while on the said SCRAM Device, and that the
  18   SCRAM customer is guilty of anything and everything that AMS alleges. Without
  19   more, it would cost AMS a multimillion dollar contract. Therefore, AMS must
  20   protect their assets in a contract like this one that brings millions of dollars thanks
  21   to the local tax payers,
  22         185. The policies and procedures manifested by AMS, flat on its face and
  23   as applied, or threatened to be applied, violates the Right to Petition and the Equal
  24   Protection Clause of the Fourteenth Amendment to the United States Constitution
  25   and similar guarantees in the Constitution by denying Plaintiff free speech rights,
  26   and the right to petition the Court, and to others in similar situations and other
  27   protections of state and federal law. Defendant AMS to this claim and at all times
  28   relevant hereto were acting pursuant to a custom, policy, decision, ordinance,
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   1   regulation, widespread habit, usage, or practice in their actions pertaining to
   2   Plaintiff Linda Soltis.
   3          186. Ms. Soltis had a constitutional right guaranteed to him by the United
   4   States Constitution, to know what the charges are against him, to be provided with
   5   exculpatory evidence that would help exonerate him. AMS, acting under the color
   6   of authority denied Ms. Soltis of his well-established rights guaranteed to her. At
   7   all times relevant, AMS is a person within the meaning of 42 U.S.C. § 1983.
   8          187. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
   9   suffered actual physical and emotional injuries, and other damages and losses as
  10   described herein entitling her to compensatory and special damages, in amounts to
  11   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  12   Plaintiff Linda Soltis has incurred special damages and other special damages
  13   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  14   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  15   costs as allowable by federal law.
  16          188. In addition to compensatory, economic, consequential and special
  17   damages, Plaintiff Linda Soltis is entitled to punitive damages against each of the
  18   individually named Defendants under 42 U.S.C. § 1983, in that the actions of each
  19   of these Defendants have been taken maliciously, willfully or with a reckless or
  20   wanton disregard of the constitutional rights of the Plaintiff, as well as members of
  21   the class.
  22          6.      Derrick Smith v. Recovery Healthcare Corporation and Alcohol
  23   Monitoring Systems, Inc.
  24          189. Plaintiff Derrick Smith, (“Ms. Smith or Plaintiffs”) was on the night
  25   of February 8, 2014, driving his vehicle to the local grocery store to pick up some
  26   food items. Once Mr. Smith pulled into the parking lot, a police officer observed
  27   Mr. Smith pulling into the parking lot. Mr. Smith went into the grocery store, got
  28   some items and got in his vehicle and proceeded to drive off.
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   1         190. Minutes later, a police officer in from the Carrollton Police
   2   Department began following Mr. Smith. At some point, the police officer decided
   3   to pull Mr. Smith over. During the stop, the police officer asked to search Mr.
   4   Smith’s vehicle, in which Mr. Smith consented. Moments later, a DWI officer
   5   arrived on scene and began asking Mr. Smith if he consumed alcohol. Mr. Smith
   6   was required to perform some field sobriety tests to determine to what extent, if
   7   any, Mr. Smith had been drinking. Mr. Smith was also asked by the police officer
   8   to submit to a blood test, and Mr. Smith declined.
   9         191. Based on reasonable suspicion, Mr. Smith was placed under arrest and
  10   taken to a local jail facility where Mr. Smith was required to post a bail bond in the
  11   amount of $ 2,500.00.
  12         192. Mr. Smith was later ordered to appear in the State Court of Texas for
  13   allegations of a DWI charge. Mr. Smith later retained private counsel. During the
  14   course of the criminal case, Mr. Smith subsequently went to a jury trial and lost the
  15   case at trial. Mr. Smith was permitted to stay out on bond pending an appeal that
  16   Mr. Smith filed. As a condition of being out on bond, Mr. Smith was ordered by
  17   the trial Court to enroll in the SCRAM monitoring program with local corrupt
  18   corporation, Recovery Healthcare Corporation, (“RHC”) that supplies citizens of
  19   the State of Texas with alcohol monitoring from the manufacture of the SCRAM
  20   Device, Alcohol Monitoring Systems, Inc., “(AMS”).
  21         193. In 2011, Defendant RHC entered into various contracts with almost
  22   every County Court in Texas to provide SCRAM monitoring service to citizens in
  23   at least 56 counties. In the written contract, RHC and AMS agreed to enter into
  24   written contracts to provide the Denton County District Court with SCRAM ankle
  25   monitoring. As such, the written contract was entered by RHC, with AMS’ strict
  26   approval, and then the contract was signed by a local judge. In exchange, both
  27   RHC and AMS locked in a contract that guaranteed RHC an annual contract with
  28   the Court in the sum of $ 149,000.
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   1         194. Once the contract was finalized, Defendants RHC and AMS, acting
   2   under the color of authority, received a check from the County of Denton for all
   3   upfront costs to start the contract services. Sometime after the written contract was
   4   finalized by RHC, AMS, and the County of Denton, the municipality then sent
   5   several checks payable to RHC. Check numbers 20120207 and 20120228 were in
   6   the amounts of $ $ 4,500, plus dollars. Defendant RHC then transmitted a majority
   7   of those funds back to Colorado to Defendant AMS.
   8         195. What occurred next was even more disturbing. An employee that was
   9   employed with RHC named Jesus Armando Ordonez who was overseeing any and
  10   all SCRAM and drug testing for RHC, was arrested by the Brazon County Sheriffs
  11   Department. Mr. Ordonez who had been employed with RHC, was accused of
  12   falsifying and destroying drug and alcohol reports. Mr. Ordonez, acting through
  13   the scope of his employment at RHC would inform DWI criminal Defendants that
  14   were placed on SCRAM and drug testing schedules by the Court, that tests were
  15   positive for drugs and alcohol. Mr. Ordonez would then contact the SCRAM client
  16   and inform the SCRAM wearer that it would “cost 100.00 bucks to get a clean
  17   urine test submitted,” all according to a federal indictment. Further, what was
  18   noted that RHC was raking hundreds of thousands of extra monies based on illegal
  19   business practices.
  20         196. Mr. Smith believes and thereon fully alleges that RHC and AMS
  21   increased their profits by over 200 % and, Mr. Smith also believes and thereon
  22   alleges that the President and CEO Mr. Larry Vanderwoude knew about the crimes
  23   taking place in RHC, but failed or refused to take any correction action due to both
  24   RHC and Mr. Vanderwoude benefiting from extra monies at the end of the month.
  25         197. Since the arrest and conviction of Mr. Ordonez, to date, hundreds of
  26   SCRAM violations, and drug tests results have been overturned. Leaving over 300
  27   people and citizens of Texas without any form of justice.
  28
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   1         198. Mr. Smith believes that he was one of those victims. However,
   2   because Mr. Smith’s conviction is currently under appeal, Mr. Smith now only
   3   seeks to hold Defendant RHC and AMS liable for their internal procedures. After
   4   Mr. Smith complained to RHC staff at various times, and places about the high end
   5   exuberant prices, coincidentally Mr. Smith was charged with an alleged SCRAM
   6   violation.
   7         199. On August 19, 2016, Mr. Smith complained to his case manager at
   8   RHC about the costs of the SCRAM Device monitoring fees and asked his case
   9   manager for a financial reduction. Ms. Smith appeared at the local RHC office to
  10   fill out what is known as the financial reduction sheet, and ask that his weekly
  11   payments be lowered. However, Mr. Smith’s case manager informed him that there
  12   was never such a form “since I been working here,” and the case manager rambled
  13   on by stating; “you are dreaming pal.”
  14         200. Mr. Smith then asked the case manager to speak with a RHC
  15   supervisor. However, he was not permitted, but instead was informed by the case
  16   manager, that if Mr. Smith continued to seek a reduction, and not make the
  17   demanded payment by RHC, then Mr. Smith would be in violation of his bond and
  18   release conditions, and that RHC and AMS would “immediately” inform the Court
  19   that Mr. Smith is violation. Seeing that Mr. Smith would not leave the RHC office
  20   until he received a financial reduction, RHC employees decided to call the police.
  21         201. A short time later, officers arrived from the local police department.
  22   The case manager informed Mr. Smith that he was under arrest, and the RHC
  23   employee began reading Mr. Smith his Miranda rights. At some point, the police
  24   informed the case manager that this was a civil issue, and that the police could not
  25   assist in this matter and left the RHC office.
  26         202. Coincidentally, several days later, RHC and AMS alleged that Mr.
  27   Smith consumed alcohol on Augsut 21, 2016, just a few days after filing numerous
  28   complaints with RHC.
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   1         203. On August 21, 2016, the report that is created by AMS stated that Mr.
   2   Smith consumed alcohol beginning on August 21, 2016 continuing to August 22,
   3   2016 at various hours of the night. As such, Defendant AMS issued an alleged
   4   report, and transmitted that report to Defendant RHC from their headquarters in
   5   Littleton, Colorado. Once the report was reviewed by AMS staff, it is then
   6   reviewed by Defendant RHC, who in turn, both Defendants are required to turn
   7   over the alleged reports to Mr. Smith and his attorney of record. At all times, RHC
   8   and AMS knew the name, address, and phone number to Mr. Smith’s attorney of
   9   record, but failed and refused to send the report to his attorney. Instead, AMS and
  10   RHC through their formed conspiracy, decided to only send the alleged violation
  11   report to the local prosecutor. In fact, Mr. Smith did not learn about the alleged
  12   SCRAM violation until almost two months later. Mr. Smith’s attorney contacted
  13   RHC and demanded copies of the reports. But RHC again, refused to provide any
  14   copies of any alleged violation reports to his counsel. With weeks passing by, the
  15   attorney for Mr. Smith had to contact the local probation department to get copies
  16   of the alleged consumption report filed against his client Mr. Smith.
  17         204. Like all Plaintiffs in this case, each time Mr. Smith uploads all of his
  18   daily SCRAM Device readings which are then transmitted from the SCRAM
  19   Device, to a AMS’ central facility in Littleton, Colorado where a minimum wage
  20   employee with no training experience, no college certification, purportedly reads
  21   the alleged consumption report and issues a determination whether or not the
  22   SCRAM wearer consumed alcohol. Based on confidential information obtained by
  23   a reliable source, a former AMS employee, informed the Plaintiffs that AMS gives
  24   the power and authority to this non-certified, minimum wage employee is allowed
  25   to “pick and choose” which or what type of violation to issue. In some instances,
  26   the AMS employee picks both that the SCRAM wearer tampered with the SCRAM
  27   Device by blocking the infrared system inside the Device, and consumed alcohol.
  28   But realistically speaking, the SCRAM Device cannot do both. If the SCRAM
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   1   wearer is tampering with the SCRAM Device, then the SCRAM Device is unable
   2   to reach out and obtain sweat levels to send back to AMS’ facility in Colorado.
   3         205. Defendants RHC and AMS, acting under the color of authority, had a
   4   duty to provide Mr. Smith with copies of any and all alleged copies of reports that
   5   were filed against him. As a direct and proximate result of the acts and omissions
   6   of Defendants RHC and AMS, Mr. Smith’s federal civil rights were violated that
   7   prevented Mr. Smith from knowing what he was charged with, and the opportunity
   8   to call witnesses. As a result of the violations caused by the Defendants, Mr. Smith
   9   only seeks redress for the business policies and procedures that Defendants RHC
  10   and AMS conspired to carry out thereby denying Mr. Smith and all others similarly
  11   situated their rights to have copies of all reports turned over to them in a timely
  12   manner.
  13         206. Mr. Smith believes, and thereon alleges that RHC and AMS have an
  14   ongoing established pattern and practice of delaying in turning over any and all
  15   violations reports weeks, or months later so that AMS, RHC, and other third party
  16   alcohol providers can paint a picture of the SCRAM client that he or she is guilty
  17   in the eyes of the government agencies, and that the equipment of AMS actually
  18   works, and that the SCRAM wearer consumed alcohol while on the said SCRAM
  19   Device, and that the SCRAM customer is guilty of anything and everything that
  20   RHC and AMS alleges. Without more, it would cost AMS a multimillion dollar
  21   contract. Therefore, RHC and AMS must protect their assets in a contract like this
  22   one that brings millions of dollars thanks to the local tax payers,
  23         207. The policies and procedures manifested by RHC and AMS, flat on its
  24   face and as applied, or threatened to be applied, violates the Right to Petition and
  25   the Equal Protection Clause of the Fourteenth Amendment to the United States
  26   Constitution and similar guarantees in the Constitution by denying Plaintiff free
  27   speech rights, and the right to petition the Court, and to others in similar situations
  28   and other protections of state and federal law. The Defendants RHC and AMS to
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   1   this claim at all times relevant hereto were acting pursuant to a custom, policy,
   2   decision, ordinance, regulation, widespread habit, usage, or practice in their actions
   3   pertaining to Plaintiff Derrick Smith.
   4         208. Mr. Smith had a constitutional right guaranteed to him by the United
   5   States Constitution, to know what the charges are against him, to be provided with
   6   exculpatory evidence that would help exonerate him. Defendants RHC and AMS,
   7   acting under the color of authority denied Mr. Smith of his well-established rights
   8   guaranteed to him. At all times relevant, both RHC and AMS are a person within
   9   the meaning of 42 U.S.C. § 1983.
  10         209. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
  11   suffered actual physical and emotional injuries, and other damages and losses as
  12   described herein entitling him to compensatory and special damages, in amounts to
  13   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  14   Plaintiff Derrick Smith has incurred special damages and other special damages
  15   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  16   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  17   costs as allowable by federal law.
  18         210. In addition to compensatory, economic, consequential and special
  19   damages, Plaintiff Derrick Smith is entitled to punitive damages against each of the
  20   individually named Defendants under 42 U.S.C. § 1983, in that the actions of each
  21   of these Defendants have been taken maliciously, willfully or with a reckless or
  22   wanton disregard of the constitutional rights of the Plaintiff.
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   1         7.     Shiloh Irvin v. Sentinel Offenders Services, LLC. and Alcohol
   2   Monitoring Systems, Inc
   3         211. Plaintiff Shiloh Irvin, (“Mr. Irvin or Plaintiffs”) was enrolled in an
   4   outpatient rehabilitation center. While attending the outpatient program, Mr. Irvin
   5   consumed one beer while in the program. During that time, Mr. Irvin was required
   6   to abstain from the use of alcohol and drugs. Even though Mr. Irvin did not have a
   7   problem with drugs, both ordered applied to him.
   8         212. After the outpatient staff discovered that Mr. Irvin consumed alcohol,
   9   that matter was reported to the Union County Superior Court. Soon thereafter, Mr.
  10   Irvin was required to make a court appearance in the Superior Court to answer to
  11   the consumption allegations.
  12         213. Once Mr. Irvin appeared in Court, the trial Court issued an order that
  13   Mr. Irvin report to Sentinel Offender Services, L.L.C., (“SOS”) to be placed on
  14   SCRAM ankle monitoring. Once Mr. Irvin appeared in Court, the Judge gave him
  15   only 24 hours to report to SOS. The following day, Mr. Irvin appeared at the SOS
  16   to be placed in the SCRAM program. Once at the SOS office, Mr. Irvin was first
  17   informed that Mr. Irvin needs to pay $ 200.00 every two weeks to SOS, or that he
  18   would be in violation of his SCRAM conditions and arrested by SOS and put back
  19   in jail. The SOS employee also stated that SOS can “put a person in jail anytime.”
  20         214. Mr. Irvin began asking how that was possible, and the SOS employee
  21   stated; “because we are private probation officers and we have police powers.” A
  22   few minutes later a SOS employee arrived and placed a SCRAM Device on Mr.
  23   Irvin and then provided him with a list of environmental products not to use. Mr.
  24   Irvin was informed that “all payments had better be on time, or else.”
  25         215. Several weeks later, SOS and their co-Defendant AMS alleged that
  26   Mr. Irvin consumed alcohol on December 17, 2016. Further, SOS and AMS
  27   alleged that Mr. Irvin consumed alcohol for over 20 hours straight. On December
  28   17, 2016, AMS generated a report reflecting that Mr. Irvin consumed alcohol. Like
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   1   all other Plaintiffs, and members of the class, when a person or Plaintiff is accused
   2   of a SCRAM violation, a report starts with Defendant AMS and is generated at
   3   their corporate office in Littleton, Colorado. Once a minimum wage, non-trained
   4   employee reviews the alleged report, it is then transmitted to Defendant SOS who
   5   also reviews the report. It is then the duty of SOS to transmit the alleged violation
   6   reports to the Court, and the agency who supervises the SCRAM client.
   7         216. On December 28, 2016, Mr. Irvin learned the hard way about an
   8   alleged SCRAM violation. When Mr. Irvin appeared at the office of SOS. Mr.
   9   Irvin stopped in to make a payment to his case manager and private probation
  10   officer. After the manager/officer collected the SCRAM fee from Mr. Irvin, the
  11   manager then for the very first time informed Mr. Irvin that he was in violation of
  12   his SCRAM condition of the Courts order. Further, the manager/office also
  13   informed Mr. Irvin that he had a warrant for his arrest. As such, the private
  14   probation officer, acting under the color of authority, instructed Mr. Irvin to stand
  15   up and place his hands behind his back. Mr. Irvin complied and the private
  16   probation officer placed handcuffs on Mr. Irvin and telephoned the local Sheriff.
  17         217. Defendant Sentinel Offender Services, L.L.C., is a private corporation
  18   that has offices all over the United States. Defendant SOS is given full police
  19   powers by various states in the United States. Acting under the color of authority,
  20   SOS employees are required to attend police academies along with real members
  21   of law enforcement. Various states, provide SOS with firearm permits and official
  22   looking police badges that often replicate real police badges. Up until 2014, SOS
  23   had enough power given to them by various states, that SOS employees were free
  24   to do anything and everything.
  25         218. Most notably, SOS entered into written contracts with the State of
  26   Georgia and various counties. In that contract, SOS was given immunity, police
  27   powers, and full supervision to do anything they wanted. With that said, SOS took
  28   that to understand that they will do just that.
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   1         219. Once government contract was signed, and immunity applied to SOS
   2   and their employees, SOS began robbing from the poor, threatening the innocent,
   3   and jailing people for failure to pay. As an example, several people who were
   4   places on misdemeanor probation in California, Colorado, Georgia, and seven
   5   other states, SOS began forcing clients to submit to drug testing, and forcing the
   6   client to pay for those tests. Acting under the color of authority, when the client
   7   refused to pay, SOS then used their official police powers to arrest and incarcerate
   8   people. Further, SOS then starting collecting what was purportedly “restitution”
   9   fees that was owed to the various counties and states, and SOS pocketed those
  10   funds bolstering their annual income to an extra $ 38,000,000.00 during the 2015
  11   and 2016 fiscal year.
  12         220. Once the truth came to light, SOS was caught red handed violating
  13   people’s rights. As a direct and proximate result of the actions of SOS, over 27
  14   State and Federal lawsuits were filed. To make matters worse, despite pending
  15   civil litigation, SOS still carried out their criminal and civil misconduct.
  16         221. Further, SOS was also caught by one of their own employees that
  17   informed the government that SOS employees and supervisors were “smudging”
  18   results to put innocent people back in jail for violations that the person never
  19   committed. The conspiracy kept up despite lawsuits and criminal investigations.
  20         222. As a direct result of the actions of SOS and AMS, the Georgia
  21   Supreme Court had to intervene and issue rulings to shut SOS down. To collect
  22   money by any means, SOS would extend the probation sentences for people who
  23   had an inability to pay, for failure to pay in misdemeanor cases which meant more
  24   monthly fees for SOS. As one Supreme Justice put it; “sentinel is robbing peter to
  25   pay paul.” Further, in a federal investigation headed by the FBI, Georgia House
  26   Minority Leader Stacey Adams stated; If they couldn’t afford $ 130.00, why would
  27   sentinel assume they can afford $ 270.00.”
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   1         223. Mr. Irvin discovered the alleged SCRAM violation three weeks later
   2   on the date that he was arrested by SOS employees, and then turned over to the
   3   local Sheriff. Mr. Irvin was able to visit a state certified lab after being released
   4   from the jail. Mr. Irvin paid for a hair follicle test, all of which was negative. And
   5   once the results were made public, Mr. Irvin appeared with his counsel in Court to
   6   contest the violation. Because Mr. Irvin had a suspended jail sentence, Mr. Irvin
   7   was facing an automatic 21-year prison sentence from the alleged violation that
   8   was perpetuated by SOS and AMS. Once at the hearing, the trial Court found the
   9   SCRAM Device to be unreliable, and by order, dismissed the alleged violation, and
  10   Mr. Irvin was free to go.
  11         224. At all times relevant, SOS and AMS were acting under the color of
  12   authority pursuant to a written contract that provides SOS with police powers
  13   issued to them by various states in the United States.
  14         225. Mr. Irvin believes, and thereon fully alleges that SOS and AMS have
  15   an ongoing established pattern and practice of delaying in turning over any and all
  16   violations reports weeks, or months later so that SOS and AMS, and other third
  17   party alcohol providers can paint a picture of the SCRAM client that he or she is
  18   guilty in the eyes of the government agencies, and that the equipment of that is
  19   manufactured by AMS actually works, and that the SCRAM client consumed
  20   alcohol while on the said SCRAM Device, and that the SCRAM customer is guilty
  21   of anything and everything that SOS and AMS alleges. Without more, it would
  22   cost SOS a multimillion dollar contracts from various states if word got out. So
  23   SOS and AMS must protect their assets in a contract like this one that brings
  24   millions of dollars thanks to the local tax payers.
  25         226. The policies and procedures manifested by SOS and AMS, flat on its
  26   face and as applied, or threatened to be applied, violates the Right to Petition and
  27   the Equal Protection Clause of the Fourteenth Amendment to the United States
  28   Constitution and similar guarantees in the Constitution by denying Plaintiff free
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   1   speech rights, and the right to petition the Court, and to others in similar situations
   2   and other protections of state and federal law. The Defendants SOS and AMS to
   3   this claim at all times relevant hereto were acting pursuant to a custom, policy,
   4   decision, ordinance, regulation, widespread habit, usage, or practice in their actions
   5   pertaining to Plaintiff Shiloh Irvin. In addition, all charges were terminated in Mr.
   6   Irvin’s favor.
   7         227. Mr. Shiloh had a constitutional right guaranteed to him by the United
   8   States Constitution, to know what the charges are against him, to be provided with
   9   exculpatory evidence that would help exonerate him. Defendants SOS and AMS,
  10   acting under the color of authority denied Mr. Irvin of his well-established rights
  11   guaranteed to him. At all times relevant, both SOS and AMS are a person within
  12   the meaning of 42 U.S.C. § 1983.
  13         228. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
  14   suffered actual physical and emotional injuries, and other damages and losses as
  15   described herein entitling him to compensatory and special damages, in amounts to
  16   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  17   Plaintiff Shiloh Irvin has incurred special damages and other special damages
  18   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  19   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  20   costs as allowable by federal law. Mr. Irvin also suffers from extreme nightmares
  21   from this incident.
  22         229. In addition to compensatory, economic, consequential and special
  23   damages, Plaintiff Shiloh Irvin is entitled to punitive damages against each of the
  24   individually named Defendants under 42 U.S.C. § 1983, in that the actions of each
  25   of these Defendants have been taken maliciously, willfully or with a reckless or
  26   wanton disregard of the constitutional rights of the Plaintiff.
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   1         8.     Matthew Brudnicki v. Scram Systems of Illinois, Inc. and Alcohol
   2   Monitoring Systems, Inc.
   3         230. Plaintiff Matthew Brudnicki, (“Mr. Brudnicki or Plaintiffs”) was on
   4   the night of August 1, 2016, was having a night out on the town when an argument
   5   erupted between Mr. Brudnicki and the mother of his children. After having some
   6   words exchanged, Mr. Brudnicki decided to get into his vehicle and drive home
   7   from a local establishment. A short time later, a person called the Boone County
   8   Sheriff’s Department to report a suspicious drunk driver. Once a deputy arrived,
   9   Mr. Brudnicki was pulled over and the officer asked if Mr. Brudnicki had anything
  10   to drink that night. Mr. Brudnicki stated no, and when asked if he would consent to
  11   a breathalyzer, Mr. Brudnicki refused. As a result of the refusal, Mr. Brudnicki was
  12   placed under arrest. A short time later, Mr. Brudnicki was transported to the local
  13   jail where he was booked on suspicion of DUI. Mr. Brudnicki posted a $ 3,000 bail
  14   bond and was released from the jail in Boone County.
  15         231. Several weeks later, Mr. Brudnicki retained private counsel and
  16   appeared in the trial Court for arraignment of a DUI allegation charges. Once in
  17   Court, Mr. Brudnicki had his bond increased to the amount of $ 25,000 and as a
  18   condition of his release, Mr. Brudnicki was required to enroll in the SCRAM ankle
  19   monitoring program with Scram Systems of Illinois, Inc., (“SSI”).
  20         232. On the night of November 12, 2016, SSI alleges that Mr. Brudnicki
  21   consumed alcohol even through urine and hair tests proved otherwise. At the time
  22   that SSI alleged that Mr. Brudnicki was drinking alcohol, was the same exact time
  23   that Mr. Brudnicki was home in bed asleep.
  24         233. On November 19, 2016, Mr. Brudnicki went to make a bi-weekly
  25   payment to SSI at their office. While there, Mr. Brudnicki was informed for the
  26   very first time that Mr. Brudnicki was allegedly in violation of his SCRAM bail
  27   bond conditions. Mr. Brudnicki requested to have copies of any and all alleged
  28   reports, but was told by a SSI that he could not have copies and that they would be
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   1   turned over to his attorney at a later time. That same day after Mr. Brudnicki
   2   received information from SSI, Mr. Brudnicki went to a state certified medical lab
   3   to have a hair follicle test done, and the results were negative. With the results in
   4   hand, Mr. Brudnicki appeared back at the SSI office and provided copies of the
   5   finding from a state certified medical lab. However, SSI was unwilling to listen to
   6   Mr. Brudnicki. Again, Mr. Brudnicki asked for copies of the violations reports, and
   7   SSI refused.
   8           234. Several weeks later, AMS turned over an alleged consumption report
   9   that was verified by AMS, to SSI that consisted on an alleged violation report, as
  10   well as a SCRAM graph sheet that goes on to purportedly show that Mr. Brudnicki
  11   consumed alcohol. Both AMS and SSI delayed in turning over the alleged reports
  12   to Mr. Brudnicki’s attorney of record.
  13           235. At a date unknown to Mr. Brudnicki, Defendant SSI and AMS entered
  14   into a written contract with the State of Illinois, and various counties in the State to
  15   provide alcohol monitoring by SSI and AMS.1
  16           236. Upon information and belief, Mr. Brudnicki believes and thereon fully
  17   alleges that the State of Illinois has provided actual police powers to SSI and AMS
  18   in various counties where Defendants have written contracts with various counties
  19   and the State itself. On several occasions, Mr. Brudnicki fell back on payments to
  20   SSI and AMS due to having to pay $ 225.00 every other week to SSI and AMS,
  21   and each time Mr. Brudnicki was paid a visit by employees of SSI accompanied by
  22   local police. Actual SSI employees were even seen riding in police vehicles.
  23           237. Additionally, each time Mr. Brudnicki fell back on a payment, SSI
  24   would send threating letters to Mr. Brudnicki that SSI and AMS would be sending
  25   violation letters and/or reports to the Court and his bail bondman. And to make
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                  Defendants Scram Systems of Illinois, Inc., and Alcohol Monitoring Systems, Inc. are two
  27   corporations owned by the same business owners, but operate in two different states, and under two
       different business names. But are considered by Mr. Brudnicki to be one, and in the same.
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   1   things even far worse, SSI and AMS sent letters to Mr. Brudnicki reflecting a
   2   money balance that was owed to SSI and AMS for ankle monitoring service. And
   3   that this letter was deemed a letter also indicating that Mr. Brudnicki breached the
   4   contract with SSI and AMS even though Mr. Brudnicki never signed any contract
   5   with SSI, nor AMS for ankle monitoring service.
   6         238. Defendants SSI and AMS have an established ongoing pattern and
   7   practice of using any means necessary to collect outstanding money from SCRAM
   8   clients. This includes, but not limited detaining SCRAM clients in various offices,
   9   using threatening letters, deploying law enforcement, sending false reports to the
  10   Court and other agencies, and sending their employees to the client’s home in the
  11   middle of the night to collect SCRAM monitoring balances.
  12         239. Defendants SSI and AMS knew or had reason to know that a person’s
  13   inability to pay a private corporation some outstanding balances for their services,
  14   cannot subject any person of the United State Territories to arrest, threats, or even
  15   detention to collect monies from their client’s. This conduct clearly amounts to
  16   violations to Mr. Brudnicki’s due process rights guaranteed to him under the
  17   United States Constitution.
  18         240. Plaintiff Matthew Brudnicki believes, and thereon fully alleges that he
  19   was subjected to retaliation and false consumption reports for his failure to pay the
  20   monies that were outstanding to SSI and AMS.
  21         241. Mr. Brudnicki believes, and thereon alleges that SSI and AMS have
  22   an ongoing established pattern and practice of delaying in turning over any and all
  23   violations reports weeks, or months later so that AMS, SSI, and other third party
  24   alcohol providers can paint a picture of the SCRAM client that he or she is guilty
  25   in the eyes of the government agencies, and that the equipment of AMS actually
  26   works, and that the SCRAM wearer consumed alcohol while on the said SCRAM
  27   Device, and that the SCRAM customer is guilty of anything and everything that
  28   SSI and AMS alleges.
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   1         242. Like all Plaintiffs in this case, each time Mr. Brudnicki uploads his
   2   daily SCRAM Device readings, the readings are then transmitted from the
   3   SCRAM Device, to a AMS’ central facility in Littleton, Colorado where a
   4   minimum wage employee with no training experience, no college certification,
   5   purportedly reads the alleged consumption report and issues a determination
   6   whether or not the SCRAM wearer consumed alcohol. Based on confidential
   7   information obtained by a reliable source, a former AMS employee, informed the
   8   Plaintiffs that AMS gives the power and authority to this non-certified, minimum
   9   wage employee is allowed to “pick and choose” which or what type of violation to
  10   issue. In some instances, the AMS employee picks both that the SCRAM wearer
  11   tampered with the SCRAM Device by blocking the infrared system inside the
  12   Device, and consumed alcohol. But realistically speaking, the SCRAM Device
  13   cannot do both. If the SCRAM wearer is tampering with the SCRAM Device, then
  14   the SCRAM Device is unable to reach out and obtain sweat levels to send back to
  15   AMS’ facility in Colorado.
  16         243. The policies and procedures manifested by SSI and AMS, flat on its
  17   face and as applied, or threatened to be applied, violates the Right to Petition and
  18   the Equal Protection Clause of the Fourteenth Amendment to the United States
  19   Constitution and similar guarantees in the Constitution by denying Plaintiff free
  20   speech rights, and the right to petition the Court, and to others in similar situations
  21   and other protections of state and federal law. The Defendants SSI and AMS to this
  22   claim at all times relevant hereto were acting pursuant to a custom, policy,
  23   decision, ordinance, regulation, widespread habit, usage, or practice in their actions
  24   pertaining to Plaintiff Matthew Brudnicki.
  25         244. Mr. Brudnicki had a constitutional right guaranteed to him by the
  26   United States Constitution, to know what the charges are against him, to be
  27   provided with exculpatory evidence that would help exonerate him and help defend
  28   against baseless charges perpetuated by SSI and AMS. Defendants SSI and AMS,
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   1   acting under the color of authority denied Mr. Brudnicki of his well-established
   2   rights guaranteed to him. At all times relevant, both SSI and AMS are a person
   3   within the meaning of 42 U.S.C. § 1983.
   4         245. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
   5   suffered actual physical and emotional injuries, and other damages and losses as
   6   described herein entitling him to compensatory and special damages, in amounts to
   7   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
   8   Plaintiff Matthew Brudnicki has incurred special damages and other special
   9   damages related expenses, in amounts to be established at trial. Plaintiff is further
  10   entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment
  11   interest and costs as allowable by federal law.
  12         246. In addition to compensatory, economic, consequential and special
  13   damages, Plaintiff Matthew Brudnicki is entitled to punitive damages against each
  14   of the individually named Defendants under 42 U.S.C. § 1983, in that the actions
  15   of each of these Defendants have been taken maliciously, willfully or with a
  16   reckless or wanton disregard of the constitutional rights of the Plaintiff.
  17         9.     James Roche v. Court Programs, Inc. and Alcohol Monitoring
  18   Systems, Inc
  19         247. Plaintiff James Roche, (“Mr. Roche or Plaintiffs”) was convicted of a
  20   DUI in the State of Florida and as an alternative to jail time, Mr. Roche was placed
  21   on SCRAM monitoring for a period of no more than six months. In the time that
  22   Mr. Roche was being monitored by Defendant Court Programs, Inc., (“CPI”) and
  23   Alcohol Monitoring Systems, Inc., (“AMS”).
  24         248. Just weeks after being placed on SCRAM monitoring with CPI, the
  25   Defendant immediately began accusing Mr. Roche of alcohol consumption. But at
  26   no time did CPI or AMS ever provide Mr. Roche was any report, or evidence to
  27   substantiate the false allegations assert by CPI.
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   1         249. Upon information and belief, CPI, AMS, and the County of Orange
   2   entered into a written contract at a time unknown to Mr. Roche, to provide ankle
   3   monitoring services to citizens for GPS and SCRAM monitoring.
   4         250. While on SCRAM monitoring, Mr. Roche was required to pay the
   5   standard high end exuberant fee of $ 15.00 dollars per day for SCRAM monitoring
   6   and Mr. Roche began to ask CPI employees for a financial reduction sheet. But a
   7   CPI employee informed Mr. Roche that the CPI employees never heard of such a
   8   thing. Mr. Roche received numerous phone calls from CPI employee Justin Martin
   9   who was in charge of GPS and SCRAM monitoring for CPI informing Mr. Roche
  10   that he was behind in payments and would result in a violation and a report from
  11   AMS and CPI being sent to the Court. The CPI employee stated that he “would do
  12   anything necessary to collect.”
  13         251. In late 2010, Defendants CPI, AMS, and their employee Justin Martin
  14   accused Mr. Roche of consuming alcohol when in fact Mr. Roche had not. At
  15   various times, CPI employee Justin Martin pressured Mr. Roche into making his
  16   payments and to stop failing back, or “jail time would be best for you.”
  17         252. In that same time frame, CPI employee Justin Martin called Mr.
  18   Roche into the CPI office to have a discussion about alleged violations that Mr.
  19   Roche allegedly committed by consuming alcohol. Once Mr. Roche arrived at the
  20   CPI office, Mr. Roche demanded to see proof and documentation that Mr. Roche
  21   was in violation of his SCRAM conditions. However, when confronted with the
  22   questions, neither CPI, or Justin Martin had anything to say.
  23         253. Defendants CPI and AMS at one point had a contract with the County
  24   of Orange in Orlando, Florida, however that was stripped away from CPI as a
  25   result of criminal actions on behalf of CPI and AMS.
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   1           254. Defendants CPI and AMS were placed under investigation by several
   2   police agencies, private investigators, defense attorneys, and including a watch dog
   3   organization in Florida called CourtWatch. On several occasions, CPI and AMS
   4   violated numerous court orders signed by The Honorable Chief Judge Belvin Perry
   5   that she signed into effect when CPI and AMS initially had a government contract
   6   with the Orange County. On other occasions, CPI was caught red handed not
   7   properly monitoring GPS and SCRAM clients. In fact, two known sex offenders
   8   were able to travel and contract the minor victims to terrorize them. CPI was not
   9   fully monitoring their clients.
  10           255. Additionally, the watch dog group CourtWatch discovered something
  11   else that was even more disturbing. In one instance, CPI was caught red handed
  12   lying and filing false violations reports against CPI clients. More specifically, CPI
  13   employee Justin Martin, stated above, filed caused false charges to be filed against
  14   one man. In 2012, CPI employee Justin Martin issued and filed with the Court an
  15   alleged violation report that CPI client Mr. Larry Duggan violated his monitoring
  16   conditions when in fact Mr. Duggan did not. A hearing was set in Court before the
  17   Honorable Rene Roche (no relation to Plaintiff) and Judge Roche determined that
  18   CPI employee Justin Martin lied, was found in comptempt of Court, and sent to
  19   jail.
  20           256. Accordingly, Judge Roche also determined that Mr. Duggan had only
  21   fallen behind in his payments to CPI totaling $ 1,250, and she further stated in her
  22   own words; “owing the company money is not a violation.” Judge Roche also
  23   stated that CPI uses “scare tactics” to convince clients to pay fees to CPI and AMS.
  24   Defendant CPI later settled a lawsuit filed by Mr. Larry Duggan and his attorney
  25   Hank Hornsby. See also http://articles.orlandosentinel.com/2012-04-17/news/os-
  26   gps-court-programs-lawsuit-orange-20120417_1_gps-monitoring-gps-companies-
  27   gps-program.
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   1         257. On January 3, 2011, Mr. Roche completed the SCRAM program and
   2   was formally removed from SCRAM monitoring, but Mr. Roche still remained on
   3   summary probation for his DUI conviction. Just weeks after Mr. Roche completed
   4   the SCRAM program, Mr. Roche began receiving phone calls from CPI employees
   5   informing him that there is an outstanding balance that is owed to CPI. Mr. Roche,
   6   ironically enough, was told that if he did not make a payment for the balance, that
   7   Mr. Roche would be charged with a SCRAM violation. Mr. Roche choose to not
   8   accept anymore phone calls from CPI.
   9         258. Less than two weeks later, Mr. Roche was sitting at home watching
  10   television when someone knocked on his door. It was none other than deputy
  11   sheriffs from the local Sheriff’s Department, and also accompanied with them was
  12   none other than disgraced CPI employee Justin Martin as discussed above. Acting
  13   under the color of authority, in concert with, and on behalf of CPI, the deputies
  14   showed up to arrest Mr. Roche based on a violation report that Justin Martin signed
  15   and filed against Mr. Roche. As a result, CPI caused a warrant to be issued based
  16   off of an alleged SCRAM violation after Mr. Roche was terminated from SCRAM
  17   monitoring. Mr. Roche was arrested by CPI and local police, taken to the county
  18   jail where Mr. Roche was held with no bond.
  19         259. Because the facts will be heavily disputed, CPI and AMS alleged that
  20   at various times Mr. Roche consumed alcohol. At no time did CPI or AMS ever
  21   produce a copy of any alleged consumption reports. Instead of providing alleged
  22   consumption reports, both CPI and AMS altered some reports, and turned over that
  23   report to the Court, but not Mr. Roche, or his counsel.
  24         260. In fact, the report that was finally turned over was questioned by some
  25   as to whether or not the allegations were true. With weeks passing by, Mr. Roche
  26   was held in the county jail without bond. After spending six weeks in the county
  27   jail, Mr. Roche finally got to see a judge. What came next, was shocking to all.
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   1         261. Mr. Roche was ordered to appear before the Honorable Renee Roche
   2   in the trial Court. Once before Judge Roche (again no relation), things began to
   3   surface. Judge Roche immediately called into question as to the validity of the
   4   alleged SCRAM report generated by AMS largely in part because all of the alleged
   5   dates and times that Mr. Roche was allegedly drinking, were not consistent with
   6   any other dates and times. In fact, Mr. Roche’s attorney cross examined the CPI
   7   employee and Judge Roche found the witness as not reliable. Further, Judge Roche
   8   also determined that Mr. Roche was no longer on SCRAM monitoring. As a result
   9   of the actions of CPI and AMS, Mr. Roche sat in jail without bond for six weeks to
  10   only be found not guilty. Accordingly, Mr. Roche was released from custody, and
  11   went home.
  12         262. Had CPI and AMS turned over their alleged consumption violation
  13   report in a timely fashion as mandated by law, then Mr. Roche would have never
  14   been charged with a false and trumped up violation. Coincidentally, in the past
  15   three years, CPI has settled seven lawsuits mostly about violations of persons
  16   rights guaranteed by State and Federal law.
  17         263. Plaintiff James Roche believes, and thereon fully alleges that he was
  18   subjected to retaliation and false consumption reports for his failure to pay the
  19   monies that were outstanding to CPI and AMS.
  20         264. Mr. Roche believes, and thereon alleges that CPI and AMS have an
  21   ongoing established pattern and practice of delaying in turning over any and all
  22   violations reports weeks, or months later so that AMS, CPI, and other third party
  23   alcohol providers can paint a picture of the SCRAM client that he or she is guilty
  24   in the eyes of the government agencies, and that the equipment of AMS actually
  25   works, and that the SCRAM wearer consumed alcohol while on the said SCRAM
  26   Device, and that the SCRAM customer is guilty of anything and everything that
  27   CPI and AMS alleges. Mr. Roche further alleges that CPI and AMS have entered
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   1   into a separate conspiracy among themselves to violate the established rights of the
   2   people by concocting false reports to collect monies that are outstanding.
   3         265. Like all Plaintiffs in this case, each time Mr. Roche uploaded his daily
   4   SCRAM Device readings, the readings are then transmitted from the SCRAM
   5   Device, to a AMS’ central facility in Littleton, Colorado where a minimum wage
   6   employee with no training experience, no college certification, purportedly reads
   7   the alleged consumption report and issues a determination whether or not the
   8   SCRAM wearer consumed alcohol. Based on confidential information obtained by
   9   a reliable source, a former AMS employee, informed the Plaintiffs that AMS gives
  10   the power and authority to this non-certified, minimum wage employee is allowed
  11   to “pick and choose” which or what type of violation to issue. In some instances,
  12   the AMS employee picks both that the SCRAM wearer tampered with the SCRAM
  13   Device by blocking the infrared system inside the Device, and consumed alcohol.
  14   But realistically speaking, the SCRAM Device cannot do both. If the SCRAM
  15   wearer is tampering with the SCRAM Device, then the SCRAM Device is unable
  16   to reach out and obtain sweat levels to send back to AMS’ facility in Colorado.
  17         266. The policies and procedures manifested by CPI and AMS, flat on its
  18   face and as applied, or threatened to be applied, violates the Right to Petition and
  19   the Equal Protection Clause of the Fourteenth Amendment to the United States
  20   Constitution and similar guarantees in the Constitution by denying Plaintiff free
  21   speech rights, and the right to petition the Court, and to others in similar situations
  22   and other protections of state and federal law. The Defendants CPI and AMS to
  23   this claim at all times relevant hereto were acting pursuant to a custom, policy,
  24   decision, ordinance, regulation, widespread habit, usage, or practice in their actions
  25   pertaining to Plaintiff James Roche.
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   1         277. Mr. Roche had a constitutional right guaranteed to him by the United
   2   States Constitution, to know what the charges are against him, to be provided with
   3   exculpatory evidence that would help exonerate him and help defend against
   4   baseless charges perpetuated by CPI and AMS. Defendants CPI and AMS, acting
   5   under the color of authority denied Mr. Roche of his well-established rights
   6   guaranteed to him. At all times relevant, both CPI and AMS are persons within the
   7   meaning of 42 U.S.C. § 1983.
   8         288. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
   9   suffered actual physical and emotional injuries, and other damages and losses as
  10   described herein entitling him to compensatory and special damages, in amounts to
  11   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  12   Plaintiff James Roche has incurred special damages and other special damages
  13   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  14   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  15   costs as allowable by federal law. Additionally, Mr. Roche lost his job as a result
  16   of being incarcerated where by all accounts Mr. Roche would have made well over
  17   a $ 100,000 a year.
  18         290. In addition to compensatory, economic, consequential and special
  19   damages, Plaintiff James Roche is entitled to punitive damages against each of the
  20   individually named Defendants under 42 U.S.C. § 1983, in that the actions of each
  21   of these Defendants have been taken maliciously, willfully or with a reckless or
  22   wanton disregard of the constitutional rights of the Plaintiff.
  23         10.     Jennifer Johnston v. Alcohol Monitoring Systems, Inc.
  24         291. Plaintiff Jennifer Johnston, (“Ms. Johnson or Plaintiffs”), was going
  25   through a child custody matter with her ex-husband, and Ms. Johnston was seeking
  26   child custody of her children. During the course of the litigation in family Court,
  27   the Court ordered Ms. Johnston to enroll in the SCRAM ankle monitoring program
  28   through the Johnson County Department of Corrections, JCDC, and to abstain
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   1   from the use of alcohol.
   2         292. After the Court issued the order to enroll in the SCRAM program, Ms.
   3   Johnston enrolled the very next day. Once Ms. Johnston reported and enrolled, the
   4   JCDC employees provided her with a list of environmental products not to use that
   5   was issued exclusively from AMS. As a requirement of being on the SCRAM
   6   Device, MS. Johnston was also required to pay the JCDC money for the AMS
   7   SCRAM Device. Defendant AMS, acting under the color of authority then sends
   8   the JCDC an invoice for those funds, then in turn, the JCDC remits the payment to
   9   AMS by sending AMS funds from Kansas to their corporate headquarters located
  10   in
  11         293. During the family law proceedings, Defendant AMS alleged that Ms.
  12   Johnston consumed alcohol and that she was in violation of a court order. At no
  13   time did AMS ever inform the JCDC, Ms. Johnston, or her attorney. In fact, AMS
  14   instead sent the report directly to the Court that was overseeing the family law case
  15   of concerning Ms. Johnston. Acting under the color of authority, AMS sent an
  16   alleged violation report directly with the Court, and an AMS employee spoke to
  17   the Court staff trying to obtain a bench warrant for Ms. Johnston’s arrest.
  18         294. However, AMS was never aware that her case was a civil case, not a
  19   DUI criminal case. Ms. Johnston was unable to pay for the SCRAM monitoring, so
  20   AMS knew they had to act quickly and try to have Ms. Johnston arrested by
  21   indicating that she violated a Court order and issue a false report reflecting same.
  22         295. With several weeks passing, Ms. Johnston was only informed by her
  23   attorney that she violated the conditions of a Court order. However, AMS never
  24   sent Mr. Johnston, nor her attorney a copy of the violation report.
  25         296. On several occasions, Ms. Johnston’s attorney contacted AMS to try
  26   and locate the AMS report. With Ms. Johnston facing the possibility of losing her
  27   chance to get joint custody of her children, Ms. Johnston wanted to prove to the
  28   Court that she did not consume alcohol as AMS persisted.
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   1         297. As a direct result of AMS not turning over the alleged consumption
   2   report, Ms. Johnston paid over $ 1,500 dollars to her attorney to try and get ahold
   3   of the reports from AMS. However, AMS refused to turn over the report denying
   4   Ms. Johnston her constitutional and civil rights to petition the Court to seek blood,
   5   ETG, or some other form of alcohol testing. But Ms. Johnston was denied her
   6   rights by AMS, acting under the color of authority.
   7         298. In early 2013, the Johnson County Department of Corrections entered
   8   into a written contract with AMS to exclusively provide SCRAM monitoring to
   9   offenders that are charged with DUI matters, as well as offenders on probation and
  10   parole. In turn, AMS receives a yearly payment of $ 380,000 plus dollars from the
  11   JCDC for their alcohol monitoring service.
  12         299. The policies and procedures manifested by AMS, on its face and as
  13   applied, or threatened to be applied, violates the Right to Petition and the Equal
  14   Protection Clause of the Fourteenth Amendment to the United States Constitution
  15   and similar guarantees in the Constitution by denying Plaintiff free speech rights,
  16   and the right to petition the Court, and to others in similar situations and other
  17   protections of state and federal law. The Defendant AMS to this claim at all times
  18   relevant hereto were acting pursuant to a custom, policy, decision, ordinance,
  19   regulation, widespread habit, usage, or practice in their actions pertaining to
  20   Plaintiff Jennifer Johnston.
  21         300. Like all Plaintiffs in this case, each time Ms. Johnston uploads her
  22   daily SCRAM readings, the readings are then transmitted from the SCRAM
  23   Device, to a AMS’ central facility in Littleton, Colorado where a minimum wage
  24   employee with no training experience, no college certification, purportedly reads
  25   the alleged consumption report and issues a determination whether or not the
  26   SCRAM wearer consumed alcohol. Based on confidential information obtained by
  27   a reliable source, a former AMS employee, informed the Plaintiffs that AMS gives
  28   the power and authority to this non-certified, minimum wage employee is allowed
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   1   to “pick and choose” which or what type of violation to issue. In some instances,
   2   the AMS employee picks both that the SCRAM wearer tampered with the SCRAM
   3   Device by blocking the infrared system inside the Device, and consumed alcohol.
   4   But realistically speaking, the SCRAM Device cannot do both. If the SCRAM
   5   wearer is tampering with the SCRAM Device, then the SCRAM Device is unable
   6   to reach out and obtain sweat levels to send back to AMS’ facility in Colorado.
   7          301. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
   8   suffered actual physical and emotional injuries, and other damages and losses as
   9   described herein entitling him to compensatory and special damages, in amounts to
  10   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  11   Plaintiff Jennifer Johnston has incurred special damages and other special damages
  12   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  13   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  14   costs as allowable by federal law.
  15          302. In addition to compensatory, economic, consequential and special
  16   damages, Plaintiff Jennifer Johnston and members of the is entitled to punitive
  17   damages against each of the individually named Defendants under 42 U.S.C. §
  18   1983, in that the actions of each of these Defendants have been taken maliciously,
  19   willfully or with a reckless or wanton disregard of the constitutional rights of the
  20   Plaintiff.
  21          11.     Michael Spano v. Rocky Mountain Offender Management Systems,
  22   LLC and Alcohol Monitoring Systems, Inc.
  23          303. Plaintiff Michael Spano, (“Mr. Spano or Plaintiffs”) on March 17,
  24   2016, on St. Patrick’s Day, Mr. Spano was driving through the City of New York
  25   where he resides. At some point while driving, Mr. Spano made a wrong U-turn
  26   and was subsequently pulled over by police for a traffic violation. Police officers
  27   of the New York Police Department, NYPD, asked MR. Spano if he had consumed
  28   alcohol that day. Mr. Spano informed the NYPD officers that he had four beers in
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   1   the past four hours. After a series of FST’s, Mr. Spano was placed under arrest by
   2   the NYPD officers.
   3          304. Mr. Spano was then taken to the police station where has was booked
   4   on suspicion of DUI. After several hours at the police station, Mr. Spano was then
   5   released on his own recognizance. Mr. Spano was given a Court date to appear in
   6   the Superior Court of New York. Several weeks later, Mr. Spano retained private
   7   counsel, the law office of Dominick Gullo.
   8          305. On July 12, 2016, Mr. Spano and his counsel appeared in the trial
   9   Court and entered a not guilty plea. During the hearing, the trial Court instructed
  10   Mr. Spano not to use alcohol and to report to Defendant Rocky Mountain Offender
  11   Management Systems, RMOMS, within 24 hours, after his Court appearance.
  12          306. The following day, Mr. Spano enrolled in the SCRAM program with
  13   RMOMS and paid the Defendant a large setup fee to have the service established.
  14   Further, a RMOMS employee provided Mr. Spano with a list of environmental
  15   products not to use while on SCRAM monitoring. The list of products is produced
  16   by RMOMS co-Defendant AMS and then sent to RMOMS.
  17          307. Several days later, Mr. Spano began complaining about the fees to the
  18   RMOMS case manager. As such, Mr. Spano was forced to pay $ 100.00 a week for
  19   the RMOMS service. One case manager informed Mr. Spano that RMOMS and
  20   AMS has the ability to petition the Court and have a report generated reflecting
  21   that Mr. Spano is in violation of his RMOMS conditions pertaining to his release.
  22   Additionally, the RMOMS employee began bragging about how RMOMS and its
  23   employees “just secured a three-year prison sentence for one jerk who didn’t pay
  24   us.”
  25          308. On September 4, 2016, Defendant RMOMS, with the assistance of
  26   their co-Defendant AMS, the Defendants created a false report indicating that Mr.
  27   Spano removed the SCRAM Device for a period of four days. However, this would
  28   not become known to Mr. Spano until a month later when Mr. Spano appeared in
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   1   Court with his attorney. Mr. Spano had just reported days prior to RMOMS and
   2   had the SCRAM Device.
   3         309. While in Court, Mr. Spano was informed for the very first time that
   4   Mr. Spano allegedly removed the SCRAM Device. Just two days prior to the Court
   5   appearance, an employee of RMOMS telephoned Mr. Spano complaining about
   6   past due balances that were due to RMOMS and AMS. Mr. Spano was informed
   7   that the Court would be notified if RMOMS and AMS was not paid “right now.”
   8         310. Mr. Spano informed RMOMS that he did not have any more money to
   9   pay RMOMS, and that Mr. Spano had to make a payment to his criminal defense
  10   attorney. The RMOMS replied; “that’s not our concern.”
  11         311. In Court, Mr. Spano and his attorney were never made aware of any
  12   alleged tamper with the SCRAM Device. Almost a month went by before Mr.
  13   Spano was ever informed of the alleged tamper after he completed the SCRAM
  14   program.
  15         312. On or about Sept 4th, 2016, Defendant AMS transmitted a tamper
  16   report concerning Mr. Spano to RMOMS reflecting that Mr. Spano removed the
  17   SCRAM Device. However, this was not true. Had Mr. Spano removed the
  18   SCRAM Device, an electronic signal would have been sent to AMS and RMOMS
  19   immediately and Mr. Spano would have been notified. Mr. Spano was told he then
  20   put the bracelet back on 4 days later. This was completely false. He was unaware
  21   of this and not notified till almost a month later.
  22         313. On July 23rd, 2009, the City of New York, and various counties in
  23   New York entered into a written contract with RMOMS and AMS to provide
  24   various offenders in the New York City area with SCRAM ankle monitoring. In
  25   turn, the City and counties pay RMOMS and AMS hundreds of thousands of
  26   dollars per year for SCRAM ankle monitoring. Additionally, the county is which
  27   Mr. Spano was being supervised by RMOMS, currently advertises RMOMS and
  28   AMS on their official website as an “effective tool” against alcohol abuse.
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   1         314. Plaintiff believes, and thereon alleges, that RMOMS and AMS were
   2   poised to get back at Mr. Spano for his failure to pay RMOMS and AMS as they
   3   demanded of him. As such, Plaintiffs believes that this was the basis for the alleged
   4   violation. The policies and procedures manifested by RMOMS and AMS, on its
   5   face and as applied, or threatened to be applied, violates the Right to Petition and
   6   the Equal Protection Clause of the Fourteenth Amendment to the United States
   7   Constitution and similar guarantees in the Constitution by denying Plaintiff free
   8   speech rights, and the right to petition the Court, and to others in similar situations
   9   and other protections of state and federal law. The Defendants RMOMS and AMS
  10   to this claim at all times relevant hereto were acting pursuant to a custom, policy,
  11   decision, ordinance, regulation, widespread habit, usage, or practice in their actions
  12   pertaining to Plaintiff Michael Spano.
  13         315. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
  14   suffered actual physical and emotional injuries, and other damages and losses as
  15   described herein entitling him to compensatory and special damages, in amounts to
  16   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  17   Plaintiff Michael Spano has incurred special damages and other special damages
  18   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  19   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  20   costs as allowable by federal law.
  21         316. In addition to compensatory, economic, consequential and special
  22   damages, Plaintiff Mike Spano is entitled to punitive damages against each of the
  23   individually named Defendants under 42 U.S.C. § 1983, in that the actions of each
  24   of these Defendants have been taken maliciously, willfully or with a reckless or
  25   wanton disregard of the constitutional rights of the Plaintiff.
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   1         12.     Toriahna Bonds v. House Arrest Services, Inc. and Alcohol
   2   Monitoring Systems, Inc.
   3         317. Plaintiff Torianna Bonds, (“Ms. Bond or Plaintiffs”) in late 2014, was
   4   placed on SCRAM monitoring, and ordered to enroll and report to House Arrest
   5   Services, Inc., (“HAS”), to be placed on SCRAM monitoring for a period of no
   6   more than 60 days.
   7         318. Shortly after being placed in SCRAM with HAS, Mr. Bonds, HAS
   8   immediately began accusing Ms. Bonds of both tampering with the SCRAM
   9   Device, as well as consumption. In these allegations, they are even harder to piece
  10   together due to numerous inconsistencies in all of the reports generated and
  11   reviewed by AMS, then transmitted to HAS.
  12         319. On or about November 11, 2015, HAS generated a letter concerning
  13   Ms. Bonds indicating, among other things, that Ms. Bonds tampered and tried to
  14   obstruct the SCRAM Device. The letter also stated that alcohol was detected from
  15   the date of the incident of November 8, 2015. And that the obstruction was
  16   removed at 1:07 am on November 9, 2015.
  17         320. Upon information and belief, Ms. Bonds alleges that this letter
  18   authored by HAS was sent to the probation department, as well as the Court. Most
  19   shocking, the HAS and AMS letter then went on to say; “This event has been
  20   confirmed by both the manufacture and House Arrest Services as an
  21   obstruction and consumption.” [emphasis in original].
  22         321. On December 10, 2015, Ms. Bonds was ordered to report back to the
  23   trial Court due to facts that Ms. Bonds probation and her 60 SCRAM monitoring
  24   were set to expire. Once Ms. Bonds and her attorney appeared before the trial
  25   Court, Ms. Bonds was also informed for the very first time that Ms. Bonds has a
  26   petition to revoke her probation filed against her by HAS and AMS for alleged
  27   violations of tampering and consumption while on the SCRAM monitor. As a
  28   complete surprise to Ms. Bonds and her private counsel, everyone was caught off
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   1   guard based entirely due to HAS and AMS making these allegations almost two
   2   months later after the alleged tamper and consumption. At the hearing, Ms. Bonds’
   3   attorney adamantly requested all copies of all reports from HAS and AMS. That
   4   day Ms. Bonds counsel served a subpoena for all records upon HAS and AMS.
   5         322. That same day at the Court hearing, the Court continued the hearing to
   6   give each side an opportunity to obtain the reports and records from HAS. On
   7   several occasions, Ms. Bonds attorney contacted HAS several times for the copies
   8   of the records as stated in the subpoena. However, HAS completely ignored her
   9   attorney, and hung up the telephone every time that Ms. Bonds telephoned HAS to
  10   obtain the reports. The next hearing was slated for December 17, 2015.
  11         323. On December 16, 2015, after numerous complaints to HAS for their
  12   lack of turning over all violation reports concerning Ms. Bonds, HAS and AMS
  13   finally turned over the violation reports literally just hours before the hearing. On
  14   this date at 11:05 pm, late at night, HAS transmitted the reports to Ms. Bonds’
  15   attorney for review. However, her attorney was not provided enough time to
  16   review the reports, obtain witnesses for her client, or even find an expert to review
  17   and interpret the reports generated by AMS, transmitted by HAS.
  18         324. Further, once the reports were finally turned over, and in the little to
  19   almost no time Ms. Bonds’ counsel had to review the report, and prepare for a
  20   proper defense for her client, Ms. Bonds’ attorney almost immediately noticed
  21   several inconsistencies in the reports. Again, in the letter mentioned above, the
  22   letter from HAS to the Court, it clearly states “This event has been confirmed by
  23   both the manufacture and House Arrest Services as an obstruction and
  24   consumption.” [emphasis in original].
  25         325. This was very puzzling for Ms. Bonds’ attorney because in one report
  26   that was turned over to Ms. Bonds’ attorney, the report states that Ms. Bonds
  27   tampered with the SCRAM Device on the alleged date above. But what’s different
  28   in this report pertaining to the same date, this report states; “The SCRAM system
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   1   detected no alcohol consumption events and 1 tamper events for the reporting
   2   period of November 8, 2015.” [emphasis in original].
   3         326. Defendants HAS and AMS owed an affirmative duty to Ms. Bonds’
   4   and her attorney to turn over all copies of the reports in a timely manner.
   5         327. Defendants HAS and AMS failed and refused to do so, thereby
   6   denying Ms. Bonds’ of constitutional civil rights.
   7         328. Coincidentally, the business owner of HAS, Mr. Carlo Ugval who is
   8   the president and CEO of HAS, was seen a few years ago attending a steak dinner
   9   and drinks at a local hotel. While attending the event, Mr. Ugval is seen in several
  10   photos obtained by the Plaintiffs, with the very same Superior Court Judges in
  11   Oakland County who are directly responsible for placing criminal defendants on
  12   the SCRAM monitoring. Ironically enough, Mr. Ugval is also seen in various
  13   photos with Oakland County Judges Peter Maceroni, Richard Hathaway, and
  14   Richard Carett on vacation of Mr. Ugval’s boat.
  15         329. On or about June 6, 2008, HAS entered into a government contract
  16   with Oakland County, Michigan to provide Defendants with SCRAM ankle
  17   monitoring to individuals facing some type of criminal charges. In this government
  18   contract, Defendant HAS, acting under the color of authority, signed and executed
  19   a written contract stating that HAS will receive $ 3,000,000.00 annually exchange
  20   for providing SCRAM monitoring. Upon information and belief, 25% percent of
  21   that amount goes back to AMS in Littleton, Colorado, whereas HAS must pay for
  22   the actual SCRAM equipment. In this written contract, it was signed by Jack sato,
  23   Oakland County purchasing manager, and also signed by John Cooperrider,
  24   account manager for HAS.
  25         330. Like all Plaintiffs in this case, each time Ms. Bonds uploads her daily
  26   SCRAM readings with HAS, then in turn the readings are then transmitted from
  27   the SCRAM Device, to a AMS’ central facility in Littleton, Colorado where a
  28   minimum wage employee with no training experience, no college certification,
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   1   purportedly reads the alleged consumption report and issues a determination
   2   whether or not the SCRAM wearer consumed alcohol. Based on confidential
   3   information obtained by a reliable source, a former AMS employee, informed the
   4   Plaintiffs that AMS gives the power and authority to this non-certified, minimum
   5   wage employee is allowed to “pick and choose” which or what type of violation to
   6   issue. In some instances, the AMS employee picks both that the SCRAM wearer
   7   tampered with the SCRAM Device by blocking the infrared system inside the
   8   Device, and consumed alcohol. But realistically speaking, the SCRAM Device
   9   cannot do both. If the SCRAM wearer is tampering with the SCRAM Device, then
  10   the SCRAM Device is unable to reach out and obtain sweat levels to send back to
  11   AMS’ facility in Colorado.
  12         331. The policies and procedures manifested by HAS and AMS, on its face
  13   and as applied, or threatened to be applied, violates the Right to Petition and the
  14   Equal Protection Clause of the Fourteenth Amendment to the United States
  15   Constitution and similar guarantees in the Constitution by denying Plaintiff free
  16   speech rights, and the right to petition the Court, and to others in similar situations
  17   and other protections of state and federal law. Defendants HAS and AMS to this
  18   claim at all times relevant hereto were acting pursuant to a custom, policy,
  19   decision, ordinance, regulation, widespread habit, usage, or practice in their actions
  20   pertaining to Plaintiff Torianna Bonds.
  21         332. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
  22   suffered actual physical and emotional injuries, and other damages and losses as
  23   described herein entitling her to compensatory and special damages, in amounts to
  24   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  25   Plaintiff Toriana Bonds has incurred special damages and other special damages
  26   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  27   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  28   costs as allowable by federal law.
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   1         333. In addition to compensatory, economic, consequential and special
   2   damages, Plaintiff Torianna Bonds is entitled to punitive damages against each of
   3   the individually named Defendants under 42 U.S.C. § 1983, in that the actions of
   4   each of these Defendants have been taken maliciously, willfully or with a reckless
   5   or wanton disregard of the constitutional rights of the Plaintiff.
   6         13.     Dakota Jones v. Scram of California, Inc. and Alcohol Monitoring
   7   Systems, Inc.
   8         334. Plaintiff Dakota Jones, (“Mr. Jones or Plaintiffs”) was pulled over in
   9   2015 in San Luis Obispo County for suspicion of DUI. After being pulled over,
  10   deputies from the nearby Sheriff’s Department placed Mr. Jones under arrest for
  11   the suspicion of DUI. Mr. Jones was transported to the county jail where Mr. Jones
  12   posted a bail bond. After his release, Mr. Jones appeared in the San Luis Obispo
  13   County Superior Court and entered a guilty plea to the DUI charge. Mr. Jones was
  14   placed probation. Shortly after being placed on probation, Mr. Jones decided to
  15   transfer his probation to San Diego County. Once transferred to San Diego, Mr.
  16   Jones sustained a probation violation, and the trial Court wanted to impose a state
  17   prison sentence on Mr. Jones. However, Mr. Jones retained private counsel, and
  18   Mr. Jones’ attorney was able to secure Mr. Jones a plea agreement that would
  19   require that Mr. Jones enroll in the SCRAM monitoring for six months, and follow
  20   all conditions of probation. Mr. Jones agreed, and was ordered released from the
  21   county jail on December 2, 2016, and was ordered to appear at the SCRAM office
  22   in San Diego and enroll with Scram of California, Inc., (“SCRAM”).
  23         335. On December 5, 2016, Mr. Jones appeared at the SCRAM office to
  24   have a SCRAM Device attached to his leg. Mr. Jones was also required to pay the
  25   usual outrageous “set-up fee” in the amount of $ 325.00. Mr. Jones was also told
  26   by a SCRAM employee that Mr. Jones must make a payment every two-weeks in
  27   the amount of $ 225.00 directly to SCRAM, and Mr. Jones was further instructed
  28   that if Mr. Jones did not make the payments on time, or altogether, that Mr. Jones
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   1   would “go right back to jail.”
   2         336. Once fitted with the SCRAM Device, Mr. Jones was provided a piece
   3   of paper with a list of environmental products not to use. Almost a week and a half
   4   later, Mr. Jones fell back on his SCRAM payments. Employees at SCRAM on a
   5   daily basis contacted Mr. Jones for the payments.
   6         337. Several weeks later, SCRAM had enough with Mr. Jones. Now for the
   7   very first time, SCRAM decided to allege that Mr. Jones was in violation of his
   8   SCRAM conditions. SCRAM and the manufacture of the SCRAM Device, AMS
   9   indicated to Mr. Jones that he consumed alcohol “somewhere between” December
  10   14, 2016 and December 17, 2017. However, SCRAM and their subsidiary
  11   corporation AMS, did not notify Mr. Jones until December 23, 2016, that Mr.
  12   Jones allegedly violated his SCRAM conditions. In fact, SCRAM and AMS were
  13   unable to provide Mr. Jones with a copy of any alleged report. This was none other
  14   than a dirty “scare tactic” often deployed by SCRAM in collect outstanding
  15   monies.
  16         338. As a result of the SCRAM and AMS not turning over the alleged
  17   violation reports in a timely fashion, Mr. Jones was forced to pay additional
  18   attorney fees to his attorney of record to spend hours trying to get copies of the
  19   records that Mr. Jones is clearly entitled to. Through this lawsuit, Mr. Jones is only
  20   challenge the policies and procedures of SCRAM and AMS.
  21         339. Sometime in 2012, Defendant SCRAM entered into a written contract
  22   with the Superior Court of California, and the State of California. That contract
  23   went into effect immediately so that SCRAM and AMS could provide SCRAM
  24   ankle monitoring services to various offenders in the State of California. As such,
  25   acting under the color of authority, SCRAM received a contract account number
  26   4400011840. As a part of the written contract, the Superior Court of California
  27   paid SCRAM and their subsidiary corporation $ 36,116 payable to SCRAM. This
  28   contract was signed into effect by SCRAM president Aaron Fleisher and members
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   1   of the Judicial Council of California. In return, SCRAM will provide ankle monitor
   2   service from SCRAM, and all reports will come directly from their co-Defendant
   3   AMS.
   4          340. The policies and procedures manifested by SCRAM and AMS, on its
   5   face and as applied, or threatened to be applied, violates the Right to Petition and
   6   the Equal Protection Clause of the Fourteenth Amendment to the United States
   7   Constitution and similar guarantees in the Constitution by denying Plaintiff free
   8   speech rights, and the right to petition the Court, and to others in similar situations
   9   and other protections of state and federal law. Defendants SCRAM and AMS to
  10   this claim at all times relevant hereto were acting pursuant to a custom, policy,
  11   decision, ordinance, regulation, widespread habit, usage, or practice in their actions
  12   pertaining to Plaintiff Dakota Jones.
  13          341. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
  14   suffered actual physical and emotional injuries, and other damages and losses as
  15   described herein entitling him to compensatory and special damages, in amounts to
  16   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  17   Plaintiff Dakota Jones has incurred special damages and other special damages
  18   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  19   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  20   costs as allowable by federal law.
  21          342. In addition to compensatory, economic, consequential and special
  22   damages, Plaintiff Dakota Jones is entitled to punitive damages against each of the
  23   individually named Defendants under 42 U.S.C. § 1983, in that the actions of each
  24   of these Defendants have been taken maliciously, willfully or with a reckless or
  25   wanton disregard of the constitutional rights of the Plaintiff.
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   1         14.      Dan McCullough v. ProntoTrak, Inc. and Alcohol Monitoring
   2   Systems, Inc.
   3         343. Plaintiff Dan McCollough, (“Mr. McCollough or Plaintiffs”) was on
   4   the night of June 14, 2012, pulled over by police in Georgia. Police suspected that
   5   Mr. McCollough was driving while intoxicated. Police asked Mr. McCollough to
   6   perform a series of tests to determine whether or not Mr. McCollough was driving
   7   under the influence. Mr. McCollough was arrested on suspicion of driving while
   8   intoxicated.
   9         344. Mr. McCollough was taken to the local jail and booked on a criminal
  10   DUI charge and later released. When Mr. McCollough appeared in the trial Court,
  11   Mr. McCollough was required to enroll in the SCRAM ankle monitoring program
  12   with Defendant ProntoTrak, Inc., (“PRONTO”), and pay a high end exuberant fee
  13   of $ 300.00 “set-up” to PRONTO.
  14         345. On July 19, 2013, Mr. McCollough enrolled in the SCRAM program
  15   and was provided with a list of environmental products published by AMS not to
  16   use while on SCRAM monitoring. Defendant PRONTO and AMS advertises to
  17   City, County, State, and Federal law enforcement agencies that the SCRAM
  18   Device can tell the difference between actual alcohol consumption, and a person
  19   coming into contact with household items that have alcohol ingredients. Both AMS
  20   and PRONTO knew that these statements are false. Because the SCRAM Device is
  21   not specific enough to test for ethanol, there is no way the SCRAM Device can do
  22   what AMS and PRONTO says.
  23         346. Several months on SCRAM monitoring, PRONTO and AMS alleged
  24   that Mr. McCollough consumed alcohol on the days of November 5, 2013, all the
  25   way to November 9, 2013. Both PRONTO and AMS claim that for 108 hours
  26   straight, that Mr. McCollough consumed alcohol. A clear biological impossibility.
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   1         347. However, Mr. McCollough was never informed about the alleged
   2   violation until almost four months later. On November 14, 2013, Mr. McCollough
   3   appeared at the PRONTO office to make a payment to PRONTO. Once the money
   4   was paid to PRONTO, Mr. McCollough was then told that he had an active bench
   5   warrant for his arrest, and that Mr. McCollough missed not one, but two payments
   6   to PRONTO. The PRONTO employee, Craig Gant then went on to say that he
   7   personally obtained the warrant and had the Judge sign the warrant. Based on the
   8   information conveyed to Mr. McCollough, Mr. Gant instructed Mr. McCollough to
   9   stand up and put his hands behind his back. Acting under the color of state law,
  10   Mr. McCollough was detained by PRONTO and Mr. Gant.
  11         348. Several years ago, preceding this lawsuit, at least three different states
  12   in the United States granted official police powers to PRONTO, and also gave
  13   them official police powers, collect money on behalf of the various states, and
  14   impose conditions of probation on the SCRAM client.
  15         349. PRONTO employee Mr. Gant then handcuffed Mr. McCollough, told
  16   him he was “being detained” and Mr. Gant then telephoned the police. Minutes
  17   later, deputies from the Cherokee County Sheriff’s Department, (“CCSD”) arrived
  18   at the office of PRONTO. Mr. Gant then led the deputies in to a “holding cell” in
  19   the rear of the office where Mr. McCollough was handcuffed and waiting. Mr.
  20   Gant them read Mr. McCollough his Miranda rights, and Mr. Gant escorted Mr.
  21   McCollough out of the office and was permitted to place Mr. McCollough in the
  22   back seat of the police car. Acting under the color of authority, Mr. Gant then
  23   handed the deputies all of Mr. McCollough’s personal belongings that PRONTO
  24   and Mr. Gant confiscated from Mr. McCollough after handcuffing him.
  25         340. At all times relevant, Mr. McCollough had a constitutional right
  26   guaranteed to him to know the charges filed against him in a timely manner, and to
  27   have copies of reports so that Mr. McCollough can prove his innocence in a timely
  28   manner.
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   1         341. Mr. McCollough believes, and thereon alleges that PRONTO and
   2   AMS have an ongoing established pattern and practice of delaying in turning over
   3   any and all violations reports weeks, or months later so that AMS and PRONTO,
   4   and other third party alcohol providers can paint a picture of the SCRAM client
   5   that he or she is guilty in the eyes of the government agencies, and that the
   6   equipment of AMS actually works, and that the SCRAM wearer consumed alcohol
   7   while on the said SCRAM Device, and that the SCRAM customer is guilty of
   8   anything and everything that PRONTO and AMS alleges.
   9         342. Mr. McCollough further alleges that PRONTO and AMS have entered
  10   into a separate conspiracy among themselves to violate the established rights of the
  11   people by concocting false reports to collect monies that are outstanding.
  12         343. Like all Plaintiffs in this case, each time Mr. McCollough uploaded
  13   his daily SCRAM Device readings, the readings are then transmitted from the
  14   SCRAM Device docking station, to AMS’ central facility in Littleton, Colorado
  15   where a minimum wage AMS employee with no training experience, no college
  16   certification, purportedly reads the alleged consumption report and issues a
  17   determination whether or not the SCRAM wearer consumed alcohol. Based on
  18   confidential information obtained by a reliable source, a former AMS employee,
  19   informed the Plaintiffs that AMS gives the power and authority to this non-
  20   certified, minimum wage employee is allowed to “pick and choose” which or what
  21   type of violation to issue in the AMS report.
  22         344. The policies and procedures manifested by PRONTO and AMS, flat
  23   on its face and as applied, or threatened to be applied, violates the Right to Petition
  24   and the Equal Protection Clause of the Fourteenth Amendment to the United States
  25   Constitution and similar guarantees in the Constitution by denying Plaintiff free
  26   speech rights, and the right to petition the Court, and to others in similar situations
  27   and other protections of state and federal law. The Defendants PRONTO and AMS
  28   to this claim at all times relevant hereto were acting pursuant to a custom, policy,
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   1   decision, ordinance, regulation, widespread habit, usage, or practice in their actions
   2   pertaining to Plaintiff Dan McCollough.
   3         345. Mr. McCollough had a constitutional right guaranteed to him by the
   4   United States Constitution, to know what the charges are against him, to be
   5   provided with exculpatory evidence that would help exonerate him and help defend
   6   against baseless charges perpetuated by PRONTO and AMS. PRONTO and AMS,
   7   acting under the color of authority denied Mr. McCollough of his well-established
   8   rights guaranteed to him. At all times relevant, PRONTO and AMS are persons
   9   within the meaning of 42 U.S.C. § 1983.
  10         346. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
  11   suffered actual physical and emotional injuries, and other damages and losses as
  12   described herein entitling him to compensatory and special damages, in amounts to
  13   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  14   Plaintiff Dan McCollough has incurred special damages and other special damages
  15   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  16   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  17   costs as allowable by federal law.
  18         15.     Dusty Derigo v. Total Court Services of Indiana, LLC and Alcohol
  19   Monitoring Systems, Inc.
  20         347. Plaintiff Dusty Derigo, (“Mr. Derigo or Plaintiffs”) was on the night
  21   of May 4, 2012, pulled over by police in the State of Indiana for suspicion of DUI
  22   while operating a motor vehicle. Mr. Derigo was given a series of field sobriety
  23   tests. However, Mr. Derigo failed those tests and was placed under arrest by police.
  24         348. Several weeks after being arrested for allegation of DUI, Mr. Derigo
  25   retained private counsel and appeared in Court. The trial Court permitted Mr.
  26   Derigo to remain on his own recognizance. Also at the hearing, the trial Court
  27   ordered Mr. Derigo to enroll in the SCRAM program with a local agency. At a
  28   later time, that agency was shut down due to lack of funding. With no other choice,
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   1   Mr. Derigo had to re-enroll in the SCRAM program by contacting Defendant Total
   2   Court Services of Indiana, LLC., (“TCSI”).
   3         349. After Mr. Derigo enrolled in the SCRAM program with TCSI, the
   4   staff at TCSI began demanding payments from Mr. Derigo to be paid on a weekly
   5   basis to TCSI.
   6         350. After Mr. Derigo complained to the employees at TCSI, Mr. Derigo
   7   was told that if he “keeps it up, you will be violated.” On various dates and times,
   8   Mr. Derigo complained to TCSI staff that the SCRAM Device was too tight. TCSI
   9   employees told Mr. Derigo to “just deal with it.”
  10         351. On May 4, 2014, just two days after missing a payment to TCSI, and
  11   filing two mores complaints with TCSI, both TCSI and AMS alleged that Mr.
  12   Derigo consumed alcohol for 12 hours starting at 1:00pm in the afternoon. What
  13   came as no surprise, TCSI never informed Mr. Derigo about the alleged violation
  14   until two weeks later. TCSI alleged that AMS produced a report stating that on the
  15   above date and time, Mr. Derigo consumed alcohol. Mr. Derigo demanded copies
  16   of the alleged report from TCSI, but they refused.
  17         352. Upon information and belief, Mr. Derigo believes and thereon alleges
  18   that Defendants TCSI and AMS entered into written contracts with the State of
  19   Indiana, and various counties throughout the State. More specifically, Mr. Derigo
  20   believes it was that of AMS that helped TCSI secure government contracts, or in
  21   the alternative, TCSI and AMS have partnered to obtain government contracts.
  22         353. On several occasions, Mr. Derigo and his attorney requested copies of
  23   all reports, however TCSI and AMS refused to turn over those reports to Mr.
  24   Derigo and his counsel.
  25         354. At all times relevant, both TCSI and AMS were acting under the color
  26   of authority, and in concert with government officials, and denied Mr. Derigo his
  27   constitutional and civil rights.
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   1          355. Mr. Derigo believes, and thereon alleges that AMS have an ongoing
   2   established pattern and practice of delaying in turning over any and all violations
   3   reports weeks, or months later so that AMS can paint a picture of themselves in the
   4   eyes of the government that the equipment of AMS actually works, and that the
   5   SCRAM wearer consumed alcohol while on the SCRAM Device, and that the
   6   SCRAM customer is guilty of anything and everything that AMS alleges. Without
   7   more, it would cost AMS a multimillion dollar contract. Therefore, AMS must
   8   protect their assets in a contract like this.
   9          356. The policies and procedures manifested by TCSI and AMS, on its face
  10   and as applied, or threatened to be applied, violates the Right to Petition and the
  11   Equal Protection Clause of the Fourteenth Amendment to the United States
  12   Constitution and similar guarantees in the Constitution by denying Plaintiff free
  13   speech rights, and the right to petition the Court, and to others in similar situations
  14   and other protections of state and federal law. Both TCSI and AMS to this claim at
  15   all times relevant hereto were acting pursuant to a custom, policy, decision,
  16   ordinance, regulation, widespread habit, usage, or practice in their actions
  17   pertaining to Plaintiff Dusty Derigo.
  18          357. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
  19   suffered actual physical and emotional injuries, and other damages and losses as
  20   described herein entitling him to compensatory and special damages, in amounts to
  21   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  22   Plaintiff Dusty Derigo has incurred special damages and other special damages
  23   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  24   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  25   costs as allowable by federal law.
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                  PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT FOR DAMAGES
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   1          358. In addition to compensatory, economic, consequential and special
   2   damages, Plaintiff Dusty Derigo, and members of the class are entitled to punitive
   3   damages against each of the individually named Defendants under 42 U.S.C. §
   4   1983, in that the actions of each of these Defendants have been taken maliciously,
   5   willfully or with a reckless or wanton disregard of the constitutional rights of the
   6   Plaintiff.
   7          16.     Angel Gonzales v. Scram of California and Alcohol Monitoring
   8   Systems, Inc.
   9          359. Plaintiff Angel Gonzales, (“Mr. Gonzalez or Plaintiffs”), was driving
  10   in the City of Otay Mesa, California, on May 24th, 2017, when a small traffic
  11   accident had occurred. After the car accident had occurred, police officers of the
  12   San Diego Police Department, SDPD, arrived on scene and began assessing the
  13   parties involved in the traffic accident. After several minutes on scene, SDPD
  14   officers began interviewing the drivers of each of the vehicles involved. Once
  15   SDPD officers interviewed each of the drivers, SDPD officers began to suspect
  16   that Mr. Gonzalez was driving under the influence of an alcoholic beverage. After
  17   SDPD officers had a conversation with Mr. Gonzales, he admitted to having only
  18   two drinks.
  19          360. After Mr. Gonzales admitted to having two drinks, SDPD decided to
  20   conduct field sobriety tests, FST’s, to officially determine if Mr. Gonzalez was
  21   under the influence. After failing the FST’s, officers then proceeded to conduct a
  22   preliminary assessment screening, PAS, where Mr. Gonzalez was required to blow
  23   into a small hand-held device used by law enforcement. After blowing into the
  24   PAS, officers determined that Mr. Gonzales under the influence, and not legally
  25   permitted to operate a motor vehicle. As such, SDPD officers placed Mr. Gonzales
  26   under the influence of alcohol. Mr. Gonzales was later transferred to the San Diego
  27   County Jail, SDCJ, where he was booked on a $ 25,000 bail bond.
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   1         361. Mr. Gonzales was later released from the SDCJ after his wife posted a
   2   bail bond to secure his release. Mr. Gonzales quickly moved to retain a private
   3   attorney to defend against the allegations.
   4         362. Almost two months later, Mr. Gonzales and his retained counsel then
   5   appeared in the San Diego Superior Court to defend against the allegations. At the
   6   Court hearing, the Court order Mr. Gonzales to enroll in the SCRAM program with
   7   Defendant Scram of California, Inc. (“SCRAM”). The Court further ordered that
   8   Mr. Gonzales refrain from using or consuming alcohol.
   9         363. On July 7th, 2017, Mr. Gonzales obeyed the order of the Court and
  10   went and enrolled in the SCRAM program with SCRAM located at their office in
  11   San Diego. Once Mr. Gonzales arrived at the SCRAM office, the employees had
  12   Mr. Gonzales watch a quick video on how to properly use the SCRAM Device,
  13   and the SCRAM employees immediately began asking Mr. Gonzales very intense
  14   questions about his financial background. The SCRAM employees then instructed
  15   Mr. Gonzales to fill out a form that asks him questions about his monthly income,
  16   how much money he had in his bank account, and how much money Mr. Gonzales
  17   had on his person “right now.”
  18         364. Mr. Gonzales filled out the form to the best of his knowledge and
  19   provided the form back to his case manager Pedro Estrada. Mr. Estrada then placed
  20   the SCRAM Device on Mr. Gonzales leg, and provided Mr. Gonzales with a
  21   docking station, a small magnet, and a base charger. Thereafter, his case manager
  22   then began demanding $ 460.00 from Mr. Gonzales.
  23         365. Prior to reporting to SCRAM to enroll in the SCRAM program, Mr.
  24   Gonzales was only informed to bring $ 200.00 to the SCRAM office and that
  25   would be the cost for the first payment, plus enrollment. However, this was not the
  26   case. In fact, only when Mr. Gonzales began to complain to his case manager about
  27   the high SCRAM fees, the case manager Pedro Estrada began yelling and
  28   screaming at Mr. Gonzales and stated; “do you want to go back to jail, and eat
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   1   more bologna sandwiches?”
   2         366. Facing a credible threat of being returned to jail, Mr. Gonzales then
   3   had no choice in the matter. He was forced to pay SCRAM a total of $ 480.00
   4   dollars that day. This did not include the first, or second weeks monitoring fees.
   5   Mr. Gonzales paid the high fees, and the case manager stated; “that’s better.”
   6         367. The following day, Mr. Gonzales complained to the SCRAM
   7   supervisor Sarah Lebov about the fees, and Ms. Lebov did not to help lower the
   8   costs for Mr. Gonzales.
   9         368. On July 9th, 2017, just two days after having the SCRAM Device
  10   installed, Defendant SCRAM OF CALIFORNIA stated in a written report from
  11   Defendant AMS that Mr. Gonzales consumed alcohol and that his alcohol level
  12   was a .03 TAC level, which is equal and no greater than half a drink.
  13         369. Once the report was generated, at no time did SCRAM and/or AMS
  14   ever inform Mr. Gonzales of the alleged consumption violation. In fact, this same
  15   day, Mr. Gonzales had a telephone conversation with his case manager, and at no
  16   time did Mr. Estrada inform Mr. Gonzales that he was allegedly in violation of his
  17   SCRAM conditions. During this conversation, Mr. Gonzales inquired if Mr.
  18   Gonzales could travel to Mexico for vacation and to see family and friends. The
  19   case manager informed Mr. Gonzales that he was free to travel back and forth from
  20   the United States to Mexico. Mr. Gonzales properly informed his case manager
  21   that he was going to travel to Mexico. In that same phone call, Mr. Estrada began
  22   asking as to when SCRAM could be expecting the bi-weekly payment while he
  23   was on vacation. Mr. Gonzales stated he was going to Mexico for only a few days.
  24         370. Almost two weeks later while Mr. Gonzales was returning through the
  25   Port of Entry from Mexico, Mr. Gonzales was stopped and questioned by agents of
  26   the United States Customs Border Protection, CBP, and informed Mr. Gonzales
  27   that he had a bench warrant for his arrest. Thereafter, CBP agents arrested him and
  28   called the SDPD who then transported Mr. Gonzales to the SDCJ.
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   1         371. On July 9th, 2017. Defendant SCRAM received a report from their
   2   co-Defendant, and the manufacture of the SCRAM Device. However, Defendants
   3   SCRAM and AMS, acting under the color of law, and in concert with one another,
   4   sent a copy of the report to the Superior Court of California without first notifying
   5   Mr. Gonzales’ attorney. Defendants SCRAM and AMS only sent a copy to the
   6   Court whereby committing an illegal ex parte communication. As a part of the
   7   written contract between the Superior Court and the State of California signed by
   8   both the State and SCRAM, Defendant SCRAM is granted a special privilege to be
   9   able to send reports to the Court without first notifying the defense attorney or the
  10   attorneys client.
  11         372. Almost a month went by before SCRAM informed Mr. Gonzales that
  12   he was allegedly in violation of his bond conditions. Plaintiff believes and thereon
  13   alleges that when an alleged consumption report is generated, the report is then
  14   sent to AMS in Littleton, Colorado at AMS’ headquarters where a minimum wage
  15   employee with no training or education reads a graph to somehow come to a final
  16   conclusion that Mr. Gonzales, and the members of the class, allegedly consumed
  17   alcohol. After making some form of determination, Defendant AMS then transmits
  18   that report to SCRAM who also reviews the alleged report and graph to determine
  19   if the SCRAM client has committed a violation.
  20         373. Acting under the color of state law, SCRAM then contacts the trial
  21   Court Judge and sends the report directly to the Judge. SCRAM then causes the
  22   SCRAM client to have a warrant issued. This was the case here. Due to the flawed
  23   report generated by AMS, transmitted to SCRAM, then sent to the Court, the trial
  24   Court then issued a bench warrant for the arrest of Mr. Gonzales.
  25         374. Due to the fact that Mr. Gonzales was never informed by SCRAM and
  26   AMS about an alleged drinking episode in a timely manner, Mr. Gonzales had no
  27   opportunity to go and have his been drawn to prove he did not consume alcohol.
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   1         375. Instead, due to the long-standing policy, practice and/or custom by
   2   SCRAM and AMS, the Defendants waited almost three weeks to turn over the
   3   report thereby denying Mr. Gonzales the opportunity to petition the Court with a
   4   blood draw to show that Mr. Gonzales had not consumed alcohol. At all times
   5   relevant, Defendants SCRAM and AMS, acting under the color of authority,
   6   violated Mr. Gonzales’ first amendment right to petition the Court. The Defendants
   7   are state actors, and therefore are liable for the violations.
   8         376. Mr. Gonzales believes, and thereon alleges that SCRAM, AMS, the
   9   State of California, and the Superior Court have entered into a written contract on
  10   or around June of 2010. And in the signed contract, exist a written policy that does
  11   permit SCRAM and AMS to turn over delayed reports, and in turn are provided
  12   immunity from prosecution for criminal violations.
  13         377. Mr. Gonzales further believes, and thereon alleges that SCRAM and
  14   AMS have an established pattern and practice of delaying in turning over any and
  15   all violations reports weeks, or months later so that Defendants SCRAM and AMS
  16   can paint a picture of themselves in the eyes of the State of California that SCRAM
  17   and AMS are right, the SCRAM wearer consumed alcohol, and that the SCRAM
  18   customer is guilty due to any window of opportunity of getting blood drawn is
  19   virtually long gone.
  20         378. On August 3rd, 2017, the Court held a hearing in San Diego Superior
  21   Court to determine if Mr. Gonzales consumed alcohol, and whether or not if he
  22   was in violation of his bail bond release. At that hearing, Defendant SCRAM sent
  23   the very same case manager that Mr. Gonzales complained to, Mr. Pedro Estrada
  24   to testify as to the report and graph. Acting under the color of authority, the case
  25   manager Mr. Estrada testified for the State and Superior Court due to the fact the
  26   again, as a part of the written contract between the parties, SCRAM must send a
  27   company employee to testify at the violation hearings.
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   1         379. Mr. Gonzales believes, and thereon alleges that SCRAM and AMS
   2   conspired together to generate a false report against him after complaining about
   3   the high end exuberant fees imposed by SCRAM and AMS. Defendant SCRAM
   4   had enough of Mr. Gonzales. Therefore, SCRAM and AMS decided to frame Mr.
   5   Gonzales for a violation, and remove him from the SCRAM program. At no time
   6   could Mr. Gonzales continue to afford the SCRAM program. Mr. Gonzales fail
   7   back on payments, and Defendants had enough. Mr. Gonzales asked for a financial
   8   reduction sheet, and Mr. Estrada stated; “it doesn’t exist.”
   9         380. At all times relevant, Defendants SCRAM and AMS, acting under the
  10   color of authority, used their government powers to wield their position by using
  11   strong arm tactics to collect monies owed to SCRAM and AMS. Defendant AMS
  12   is formally responsible for all acts committed by SCRAM. Defendants SCRAM
  13   and AMS knew that Mr. Gonzales could not afford the high fees, was clearly
  14   entitled to a fee reduction, and denied Mr. Gonzales his due process rights that are
  15   guaranteed by 14th Amendment to the United States Constitution. Mr. Gonzales,
  16   nor any other Plaintiff, and members of the class cannot be treated differently for
  17   their inability to pay. Defendants SCRAM and AMS are thereby state actors acting
  18   under color of law, and denied the rights of the Plaintiff, and members of the class.
  19         381. Additionally, SCRAM and AMS have a written contract amongst
  20   themselves. Defendant AMS is the manufacture of the SCRAM Device, SCRAM
  21   is the distributer. By SCRAM buying or leasing the SCRAM Device, AMS then
  22   promises and guarantees SCRAM advertising on AMS’s website that is and was
  23   created in Littleton, Colorado. Additionally, SCRAM pays thousands of dollars
  24   each month, and remits payment to AMS by wire transfer, by sending a check in
  25   the United State mail, or by bank-to-bank transfer. Defendants SCRAM and AMS
  26   are using interstate commerce to make a financial profit that all goes back to AMS
  27   at the end of the day.
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   1         382. Unless and until the Defendants SCRAM and AMS are restrained by
   2   an order of this Court, Defendants, acting through their officers, servants, agents
   3   and employees, will continue to enforce these violations and continue to delay
   4   reports that ultimately put a person’s life and freedom in the hands of two
   5   notoriously corrupt corporations, SCRAM and AMS. Unless and until this Court
   6   declares the policies and procedures of SCRAM and AMS are unconstitutional, the
   7   Defendants, acting through its officers, servants, agents and employees, will
   8   enforce the said civil rights violations. All of the acts of the Defendants, its
   9   officers, agents, as alleged herein, were done or are threatened to be done under
  10   color of state law.
  11         383. The Defendants policies and procedures, on its face and as applied, or
  12   threatened to be applied, violates the Right to Petition and the Equal Protection
  13   Clause of the Fourteenth Amendment to the United States Constitution and similar
  14   guarantees in the Constitution by denying Plaintiff free speech rights allowed to
  15   others in similar situations and other protections of state and federal law. The said
  16   Defendants to this claim at all times relevant hereto were acting pursuant to a
  17   custom, policy, decision, ordinance, regulation, widespread habit, usage, or
  18   practice in their actions pertaining to Plaintiff Angel Gonzales.
  19         384. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
  20   suffered actual physical and emotional injuries, and other damages and losses as
  21   described herein entitling him to compensatory and special damages, in amounts to
  22   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
  23   Plaintiff Angel Gonzales has incurred special damages and other special damages
  24   related expenses, in amounts to be established at trial. Plaintiff is further entitled to
  25   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and
  26   costs as allowable by federal law.
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   1           385. In addition to compensatory, economic, consequential and special
   2   damages, Plaintiff Angel Gonzales, and members of the is entitled to punitive
   3   damages against each of the individually named Defendants under 42 U.S.C. §
   4   1983, in that the actions of each of these Defendants have been taken maliciously,
   5   willfully or with a reckless or wanton disregard of the constitutional rights of the
   6   Plaintiff.
   7           17.     Christina Bohnstedt v. Midwest Monitoring and Surveillance, Inc.,
   8   and Alcohol Monitoring Systems, Inc.
   9           386. On January 10, 2016, Ms. Bohnstedt was driving in the State of
  10   Minnesota and was later pulled over by local law enforcement for suspicion of a
  11   DUI offense. After Ms. Bohnstedt was ordered to get out of her vehicle, a police
  12   officer instructed Ms. Bohnstedt to perform standard field tests to determine if she
  13   was under the influence of alcohol.
  14           387. After the field tests were performed on Ms. Bohnstedt, the officer
  15   determined that Ms. Bohnstedt was under the influence of alcohol and the officer
  16   placed Ms. Bohnstedt in custody for the alleged offense.
  17           388. Ms. Bohnstedt was then taken to a local police station where she was
  18   released. Ms. Bohnstedt and her counsel later appeared in the Superior Court of the
  19   State of Minnesota. Ms. Bohnstedt was then ordered by the Court to enroll in the
  20   SCRAM program and wear the SCRAM Device as a condition of her release. Ms.
  21   Bohnstedt later enrolled into SCRAM monitoring with Midwest Monitoring and
  22   Surveillance, Inc., (“MMS”).
  23           389. While out on release, Ms. Bohnstedt complied with all of the terms
  24   and conditions of her bond, as well as with her SCRAM conditions with MMS, and
  25   made all of her payments on time. At the time, Ms. Bohnstedt was employed full
  26   time.
  27           390. While attending the outpatient program, Ms. Bohnstedt was required
  28   to meet periodically with her probation officer. Ms. Bohnstedt was given several
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   1   drug and alcohol tests by her probation officer and passed all of them. On January
   2   10, 2017, Ms. Bohnstedt had just met with her probation officer and they went over
   3   the conditions of probation and other requirements of probation.
   4         391. During her meeting with the probation officer, Ms. Bohnstedt learned
   5   from her probation officer that MMS and AMS issued the report and that Ms.
   6   Bohnstedt was in violation of her SCRAM conditions. Ms. Bohnstedt was set to
   7   terminate from the SCRAM MMS program and live a nice quite life.
   8         392. However, those dreams came to a screeching halt. For the very first
   9   time after Ms. Bohnstedt got her life together, attended meetings, and eliminated
  10   alcohol from her life all together, Ms. Bohnstedt learned that MMS and AMS had
  11   generated a report indicating that Ms. Bohnstedt consumed alcohol.
  12         393. Coincidentally, that same day, Ms. Bohnstedt was scheduled to have
  13   the SCRAM Device removed. Defendants MMS and AMS indicated in their
  14   SCRAM report that Ms. Bohnstedt tampered with the SCRAM Device and
  15   consumed alcohol.
  16         394. This is an impossibility due to the facts that both MMS and AMS
  17   advertise that when a SCRAM customer attempts to defeat the technology by
  18   placing an object over or between the sensor (IR) system of the SCRAM Device,
  19   then the SCRAM Device is unable to reach out an absorb a sweat sample necessary
  20   to determine if the customer consumed alcohol.
  21         395. Based on the statements and omissions by the Defendants, it is clear
  22   that there is no way possible that the SCRAM Device can do both. The report was
  23   so poor, that not even an AMS or MMS employee couldn’t piece together their
  24   reports. In fact, the AMS employee informed the Court and prosecutor that he “was
  25   just not sure what took place.”
  26         396. As a direct result of the SCRAM and AMS report that was sent to the
  27   Court, the trial Court then issued a bench warrant for Ms. Bohnstedt’ arrest. Due to
  28   the fact that Ms. Bohnstedt had done nothing wrong, and did not consume any
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   1   form of alcohol, Ms. Bohnstedt turned herself in and was held in jail for five days
   2   and was then released. While sitting in jail, Defendants MMS and AMS caused
   3   Ms. Bohnstedt to lose her job, home, and other personal property. Several days
   4   after turning herself in, Ms. Bohnstedt was released on her own recognizance.
   5            397. Ms. Bohnstedt was later given a court date to appear in Court. Once in
   6   Court, an AMS employee informed the prosecutor that the report “didn’t make
   7   sense,” causing the prosecutor to drop the consumption allegation, and pursue only
   8   the tamper allegation. But as stated before, when a SCRAM wearer uploads daily
   9   SCRAM readings with AMS, then in turn the readings are then transmitted from
  10   the SCRAM Device, to a AMS’ central facility in Littleton, Colorado where a
  11   minimum wage employee with no training experience, no college certification,
  12   purportedly reads the alleged consumption report and issues a determination
  13   whether or not the SCRAM wearer consumed alcohol. Based on confidential
  14   information obtained by a reliable source, a former AMS employee, informed the
  15   Plaintiffs that AMS gives the power and authority to this non-certified, minimum
  16   wage employee is allowed to “pick and choose” which or what type of violation to
  17   issue.
  18            398. In some instances, the AMS employee picks both that the SCRAM
  19   wearer tampered with the SCRAM Device by blocking the infrared system inside
  20   the Device, and consumed alcohol. But realistically speaking, the SCRAM Device
  21   cannot do both. If the SCRAM wearer is tampering with the SCRAM Device, then
  22   the SCRAM Device is unable to reach out and obtain sweat levels to send back to
  23   AMS’ facility in Colorado.
  24            399. Once Ms. Bohnstedt was released, that same day, Ms. Bohnstedt
  25   wanted to prove her innocence. After all, Ms. Bohnstedt turned herself in, and was
  26   noted in court transcripts. Ms. Bohnstedt contacted MMS and demanded copies of
  27   all alleged reports. However, MMS did inform Ms. Bohnstedt that she had missed
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   1   payments that were due to be paid to MMS for outstanding balances, which by all
   2   accounts was during the time Ms. Bohnstedt was incarcerated by MMS and AMS.
   3          400. On or about February 15, 2017, Ms. Bohnstedt appeared in Court with
   4   her attorney. For the very first time, Ms. Bohnstedt was able to review the report
   5   that her attorney showed Ms. Bohnstedt. And her attorney informed Ms. Bohnstedt
   6   that her attorney just got the report an hour before the hearing in Court concerning
   7   Ms. Bohnstedt. Despite several requests to MMS and AMS, the Defendants failed
   8   and refused to turn over the SCRAM reports in a timely manner.
   9          401. At all times relevant, MMS and AMS were acting under the color of
  10   authority.
  11          402. Additionally, MMS and AMS have a written contract amongst
  12   themselves. Defendant AMS is the manufacture of the SCRAM Device, MMS is
  13   the distributer. By MMS buying or leasing the SCRAM Device, AMS then
  14   promises and guarantees SCRAM advertising on AMS’s website that is and was
  15   created in Littleton, Colorado.
  16          403. Additionally, MMS pays thousands of dollars each month, and remits
  17   payment to AMS by wire transfer, by sending a check in the United State mail, or
  18   by bank-to-bank transfer. Defendants MMS and AMS are using interstate financial
  19   commerce to make a financial profit that all goes back to AMS at the end of the
  20   day.
  21          404. Unless and until the Defendants MMS and AMS are restrained by an
  22   order of this Court, Defendants, acting through their officers, servants, agents and
  23   employees, will continue to enforce these violations and continue to delay reports
  24   that ultimately put a person’s life and freedom in the hands of two notoriously
  25   corrupt corporations, MMS and AMS. Unless and until this Court declares the
  26   policies and procedures of MMS and AMS are unconstitutional, the Defendants,
  27   acting through its officers, servants, agents and employees, will enforce the said
  28   civil rights violations. All of the acts of the Defendants, its officers, agents, as
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    1   alleged herein, were done or are threatened to be done under color of state law.
    2          404. The Defendants policies and procedures, on its face and as applied, or
    3   threatened to be applied, violates the Right to Petition and the Equal Protection
    4   Clause of the Fourteenth Amendment to the United States Constitution and similar
    5   guarantees in the Constitution by denying Plaintiff Christina Bohnstedt free speech
    6   rights allowed to others in similar situations and other protections of state and
    7   federal law. The said Defendants to this claim at all times relevant hereto were
    8   acting pursuant to a custom, policy, decision, ordinance, regulation, widespread
    9   habit, usage, or practice in their actions pertaining to Plaintiff Christina Bohnstedt.
   10          405. As a proximate result of Defendants’ unlawful conduct, Plaintiff has
   11   suffered actual physical and emotional injuries, and other damages and losses as
   12   described herein entitling her to compensatory and special damages, in amounts to
   13   be determined at trial. As a further result of the Defendants’ unlawful conduct, the
   14   Plaintiff Christina Bohnstedt has incurred special damages and other special
   15   damages related expenses, in amounts to be established at trial. Plaintiff is further
   16   entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §1988, pre-judgment
   17   interest and costs as allowable by federal law.
   18          406. In addition to compensatory, economic, consequential and special
   19   damages, Plaintiff Christina Bohnstedt, and members of the is entitled to punitive
   20   damages against each of the individually named Defendants under 42 U.S.C. §
   21   1983, in that the actions of each of these Defendants have been taken maliciously,
   22   willfully or with a reckless or wanton disregard of the constitutional rights of the
   23   Plaintiff.
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    1             CLASS DEFINTITIONS AND RULE 23 PREREQUISITES
    2         Plaintiffs bring this action on their own behalf, and also on behalf of the
    3   various classes of all other persons similarly situated, pursuant to Federal Rule 23
    4   of the Federal Rules of Civil Procedure.
    5         Numerosity: In accordance with F.R.Civ. P. Rule 23(a), upon information
    6   and belief, the Class comprises of thousands of customers throughout the United
    7   States, and are so numerous that joinder of all class members of the Class is also
    8   impracticable. While the exact number of Class members are presently unknown
    9   and can only be ascertained through discovery.
   10         Plaintiffs believe there are thousands of Class members Nationwide based
   11   upon the fact that Defendants sell the Scram Devices in all 50 states of the United
   12   States, including the territories of Guam, and Puerto Rico, the United Kingdom,
   13   Canada, Australia, and New Zealand. There are over 50 persons from each of the
   14   Defendants’ offices being monitored at any given time, and there is constant
   15   change and turnover in who receives a false positive report. The Plaintiffs are
   16   informed and believe, and thereon allege, that the number of persons in each of
   17   these classes is at least in the hundreds.
   18         Ascertainability: Class members can be easily identified through the
   19   Defendants’ records, and each of their computer systems or by other means. The
   20   identity of all AMS customers is stored in AMS’ Monitoring Web Portal. Their
   21   identities are also kept on file no matter which third party alcohol provider the
   22   customer has service with.
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    1                          CLASS ACTION ALLEGATIONS
    2         Plaintiffs bring this action pursuant to the Federal Rule of Civil Procedure
    3   23(b)(2) and Rule 23(b)(3) on behalf of themselves and a class defined as follows:
    4         Nationwide Class: All individuals nationwide who, from four years
    5         prior to the filing of this Complaint through to date of certification
              purchased, leased and/or rented from each of the Defendants for their
    6         ankle monitoring service.
    7
              Nationwide Class: All individuals nationwide who, from four years
    8         prior to the filing of this Complaint through to date of certification, had a
    9         violation report filed by each of the Defendants.

   10         Nationwide Class: All individuals nationwide who, from four years
   11         prior to the filing of this Complaint through to date of certification, had
              their federal civil rights violated by each of the Defendants.
   12

   13         Nationwide Class: All individuals nationwide who, from four years
              prior to the filing of this Complaint through to date of certification,
   14         paid money to the Defendants for their ankle monitoring service,
   15         including but not limited to, set-up fees, ethernet cable fees, upload fees,
              and battery charge fees.
   16

   17                        COMMON ISSUES OF FACT AND LAW
   18         In accordance with F.R. Civ. P. Rule 23(a), there are questions of law and
   19   fact common to the class. The common questions of fact include, but are not
   20   limited to the following:
   21         a)     Whether the Defendants’ policies and practices of failing to turn over
   22   their Scram reports in a timely manner violates the federal First Amendment of the
   23   Right to Petition;
   24         b)     Whether the Defendants’ policies and practices of failing to turn over
   25   their Scram reports in a timely manner violates the federal Sixth Amendment of the
   26   right to call witnesses in criminal proceedings;
   27         c)     Whether the Defendants’ policies and practices of collecting financial
   28   monies from their customers violates the federal Fourteenth Amendment of the
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    1   Due Process Clause of the 14th Amendment;
    2         d)        Whether the Defendants’ are acting under the color of authority in
    3   their business practices;
    4         e)        Whether the Defendants’ policies and practices of collecting financial
    5   monies from their customers violates the federal Fourteenth Amendment of the
    6   Due Process Clause of the 14th Amendment;
    7         f)        Whether the Defendants’ conspired with one another to violates the
    8   Constitutional rights of the Plaintiffs and all others similarly situated;
    9         g)        Whether the Defendants engaged in the alleged conduct knowingly,
   10   intentionally, recklessly, or negligently; and;
   11         h)        Whether equitable remedies, injunctive relief, compensatory damages,
   12   and punitive damages for the Class are warranted;
   13         407. Plaintiffs’ claims are typical of the claims of the Class.
   14         408. Plaintiffs’ will fairly and adequately represent and protect the interests
   15   of the Class.
   16         409. Plaintiffs have retained counsel competent and experienced in
   17   complex class actions and employment discrimination litigation.
   18         410. Class certification is appropriate pursuant to Federal Rule of Civil
   19   Procedure 23(b)(2) because Defendants has acted and/or refused to act on grounds
   20   generally applicable to the Class, making appropriate declaratory and injunctive
   21   relief with respect to Plaintiffs and the Class as a whole. The Class Members are
   22   entitled to injunctive relief to end the Defendants constitutional, common, uniform,
   23   unfair, and discriminatory policies and practices.
   24         411. Class certification is also appropriate pursuant to Federal Rule of Civil
   25   Procedure 23(b)(3) because common questions of fact and law predominate over
   26   any questions affecting only individual members of the Class, and because a class
   27   action is superior to other available methods for the fair and efficient adjudication
   28   of this litigation. The Class Members have been damaged and are also entitled to
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    1   recovery as a result of Defendants constitutional, despicable, common, unfair, and
    2   discriminatory policies and practices. Defendants have computerized account data,
    3   payroll data, and personnel data that will make calculation of damages for specific
    4   Class Members relatively simple. The propriety and amount of punitive damages
    5   are based on Defendants conduct, making these issues common to the Class.
    6            412. Typicality: In accordance with F.R. Civ. P. Rule 23(a), the claims
    7   of the representative Plaintiffs are typical of each class. Plaintiffs were subjected to
    8   jail time, loss of liberty and loss of thousands of dollars in attorney fees, and lost
    9   income, based on the Constitutional violations of the Defendants.
   10            413. Thus, the Plaintiffs have the same interests, and have suffered the
   11   same type of damages as the class members. Named Plaintiffs’ claims are based
   12   upon the same or similar legal theories as the claims of the class members. Each
   13   class member suffered actual damages as a result of the Defendants’ Constitutional
   14   violations. The actual damages suffered by Plaintiffs are similar in type and
   15   amount to the actual damages suffered by each class member.
   16            414. In accordance with F.R. Civ. P. Rule 23(a), the Named Plaintiffs
   17   will fairly and adequately protect the interests of the class. The interests of the
   18   Named Plaintiffs are consistent with and not antagonistic to the interests of the
   19   class.
   20            415. Maintenance and Superiority: In accordance with Fed.R.Civ.P.
   21   Rule 23(b)(1)(A), prosecutions of separate actions by individual members of the
   22   class would create a risk that inconsistent or varying adjudication with respect to
   23   individual members of the class would establish incompatible standards of conduct
   24   for the parties opposing the class.
   25            416. In accordance with Fed.R.Civ.P. Rule 23(b)(1)(B), prosecutions of
   26   Separate actions by individual members of the class would create a risk of
   27   Adjudications with respect to individual members of the class that would, as a
   28   practical matter, substantially impair or impede the interests of the other members
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    1   of the class to protect their interests.
    2          417. In accordance with Fed.R.Civ.P. Rule 23(b)(2), Plaintiffs are
    3   informed and believe, and thereon allege that Defendants have acted on grounds
    4   fully generally applicable to the class.
    5          418. In accordance with Fed.R.Civ.P. Rule 23(b)(3), the questions of law
    6   or fact common to the members of the class predominate over any questions
    7   affecting only individual members, and this class action is superior to other
    8   available methods for the fair and efficient adjudication of the controversy between
    9   the parties. The interests of class members in individually controlling the
   10   prosecution of a separate action is low in that most class members would be unable
   11   to individually prosecute any action at all. The amounts at stake for individuals are
   12   such that separate suits would be impracticable in that most members of the class
   13   will not be able to find counsel to represent them. It is desirable to concentrate all
   14   litigation in one forum because all of the claims arise in the same location. It will
   15   promote judicial efficiency to resolve the several common questions of law and
   16   fact in one forum rather than in multiple courts. Because the discrimination alleged
   17   herein is systemic, it is particularly well suited to resolution on a class basis, as the
   18   critical questions in the case may be answered on a class, wide basis.
   19          419. Plaintiffs do not know the identities of the class members. The
   20   Plaintiffs are informed and believe, and thereon allege, that the identities of the
   21   class members are ascertainable from SCRAM records, in particular the SCRAM
   22   computer systems used to track and identify SCRAM clients. Plaintiffs are hereby
   23   informed and believes, and thereon allege, that the SCRAM computer records
   24   reflect the identities, including addresses and telephone numbers, of the persons
   25   who have been using SCRAM Device.
   26          420. Plaintiffs do not know of any difficulty that will be encountered in the
   27   management of this litigation that would preclude its maintenance as a class action.
   28   The class action is superior to any other available means to resolve the issues
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    1   raised on behalf of the classes. The class action will be manageable because so
    2   many different records systems exist from which to ascertain the members of the
    3   class and to ascertain some of the proof relevant to Plaintiffs claims. Liability can
    4   be determined on a class-wide basis, based on class-wide evidence because the
    5   Plaintiffs complain of systemic and widespread defective products and equipment.
    6         421. In accordance with Fed.R.Civ.P. Rule 23(b)(3), class members
    7   must be furnished with the best notice practicable under the circumstances,
    8   including individual notice to all members who can be identified through
    9   reasonable effort. Plaintiffs are informed and believe that SCRAM computer
   10   records contain a last known address for class members. Plaintiffs’ contemplate
   11   that individual notice be given to class members at such last known address by first
   12   class mail. Plaintiffs contemplate that the notice informs class members of the
   13   following:
   14         A.       The pendency of this action, and the issues common to the class;
   15         B.       The nature of the action;
   16         C.       Their right to ‘opt out’ of the action within a given time, in
   17   which event they will not be bound by a decision rendered in
   18   the class action;
   19         D.       Their right, if they do not ‘opt out,’ to be represented by their own
   20   counsel and enter an appearance in the case; otherwise, they will be represented by
   21   the named Plaintiffs and their counsel; and
   22         E.       Their right, if they do not ‘opt out,’ to share in any recovery in favor
   23   of the class, and conversely to be bound by any judgment on the common issues,
   24   adverse to the class. Plaintiffs restates and incorporates by reference each of the
   25   foregoing and ensuing paragraphs in each of the following causes of action as if
   26   each paragraph was fully set forth therein.
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    1                                     FIRST CLAIM FOR RELIEF
    2        (Violation of Federal Civil Rights Act of 1964, 42 U.S.C. § 1983 et seq.)
    3                                                                                                  2
                       (On Behalf of Plaintiffs and the Class v. All Defendants
    4           422. Plaintiffs incorporate the preceding paragraphs as alleged above.
    5           423. The Defendants acting under color of authority, when they violated
    6   the Plaintiffs, and the Class’ well established rights guaranteed by the First, Sixth,
    7   and Fourteenth Amendments to the United States Constitution, the Civil Rights act
    8   of 1964, and the laws of the United States, by the acts alleged above.
    9           424. 42 U.S.C. § 1983 provides in part:
   10                Every person who, under color of any statute, ordinance,
                     regulation, custom, or usage of any State or Territory subjects, or
   11                causes to be subjected, any person of the United States or other
   12                person within the jurisdiction thereof to the deprivation of any
                     rights, privileges, or immunities secured by the Constitution and
   13                laws shall be liable to the party injured in an action at law, suit at
   14                equity or other proper proceeding for redress.

   15           425. Defendants and each of them, who was at all times, acting under color

   16   of authority, deprived the Plaintiffs, and the Class of their rights, privileges, and

   17   immunities secured by the Constitution and laws of the United States including the

   18   First, Sixth, and Fourteenth Amendments by:

   19           a.       delaying in turning over exculpatory evidence that the Defendants,

   20   and each of them, knew and had reason to know, would be favorable to the

   21   Plaintiffs innocence;

   22           b.       Interfering with the Plaintiffs right to calls witnesses on their behalf

   23   and obtain blood tests in a timely manner guaranteed by the Sixth, and Fourteenth

   24   Amendments;

   25           c.       The Defendants, and each of them, using dirty, unlawful, and illegal

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                2
                   Without each Plaintiff having to list out each Defendant for each of the causes of actions,
   27   Plaintiffs will limit the number of pages by listing each cause of action as all Plaintiffs v. all Defendants,
        which will not only shorten the complaint, but make things easier for the Court.
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    1   means of collecting monies from the Plaintiffs, and the Class;
    2           426.. As a direct and proximate result of the aforementioned acts of the said
    3   Defendants, Plaintiffs was, and still is, injured as set forth above, and is entitled to
    4   compensatory and punitive damages according to proof. In addition, Plaintiffs the
    5   Plaintiffs are entitled to an award of punitive damages.
    6                                 SECOND CLAIM FOR RELIEF
    7               (Violation of Federal First Amendment, 42 U.S.C. § 1983 et seq.)
    8                                                                                              3
                       (On Behalf of Plaintiffs and the Class v. All Defendants
    9           427. Plaintiffs incorporate the preceding paragraphs as alleged above.
   10           428. This claim is brought by Plaintiffs on behalf of themselves and the
   11   Class they seek to represent. Plaintiffs have been charged with alleged Scram
   12   violations in a criminal Court of law that effects the criminal cases, conditions of
   13   their bail bond, as well as their conditions of probation.
   14           429. The Defendants, and each of them, acting under the color of authority,
   15   knowingly and intentionally fail to turn over alleged Scram violations reports in a
   16   timely manner that is mandated by State and Federal law. The Defendants
   17   intentional acts of failing to turn over exculpatory evidence, denies the Plaintiffs,
   18   and the Class enough notice to properly defend themselves against any alleged
   19   Scram report by allowing Plaintiffs, and the Class, to seek blood tests that would
   20   refute the Defendants allegations that they consumed alcohol. Defendants, and
   21   each of them, delay by weeks, or even months in turning over alleged consumption
   22   reports to the Plaintiffs, the Class, and their attorneys.
   23           430. Therefore, the Defendants conduct is unconstitutional on its own face
   24   and in clear violation of the federal First Amendment right for the Plaintiffs and
   25
                3
                   Each of the Plaintiffs reiterate that none of the Plaintiffs are challenging their alleged SCRAM
   26   violation. Each Plaintiff only gives an introduction so the Court has an understanding of how the Plaintiff
        came into contact with SCRAM. Accordingly, Plaintiffs are only challenging the business policies and
   27   procedures of how the Defendants delay, deny, and eventually turn over alleged violation reports. None of
        the Plaintiffs are seeking damages from any SCRAM conviction either.
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    1   the Class to petition the Courts to seek exoneration of the false allegations.
    2         431. At all times relevant, the Defendants, and each of them, were acting
    3   under the color of authority when they denied the Plaintiffs and the Class of their
    4   Constitutional rights.
    5         432. Defendants’ true purpose for delaying in turning over their reports to
    6   the Plaintiffs, and the Class, is an elaborate attempt to show that the Plaintiff, the
    7   Class, and others similarly situated, have consumed alcohol, when in fact they have
    8   not. Defendants intentionally delay in turning over their reports to bolster their
    9   products to government agencies to establish government contracts.
   10         433. As a direct and proximate result of Defendants’ violation of the First
   11   Amendment, Plaintiffs have suffered irreparable harm, including the loss of their
   12   constitutional rights, entitling them to declaratory and injunctive relief, nominal
   13   and punitive damages.
   14                             THIRD CLAIM FOR RELIEF
   15          (Violation of Federal Sixth Amendment, 42 U.S.C. § 1983 et seq.)
   16                (On Behalf of Plaintiffs and the Class v. All Defendants
   17         434. Plaintiffs incorporate the preceding paragraphs as alleged above.
   18         435. The Defendants acting under color of authority, when they violated
   19   the Plaintiffs, and the Class’ well established rights guaranteed by the First, Sixth,
   20   and Fourteenth Amendments to the United States Constitution, the Civil Rights act
   21   of 1964, and the laws of the United States, by the acts alleged above.
   22         436. The Sixth Amendment States in relevant part:
   23              In all criminal prosecutions, the accused shall enjoy the right
                   to a speedy and public trial, by an impartial jury of the State
   24              and district wherein the crime shall have been committed, which
   25              district shall have been previously ascertained by law, and to be
                   informed of the nature and cause of the accusation; to be confronted
   26              with the witnesses against him; to have compulsory process for
   27              obtaining witnesses in his favor, and to have the Assistance of
                   Counsel for his (or her) defense.
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    1         437. By the Defendants policies and practices of failing to turn over their
    2   Scram reports in a timely fashion does violate the Sixth Amendment to the United
    3   States Constitution. As a result of this misconduct, the Defendants, and each of
    4   them acted under color of law, deny the Plaintiffs, and the Class, their right to call
    5   witnesses on their behalf, and to be able to cross examine witnesses.
    6         438. At all times relevant, the Defendants, and each of them, acting under
    7   the color of authority, intentionally interfered with the Plaintiffs’ rights to call any
    8   and all witnesses, and cross examine any defense witnesses. Defendants recklessly,
    9   intentionally, and in complete disregard for the rights of the Plaintiffs, interfered
   10   with those Constitutional rights.
   11         439. As a direct and proximate result of Defendants’ violation of the Sixth
   12   Amendment, Plaintiffs, and the Class, have suffered, and continue to suffer severe
   13   irreparable harm, including the loss of their constitutional rights, entitling them to
   14   declaratory and injunctive relief, nominal and punitive damages.
   15                            FOURTH CLAIM FOR RELIEF
   16       (Violation of Federal Fourteenth Amendment, 42 U.S.C. § 1983 et seq.)
   17                (On Behalf of Plaintiffs and the Class v. All Defendants
   18         440. Plaintiffs incorporate the preceding paragraphs as alleged above.
   19         441. The Defendants acted under color of authority, when they violated the
   20   Plaintiffs, and the Class’ well established rights guaranteed by the First, Sixth, and
   21   Fourteenth Amendments to the United States Constitution, the Civil Rights Act of
   22   1964, and the laws of the United States, by the acts alleged above.
   23         442. The Fourteenth Amendment to the United States Constitution, is
   24   enforceable pursuant to 42 U.S.C. § 1983, provides that no state shall “deprive any
   25   person of life, liberty, or property, without due process of law.” U.S. Const.
   26   amend. XIV, § 1.
   27         443. The Due Process Clause prohibits the Defendants acting under the
   28   color of authority from subjecting individuals to processes and penalties that fail to
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    1   comport with principles of due process and fundamental fairness.
    2         444. The United States Supreme Court has repeatedly held that punishing a
    3   person solely for his or her inability to pay, rather than willful refusal to pay, or
    4   make bona fide efforts to acquire the resources to pay, violates principles of due
    5   process and fundamental fairness.
    6         445. Punishing an individual solely for his or her inability to pay, violates
    7   principles of due process and fundamental fairness.
    8         446. At all times relevant, the Defendants, and each of them, acting under
    9   the color of authority, intentionally interfered with the Plaintiffs, and the Class’
   10   right to pay lower amounts of monthly service costs to the Defendants, and each of
   11   them for their alcohol monitoring services.
   12         447. As a direct and proximate result of Defendants’ actions, Defendants,
   13   and each of them, are in violation of the Fourteenth Amendment. Plaintiffs, and the
   14   Class, have suffered, and continue to suffer severe irreparable harm, including the
   15   loss of their constitutional rights, entitling them to declaratory and injunctive relief,
   16   nominal and punitive damages.
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    1                             FIFTH CLAIM FOR RELIEF
    2                           (Permanent and Injunctive Relief)
    3                (On Behalf of Plaintiffs and the Class v. All Defendants
    4         448. Plaintiffs incorporate the preceding paragraphs as alleged above.
    5         449. The Defendants, and each of them interfered with the rights of the
    6   Plaintiffs to equal protection of the law under, and due process.
    7         450.    The aforementioned acts of the Defendants, and each of them, have
    8   proximately caused the Injunctive Relief Class Representatives and Class to be
    9   denied full and equal access to the benefits of, or be unlawfully subjected to
   10   discrimination under, programs or activities receiving financial funding and
   11   assistance from each of the various states in the United States who have entered
   12   into a written contract with each of the Defendants.
   13         451. The Injunctive Relief Class Representatives and Class are currently
   14   subject to, and will continue to be subject to, absent the intervention of this court,
   15   the unlawful treatment alleged herein, and therefore, seek injunctive relief under
   16   the foregoing Constitutional provisions and statutes on behalf of themselves and
   17   the class of similarly situated individuals.
   18         452. Defendants wrongful conduct as alleged, unless and until enjoined and
   19   restrained by order of this Court, will cause great and irreparable injury to Plaintiff
   20   and all similarly situated individuals.
   21         453. Plaintiff and all other similarly situated individuals have no adequate
   22   remedy at law for their injuries. The Defendants, and each of them are unrestrained
   23   in their ability to waste hard earned taxpayer money, and can escape liability by
   24   using the great governmental power and resources entrusted to them by the people,
   25   citizens, and tax payers of each state. If left unfettered, Defendants, and each of
   26   them, can systematically and continuously violate the Constitutional rights of
   27   individuals, including Plaintiff.
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    1         454. There are absolutely no countervailing benefits to violating the well-
    2   established Constitutional rights of individuals, and as long as Defendants are
    3   allowed to continue to investigate, incarcerate, detain, monitor, assault, handcuff
    4   people, use threats of arrest and detention to collect money, and brutally assaulting
    5   persons in their custody for their own personal greed and selfish ambitions, the
    6   public, including Plaintiffs, will continue to be irreparably harmed.
    7         455. Therefore, this Court should refer this case to the United States
    8   Attorney’s office to investigate the Defendants, and each of them for civil rights
    9   violations, conspiracy to violate civil rights violations, Racketeering, Conspiracy to
   10   RICO, Antitrust Violations, Security Exchange Violations, and IRS Fraud;
   11         456. Therefore, this Court should order the Defendants, and each of them
   12   to lower or eliminate all “set-up” fees initiated by each of the SCRAM Defendants;
   13         457. Therefore, this Court should order the Defendants, and each of them
   14   to maintenance and collaborate each and every SCRAM ankle monitor weekly, or
   15   monthly, and order the Defendants, and each of them to log in the model/serial
   16   number, the date, time, case manager name, client name, and to keep these records
   17   on file for at least five years when this is done;
   18         458. Therefore, this Court should order the Defendants, and each of them
   19   to generate a financial reduction form to be provided, and signed by every SCRAM
   20   client once a client enrolls in the SCRAM monitoring programs. And that each
   21   client and case manager sign the form acknowledging the client being provided
   22   with the financial reduction sheet;
   23         459. Therefore, this Court should order the Defendants, and each of them
   24   to send notice of this lawsuit to every company, government agency, probation,
   25   parole, the Governor of their state, and notice to all current SCRAM clients;
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    1         460. Therefore, this Court should order the Defendants, and each of them
    2   to immediately stop threating past, present, and future SCRAM clients with arrest,
    3   detention, immigration arrests, collections, and warrants for failure to pay the
    4   Defendants for their weekly, bi-weekly, monthly, the set-up fees, and any and all
    5   fees due to the Defendants in general;
    6         461. Therefore, this Court should order the Secretary of States to suspend
    7   all business licenses until the Plaintiffs injunctive relief is granted;
    8         462. Therefore, this Court should order all government agencies to cease
    9   and desist in providing money to the Defendants until changes have been made,
   10   and the Defendants have shown compliance to the Court;
   11         463. Therefore, this Court should order the Defendants, and each of them
   12   to stopping harassing all past and present SCRAM clients by calling them late at
   13   night. Such as no calls after 5:00pm, and order Defendants employees to stop
   14   going to SCRAM clients place of employment, or home to collect outstanding
   15   balances;
   16         464. Therefore, this Court should order the Defendants, and each of them
   17   to stop engaging in illegal ex parte communications with all Judges, Superior
   18   Court staff, trial Courts, Magistrate Courts, and any other judicial Courts by
   19   sending reports, letters, making telephone calls to Court staff, Judges, and any
   20   other members of the Court where as the violation report, letter, or phone call
   21   would be deemed an illegal ex parte communication;
   22         465. Therefore, this Court should order some of the Defendants who are
   23   deemed private probation and parole officers to stop arresting people who have
   24   missed a payment, or allegedly consumed alcohol;
   25         466. Therefore, this Court should order some, if not all of the Defendants
   26   to stop making campaign contributions to elected City, County, State, and also
   27   municipal judges;
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    1         467. Furthermore, the Court should order teach of the Defendants, (by and
    2   through its agents, officers and employees of AMS) to require their agents, officers
    3   and employees to undergo additional and mandatory training and testing to ensure
    4   their agents, officers and employees understand and comply with their legal duties
    5   with respect to the proper procedures of turning over exculpatory evidence,
    6   providing copies of reports to SCRAM clients, and defense attorneys. And to
    7   eliminate all policies and procedures of waiting weeks, or months to turn over all
    8   alleged SCRAM reports, and that these procedures, policies and conditions are
    9   complied with under State and Federal law.
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    1                                      PRAYER FOR RELIEF
    2   WHEREFORE, Plaintiffs, and on behalf of the Class, pray for an Order as
    3   follows:
    4            A.     Certification of the case as a class action on behalf of the proposed
    5   Class;
    6            B.     Designating Plaintiffs as representatives of the Class, and their
    7   undersigned counsel as Class Counsel;
    8            C.     A declaratory judgment that the principles complained of herein are
    9   unlawful and violate 42 U.S.C. § 1983, the First, Sixth, and Fourteenth
   10   Amendments to the United States Constitution;
   11            D.     Entering judgment in favor of Plaintiffs and the Class, against the
   12   Defendants, jointly and severally;
   13            E.     Ordering disgorgement of the money that Plaintiffs and the Class paid
   14   to the Defendants alcohol monitoring service, and awarding the disgorged money
   15   as restitution damages to Plaintiffs and the Class, and any other equitable relief that
   16   may be appropriate, and interest thereon, as allowed or required by law;
   17            F.     A preliminary and permanent injunction against Defendants, and each
   18   of them, and its officers, agents, successors, employees, representatives, and any
   19   and all persons acting in concert with them, from engaging in policies, patterns,
   20   and/or practices that discriminate against the Plaintiffs or the Class because of their
   21   gender, financial status, or participation in this lawsuit;
   22            G.     An order requiring Defendants to pay restitution of all amounts owed
   23   to the Plaintiffs by the Defendants;
   24            H.     This Court should order the United States Attorney’s office to
   25   investigate the Defendants for civil rights violations, conspiracy to violate civil
   26   rights violations, Racketeering, conspiracy to RICO, Antitrust violations, security
   27   exchange violations, and IRS Fraud;
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    1          I.     This Court should order the Defendants, and each of them to lower all,
    2   or eliminate all “set-up” fees initiated by each of the SCRAM Defendants;
    3          J.     This Court should order the Defendants, and each of them to
    4   maintenance and collaborate each and every SCRAM ankle monitor weekly, or
    5   monthly, and order the Defendants, and each of them to log in the model/serial
    6   number, the date, time, case manager name, client name, and to keep these records
    7   on file for at least five years;
    8          K.     This Court should order the Defendants, and each of them to generate
    9   a financial reduction form to be provided, and signed by every SCRAM client once
   10   a client enrolls in the SCRAM monitoring programs. And that each client and case
   11   manager sign the form acknowledging the client being provided with the financial
   12   reduction sheet;
   13          L.     This Court should order the Defendants, and each of them to send
   14   notice of this lawsuit to every company, government agency, probation, parole, the
   15   Governor of their state, and notice to all current SCRAM clients;
   16          M.     This Court should order the Defendants, and each of them, to
   17   immediately stop threating past, present, and future SCRAM clients with arrest,
   18   detention, immigration arrests, collections, and warrants for failure to pay the
   19   Defendants for their weekly, bi-weekly, monthly, the set-up fees, and any and all
   20   fees due to the Defendants in general;
   21          N.     This Court should order the Secretary of States to suspend all business
   22   licenses until the Plaintiffs injunctive relief is granted;
   23          O.     This Court should order all government agencies to cease and desist in
   24   providing money to the Defendants until changes have been made, and the
   25   Defendants have shown compliance to the Court;
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    1         P.     This Court should order the Defendants, and each of them to stopping
    2   harassing all past and present SCRAM clients by calling them late at night. Such as
    3   no calls after 5:00pm, and order Defendants employees to stop going to SCRAM
    4   clients place of employment, or home to collect outstanding balances;
    5         Q.     This Court should order the Defendants, and each of them to stop
    6   engaging in illegal ex parte communications with all Judges, Superior Court
    7   staff, trial Courts, Magistrate Courts, and any other judicial Courts by sending
    8   reports, letters, making telephone calls to Court staff, Judges, and any other
    9   members of the Court where as the violation report, letter, or phone call would be
   10   deemed an illegal ex parte communication;
   11         R.     This Court should order some of the Defendants who are deemed
   12   private probation and parole officers to stop arresting people who have missed a
   13   payment, or allegedly consumed alcohol;
   14         S.     This Court should order some, if not all of the Defendants to stop
   15   making campaign contributions to elected City, County, State, and also municipal
   16   judges;
   17         T.     Furthermore, the Court should order teach of the Defendants, (by and
   18   through its agents, officers and employees of AMS) to require their agents, officers
   19   and employees to undergo additional and mandatory training and testing to ensure
   20   their agents, officers and employees understand and comply with their legal duties
   21   with respect to the proper procedures of turning over exculpatory evidence,
   22   providing copies of reports to SCRAM clients, and defense attorneys. And to
   23   eliminate all policies and procedures of waiting weeks, or months to turn over all
   24   alleged SCRAM reports, and that these procedures, policies and conditions are
   25   complied with under State and Federal law.
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    1           U.     For general and special damages in an amount according to proof;
    2           V.     For an award of reasonable attorney fees pursuant to 42 U.S.C. §
    3   1981A;
    4           W.     For an award of punitive damages against the Defendants pursuant to
    5   42 U.S.C. § 1981A(b)(1);
    6           X.     For costs of suit pursuant to Fed.R.Civ.P. 54(d), and 28 U.S.C. §
    7   1920;
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                Y.     For an order directing the Defendants to pay restitution;
    9
                Z.     An award to Plaintiffs and the Class of such other and further relief as
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        this Court deems just and proper.
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        Dated:         September 21, 2017     WILLAIM A. LeFAIVER, CO., LPA.
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   14
                                               By: S/ William A. LeFaiver, Esq._________
   15
                                               WILLIAM A. LeFAIVER, Attorney at Law
   16

   17                                         THE ORR LAW FIRM, L.L.C.
   18

   19                                         By: /S/ Rhidian Orr, Esq._________________
   20                                               RHIDIAN ORR, Attorney at Law
   21                                               NATE JOHNSON, Attorney at Law
                                                    CONOR HAGERTY, Attorney at Law
   22                                               RICK HERNANDEZ, Attorney at Law
   23
                                              Attorneys for Plaintiffs and the Putative Class
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    1                             JURY TRIAL DEMANDED
    2         Plaintiffs are entitled to, and demand, a trial by jury pursuant to the Seventh
    3   Amendment to the United States Constitution.
    4

    5   Dated:      September 21, 2017      WILLAIM A. LeFAIVER, CO., LPA.
    6

    7                                        By: S/ William A. LeFaiver, Esq._________
    8                                        WILLIAM A. LeFAIVER, Attorney at Law
    9
                                            THE ORR LAW FIRM, L.L.C.
   10

   11
                                            By: /S/ Rhidian Orr, Esq._________________
   12
                                                  RHIDIAN ORR, Attorney at Law
   13                                             NATE JOHNSON, Attorney at Law
   14                                             CONOR HAGERTY, Attorney at Law
                                                  RICK HERNANDEZ, Attorney at Law
   15

   16                                       Attorneys for Plaintiffs and the Putative Class
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